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                                                                                                           FILED
                                                                                                     IN CLERKS OFFICE
                                       UNITED STATES DISTRICT COURT
                                         DISTRICT OF MASSACHUSETTS                                 701 9 APR I 2 AH 10: 55

                                                   -------------X                                U.S. DISTRICTCOURT
JOHN DOE,                                                                                Civil Actillf~~~T OF MASS.
                                                                     Plaintiff,

-against-                                                                                     COMPLAINT
                                                                                         JURY TRIAL DEMANDED
UNIVERSITY OF MASSACHUSETTS AT DARTMOUTH;
PEYTON R. HELM in individual and official capacity;
CYNTHIA CUMMINGS, in individual and official capacity;
DEBORAH MAJEWSKI, in individual and official capacity;
SCOTT WEBSTER, in individual and official capacity;
DAYID GOMES, in individuaJ and official capacity
JOHN BUCK, in his individual and official capacity.
                                               Defendants.
                                                                  -----X
                                  "Show me the man and I 'll find you the crime"1

           Plaintiff John Doe2 (hereinafter referred to as "John"), Pro Se, respectfully alleges as follows :

                                          THE NATURE OF THIS ACTION

1. John challenges the proposition that a public state university - in attempting to baselessly compel

a graduate student to w ithdraw from his academic program - would first willfu lly institute a bogus

misconduct allegation, and when that fai led, institute a similar w itch-bunt sexual misconduct

investigation and adjudication, and with carte blancbe discard its own policies, or act arbitrarily,

maliciously, or otherwise in bad fa ith. As set out below, each of these terms aptly describes UMass

Dartmouth 's decision to railroad John into a campus proceeding that could result in him being

suspended or even expelled.




1
  " I don't like criminal investigations to start on hoping that you have the target, maybe we'll find the crime, maybe we' ll
fi nd the statute - and if wc can't fi nd the statute, we' ll stretch the statute to fi t the person ... " "That sounds like Lavrentiy
Beria [Joseph Stalin' s secret police chie f] and Joseph Stali n! .. .'Show me the man and I' ll find you the crime.' I don't want
to ever see that come to America.'' - Harvard Law School Professor Emeritus Alan Dershowitz on Special Counsel
Mueller 's investigati on of President Donald Trump - May 26, 2017.

2
    John herewith fi les a Motion to proceed pseudonymously.
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2.      This case arises out of the actions taken and procedures employed by Defendants UNIVERSITY
OF MASSACHUSETTS AT DARTMOUTH (UMASSD), Peyton Helm, Cynthia Cummings, Deborah
Majewski, Scott Webster, and John Buck (Collectively as "Defendants") in carrying out a procedurally
flawed and biased investigation process against John, a graduate student at UMASSD, as the result of an
unwarranted sua sponte investigation seeking any potential misconduct of John, which could be used to
expel him.
3.      It is no secret that over the past few years, various courts including this one, have seen a substantial
increase in litigation brought by male students against universities alleging a mishandling of sexual
misconduct allegations and biased proceedings leading to unwarranted sanctions.
4.      However, unlike the multitude of cases pending before various District Courts, this case is not the
typical Title IX suit in which a sanctioned male student, who was found responsible of sexual assault or
sexual misconduct, seeks relief from the court. Instead this case surrounds egregious concerted actions of
Defendants, who endeavored to "correct an admissions error'' unrelated to Title IX. Specifically Defendants
concluded they should take ''whatever necessary" actions to expel or intimidate a properly matriculated
male graduate student with a conviction into withdrawing, despite his having gone through a rigorous
admissions vetting process.
5.      Cummings, with assistance of Defendant Deborah A. Majewski, attempted to criminally extort John
into withdrawing from school at a Conduct Conference on May 4, 2016. Specifically, John was threatened
that ifhe refused to withdraw from school by the end of the meeting, then Majewski and Cummings's would
disseminate his educational record infonnation, accuse him of a crime and destroy his reputation with his
colleagues and advisors both within UMass Dartmouth and with outside research opportunities. When they
failed to compel his resignation, they conducted a sham Title IX investigation that sought to recruit
unsolicited testimony in hopes of generating baseless misconduct charges that could warrant John's
expulsion. Inter alia, the investigator eventually accused John of creating a hostile learning environment by
telling others that he missed his children, and complained about not obtaining a desk in the new graduate
student area. With these and similar accusations, UMASSD travailed to expel John or compel his
''voluntary" withdrawal.
6.     For four months he was banned from campus, issued a "Do Not Contact'' order denying him
communication with anyone associated with UMass Dartmouth and suspended. During that time, John
participated in the Special Examiner's Process under protest, because each step of the Special Examiner's
Process denied John his due process rights under the XN Amendment to the U.S. Constitution, Title IX,
and repeatedly breached terms of explicit and implicit contracts.
7.     John neither had the opportunity to learn the identity of his supposed accuser, see any shred of
evidence against him, confront the accuser, question the witnesses, nor present a defense at a hearing.

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Because there is no hearing, the accused never knows accuser's identity, what the accuser (or the accuser's
witnesses) actually have said, but only knows what the Special Examiner chooses to tell him. In John's
case, he was neither told orally nor in writing the factual bases for the charges against him at any time
before or during the four months of the Special Examiner's investigation; instead, he had to try to piece
together what in particular he was accused of doing from the questions posed to him by the Special
Examiner.
8.      When it was obvious that UMASSD officials could neither compel John's resignation through
extortion threats, nor find him responsible in a male biased witch-hunt Title IX investigation, Cummings
maliciously defamed John. Consequently, his associates, advisors, and colleagues in his chosen research
field would neither communicate nor collaborate with John again after UMASSD officials intentionally and
maliciously spread John's confidential student records protected under FERPA and innuendo regarding his
Title IX proceeding.
9.      Not surprisingly, John was found not responsible for any allegation, a finding which by due process
and fundamental fairness must end all further disciplinary action and allow a student to continue his
education program unfettered. Instead and unhappy with the complete lack of evidence to support a finding
of responsible for the nonexistent misconduct in John's case, Majewski and Cummings in direct violation
of every policy imaginable, still sanctioned John with a warning and directed the Dean of SMAST to
implement 'appropriate intervention.'
10.     'Appropriate interventions' censored John from engaging other students, confined him to a
workspace adjacent to the Dean's office, and kept John from his normal routine in benefitting from his
educational experience. The 'appropriate intervention' proscribed by John's contract, school policy, and
any sense of fair play violated John's rights under his 1st and 14th Amendment rights and Title IX. Then
Defendants amended his academic program without his consent from a Master's Thesis Program/Fastrack
to Ph.D. to Master's Non-Thesis, destroying his ability to pursue his research interest.
11.     UMass Dartmouth leadership was cognizant of, acquiesced to and allowed malicious school
officials to hijack the University's disciplinary processes for their own illegitimate purposes, and aided and
abetted their abuse of process in acquiescing to the coercion of outside and internal pressures to prosecute
male students. Defendants usurped the oversight procedures of the three person panel, which would have
shed light on their malfeasance and efforts to rid John of UMass Dartmouth. John found the harassing
environment on campus so hostile and toxic that he was compelled to seek a leave of absence and seek his
education options, which in the end none existed. UMASSD constructively expelled John from an education
program in his chosen field, and University he had previously loved, but which had betrayed his trust.
12.     For these reasons, John brings this action to obtain equitable and declaratory relief and legal
damages based on causes of action inter alia for violations of Title IX of the Education Amendments of

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1972, breach of contract, breach of the covenant of good faith and fair dealing, estoppel and reliance,
defamation, invasion of privacy, and intentional and negligent infliction of emotional distress, Violation of
1st Amendment Right to Speech, and denial of due process.

                                              THE PARTIES
13.     John, a Caucasian male, is a natural person, citizen of the United States, and resident of the state of
Rhode Island. During the events described herein, he has been a student at UMASSD School of Marine
Science and Technology (SMAsn, and commuted to and from his classes on the main campus of
UMASSD and the two campuses for SMAST. He maintained two workstations: at the AT&T Building
SMAST campus, and at the electrical engineering lab of John Buck on main campus.
14.     Defendant UNIVERSITY OF MASSACHUSETTS AT DARTMOUTH (UMASSD) is a public
body corporate and politic established, organized and authorized under and pursuant to the laws of
Massachusetts, with the authority to sue, and be sued, and was at all times relevant herein, operating within
the course and scope of its authority under color of state law and in receipt of federal funding under Title
IX, 20 U.S.C. §§ 1681-1688. At all times material hereto, UMASSD acted by and through its agents,
servants, employees, and representatives who were acting in the course and scope of their respective agency
or employment and/or in the promotion of UMASSD business, mission and/or affairs.
15.     Upon information and belief, Defendant Peyton Helm (Herein as Helm) was the Interim Chancellor
of UMASSD at all relevant times herein, and is a resident of Maine. He is being sued in his individual and
official capacity.
16.     Upon information and belief, Defendant Cynthia Cummings (Herein as Cummings) was the
Assistant Vice Chancellor for Student Affairs at all relevant times herein, and is a resident of the
Commonwealth of Massachusetts. She is being sued in her individual and official capacity.
17.     Upon information and belief, Defendant Deborah A. Majewski (Herein as Majewski) was the
Associate Vice Chancellor, Title IX Coordinator, ADA and 504 Coordinator, Office of Diversity, Equity
and Inclusion at all relevant times herein and is a resident of the Commonwealth of Massachusetts. She is
being sued in her individual and official capacity.
18.     Upon information and belief, Defendant Scott Webster (Herein as Webster) was the Director
Graduate Studies & Admissions at all relevant times herein, and is a resident of the Commonwealth of
Massachusetts. He is being sued in her individual and official capacity.
19.      Upon information and belief Defendant David Gomes (herein as Gomes), was the Deputy Director
/ Senior Investigator of Diversity, Equity & Inclusion at all relevant times herein, and is a resident of the
Commonwealth of Massachusetts. He is being sued in his individual and official capacity.




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20.     Defendant John Buck (Herein as Buck), was John's graduate advisor and a tenured professor at
UMASS Dartmouth at all relevant times herein and is a resident of the Commonwealth of Massachusetts.
He is being sued in his individual and official capacity.
                                      JURISDICTION AND VENUE

21.     This Court has diversity, federal question and supplemental jurisdiction pursuant to 28 U.S.C. §
1331, 28 U.S.C. § 1332, and 28 U.S.C. 28 U.S.C. § 1367 because: (i) John and each Defendant are citizens
of different states and the amount in controversy exceeds $75,000, exclusive of costs and interest; (ii) the
claims herein arise under federal law under Title IX of the Education Amendments of 1972, 20 U .S.C. §
1681, et seq.; and (iii) the state law claims are so closely related to the federal law claims as to form the
same case or controversy under Article III of the U.S. Constitution.
22.     This Court has personal jurisdiction over Defendant UMASS Dartmouth on the grounds that
Defendant UMASS Dartmouth is conducting business with the Commonwealth of Massachusetts.
23.     This Court has personal jurisdiction over Defendants Cummings, Majewski, Webster, Buck, and
Gomes on the grounds that they conduct business within the Commonwealth of Massachusetts and were
employed by UMASS Dartmouth at all times relevant herein.
24.     Venue for this action properly lies in this district pursuant to 28 U.S.C. § 1391 because a substantial
part of the events or omissions giving rise to the claim(s) occurred in this judicial district

                      FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

        I.      John's Efforts to Apply to UMASS Dartmouth
25.     John is a graduate of the United States Military Academy with a 3.5 GPA; upon graduation he
served with distinction as a decorated veteran having served as an Airborne Ranger Infantry Officer in the
U.S.Army.
26.     As the result of his physical and mental health service connected disability, Veterans Affairs offered
him a full scholarship with stipend under Chapter 31, which authorized John 5 years of academic funding
support to pursue a Ph.D. in Oceanography.
27.     As ofJanuary 2016, John was the only matriculated student, of two applicants to UMass Dartmouth
graduate school, with a felony conviction. For five years prior to matriculation, John travailed to rehabilitate
his personal and professional life.
28.     John experienced the tribulations of unnecessary disclosure of his felony conviction. In March 2015,
John applied to enroll in the University of Rhode Island's Ph.D. program in Ocean Policy. He met with the
Dean, and he and a Ph.D. advisor agreed on a dissertation regarding the economic impact of Cape Cod
related to the increase of Great White sharks in local waters. Both the Dean and his potential advisor
indicated that matriculation was certain. However, when John disclosed he had a criminal conviction, all

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communications with his potential advisor ceased. John's application to the Ocean Policy non-Thesis
Master's program was denied, despite John's glowing letters of recommendation, his superior GP A from a
reputable school, and his GRE score much higher than the program's norm requirements.
29.    In April of 2015 John met with Webster to discuss his interest in applying to UMass Dartmouth
graduate school. John openly disclosed that he had been convicted of a felony in 2005 related to domestic
discord. He requested the opportunity to disclose the nature of his convictions, and receive a decision on
whether his convictions would preclude a successful application. Throughout the period from April 2015
to his official acceptance on January 20, 2016, John corresponded and met with graduate admissions,
specifically to openly disclose his criminal history and disclosure of same required for admission. He
specifically shared his experience at URI and stated he needed assurances it would not happen at UMass
Dartmouth.
30.    In April of 2015, John took a graduate level acoustics class and accepted a summer internship with
Professor James Miller at the University of Rhode Island {URI), in which John conducted acoustic analysis
of the pile driving from the Block Island Wind Fann.
31.    On June 1, 2015, John met with Buck to discuss whether Buck would serve as his Ph.D. advisor.
By July 1, 2015 Buck promised to sponsor John as his Ph.D. advisor in John's academic pursuit of a Ph.D.
in Oceanography/Bioacoustics. Buck stated that together they would develop research projects that would
lead to publications that would serve as chapters in John's Ph.D. dissertation. Buck further promised to
introduce John to specific scientists that he knew, who would corroborate with him and John, and who had
wanted to corroborate with Buck for considerable time. From June 1, 2015 to May 4, 2016, Buck and John
exchanged over 150 texts and emails regarding John's Ph.D. pursuit and development of his committee,
consulted weekly in Buck's office, and Buck provided John a workspace cubicle in Buck's EE lab. Buck
served officially and contractually as John's advisor, and had a fiduciary responsibility to John.
32.    At great personal expense, John attended the 170th Meeting of the Acoustical Society of America
in Jacksonville, FL from November 2 to 6, 2015. He attended specifically so Buck could introduce John to
Douglas Nowacek, Ph.D., Duke Nicholas School of the Environment, and Jennifer L. Miksis-Olds, Ph.D.,
Director, Center for Marine Science & Technology, at The Pennsylvania State University. Both met with
John for several hours, discussed scientific corroboration and agreed to serve on John's academic graduate
committee.
33.    Solely based on Webster's promise to ensure John's confidentiality of the information in his
disclosure statement, and Buck's promise to advise John in his Ph.D. pursuit, over all other programs under
consideration, John decided to apply his scholarship to UMASSD.




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34.      In the fall of 2015, John took three classes at UMASSD in preparation of and to promote his
application for matriculation to UMass Dartmouth graduate school. Professors of each fall class and Buck
wrote John's letters of recommendation.
         II.     John's Performance at UMASSD and Development of Research Interest
35.      John's research interest consisted of using drones to collect ''whale blow" as baleen whales
surfaced as a modality to collect and analyze a non-invasive tissue sample to determine whether the whale
experienced a stress hormone response to anthropogenic noise.
36.      The parochial academic community, related to John's research interest, consisted of bioacoustics
scientists, who used drones to assess stress on baleen whales including those from the Boston Aquarium,
Woods Hole Oceanographic Institute (WHOI), URI, Duke Marine Lab, and Miksis-Olds' lab.
37.      On December 31, 2015, John met with Senior Scientist Michael Moore, Ph.D., Director of Marine
Mammal Center at WHOI. Moore discussed John's research interest which was in line with Moore's recent
research, and both expressed an earnest desire to and agreed to collaborate with Buck. On January 20, 2016
Moore assigned and agreed to advise and supervise John on a whale research project that would continue
through the summer of 20163•
38.      In February 2016, Buck arranged for Miksis-Olds to accept John in a prestigious bioacoustics
program scheduled for June 5-10, 2016, called SeaBASS, a biannual training program that recruited the
best international talent in bioacoustics. 4
39.      Throughout the Spring of 2016, Professor Nowacek recruited John to apply to Duke Marine Lab
graduate program, and spoke on his behalf for acceptance into the 2016 summer classes5 and internship
program at Duke Marine Lab.
40.      Leading in to the Spring of 2016, John had labored successfully to develop a viable graduate
program, with the world's leading scientists in the realm of his academic and career pursuit and maintained
a 4.0 in all graduate courses.

III.     Representations, Agreements, Covenants and Warranties Between John and UMASSD
41.    In meetings with Webster from April 2019 through John's matriculation, John expressed that he
would not put his academic career and VA scholarship in jeopardy if the graduate admissions office could


3
  In March, Moore underwent a kidney replacement and John could not be reached until his recovery was complete.
4
  SeaBASS provides the opportunity for graduate students interested in pursuing careers in marine bioacoustics to develop
a strong foundation of both marine animal biology and acoustics from distinguished lecturers in the field The goals of
SeaBASS are to discuss important topics in marine bioacoustics, foster technical communication across disciplines, and
promote mentoring and collaboration. SeaBASS gives students an opportunity to learn from experts who will discuss a
suite of topics not often offered at any one university.
5
  Environment 376LA. (Marine Mammal Biology) and Environment 335LA. (Unoccupied Aircraft Systems in Scientific
Research).


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not guarantee absolute confidentiality of the disclosed criminal conviction. John foresaw and Webster
agreed that if John's convictions were disclosed to UMASSD academic departments, SMAST and others
in the community of John's research, then he would be "blackballed" with an academic scarlet letter
destroying his ability to pursue any interest in Oceanography. Multiple times Webster made unambiguous
promises that he, his staff and UMASSD staff would prevent any and all leaking of any confidential
information related to John. He further stated that FERP A would prevent unauthorized disclosure of the
information. But for this assurance, upon which John relied to his detriment, he would have chosen
matriculation elsewhere.
42.        Buck likewise unambiguously promised that, as a term to John's matriculating to UMass Dartmouth
SMAST, he would serve as John's advisor through his dissertation comp letion.
43.        From when John enrolled in classes in September 2015, and which was amended when on January
20, 2016 John was accepted to the UMASSD SMAST thesis Master's Degree program6, a contractual
relationship existed between John and UMass Dartmouth bound by the terms of school online policies
including: 1) UMASSD 2015-2016 Student Handbook (Handbook),7 which includes Student Conduct
Policies and Procedures, (Policies) 8; 2) FERPA policy, and 2015 Sexual Violence Protocol (Protocol)
(Exhibit A), and any and all statements of procedure or policy on UMass Dartmouth official websites at the
times relevant.
44.        UMass Dartmouth Handbook states: 9 "The Student Handbook is the U niversity's official
notification of UMass Dartmouth resources, policies, regulations, and communi ty standards. Students
are responsible for the information contained in this Handbook. The information contained in this web
version of the Student Handbook wi ll be considered to be the official version of all documents.
45.        Policies state the student conduct system's purpose is to provide due process and to ensure that
any student. .. , accused of a violation for which discipline has been recommended, is afforded the
opportunity to have the matter reviewed and the right to appeal the outcome.
46.        Policies state the conduct process for students of UMass Dartmouth gives to the Board of
Trustees the ultimate and final authority to govern the University. Authority possessed by the various
student conduct entities set forth in this document comes from the power of the Board of Trustees to so
delegate such authori ty.




6
 John had applied to the Ph.D. program; John, Buck and Steve Cadrin (Admissions Director of SMAST) agreed that John
would be cons idered on the FastTrack program for acceptance into the Ph.D. program once John wrote a research
proposal.
7
    https://www. umassd.edu/studentaffa irs/studenthandbook/
8
    bttps://www. umassd.edu/studentaffairs/departments/student-conduct-and-dispute-resolution/policies
9
    https://www.umassd.edu/studentaffairs/studenthandbook/

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University of Massachusetts Dartmouth Sexual Violence Protocol - 2015 (Herein as Protocol)
 Title IX Investigation/Student Conduct Process/Grievance Procedure
47. In August 2015, UMASSD implemented University of Massachusetts Dartmouth Sexual Violence
Protocol and Title procedures, under the direction of Office of Diversity, Equity and Inclusion, and Student
Affairs, which were tailored to conform to guidelines in the Federal Dear Colleague Letter of 2011.
48. The sexual violence protocol, which were to govern sexual misconduct cases going forward, in fact
competed and paralleled with the Conduct Policies as related to sexual misconduct.
49. The OIEC Process and Procedures were made available to University students, including John, online.
The 2015-2016 Sexual Violence Protocol, which the Office of Diversity, Equity and Inclusion, and Student
Affairs wrongfully applied in John's case provides, in relevant part states:
     50. Definition of Sexual Harassment
           "Sexual harassment is unwelcome conduct of a sexual nature. It includes unwelcome sexual
          advances, requests for sexualfavors, and other verbal, nonverbal, or physical conduct ofa sexual
          nature. Sexual violence is a form ofsexual harassment prohibited by Title IX. When a student is
          sexually harassed by a member of the University community, the harassing conduct creates a
          hostile environment ifthe conduct is sufficiently serious that it interferes with or limits a student's
          ability to participate in or benefit from the school's program. The more severe the conduct, the
          less need there is to show a repetitive series of incidents to prove a hostile environment,
          particularly if the harassment is physical. Indeed, a single or isolated incident of sexual
          harassment may create a hostile environment if the incident is sufficiently egregious. .,

51. UMass Dartmouth utilizes an Investigative Model 10 for the resolution of complaints of sexual
violence ... The investigator is neutral in the process." 11
52. Per Protocol when notified of an incident of sexual violence, the Title IX Coordinator in the Office of
Diversity, Equity and Inclusion will review the available information and if necessazy, appoint an a Title
IX Investigator. Title IX Investigators receive annual training for this role.
53. Per Protocol Investigations in which a student is the accused/respondent the investigation will normally
include the following:_(! )Review of the rights of the reporting party; (2)1nterview with the reporting party;
(3) Notice of charge in writing to the respondent (alleged responsible party) via UMass Dartmouth email
account; (4) Review of the rights of respondent; (5) Interview with alleged respondent; (6) Interviews with
witnesses; (7) Review oflaw enforcement investigation documents if available; (8) Review of student files,
and (9) Examination of relevant documents and evidence.




10
   https://columbialawreview.org/content/the-old-college-trial-evaluating-the-investigative-model-for-adjudicating-
claims-of-sexual-misconduct/
II


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54. Following Investigation:

  • When the investigation is completed, the investigator will present his/her findings to the Title IX
  Coordinator. Upon approval of the Title IX Coordinator, the investigator will present his/her findings in
  writing via UMass Dartmouth email account to the reporting party, the respondent and the Coordinator of
  Student Conduct and Dispute Resolution. Both will be asked to submit in writing a response to the finding
  to the Coordinator of Student Conduct and Dispute Resolution .
•      The finding and written responses from the reporting party and respondent will be reviewed by an
administrative review panel of two faculty/staff. The administrative review panel will make a decision
whether to support to the finding of the investigation and if so, to determine appropriate sanctions.
•      The administrative review panel will present their decision in writing to the reporting party and
respondent via UMass Dartmouth email account. The decision letter will include information about
submitting an appeal.
•      Both the reporting party and respondent may submit a letter of appeal within 5 business days of receiving
the administrative review panel's decision to the Associate Vice Chancellor for Student Affairs. The appeal
is based on the grounds for appeal as allowed in the appeal process. Grounds for appeal include: (1) the basic
tenets of due process provided by this document were omitted, ignored, or violated or (2) new evidence exists
that is relevant and that was unobtainable at the time of the original decision. It is important to note that
sanctions imposed by the administrative review panel will be in effect while an appeal is pending.
•      The Associate Vice Chancellor for Student Affairs (or his/her designee) will normally make a decision
in the appeal and will send appeal decision to both reporting party and respondent via UMass Dartmouth
email. The appeal decision is final.

55. Procedure in relevant part included:

•     All complaints of sexual violence will be investigated promptly, thoroughly and impartially by a trained
Title IX Investigator. The University will inform and get the consent of the reporting party before proceeding
with the complaint.
•    Equitable rights will be provided to both the reporting party and respondent throughout the investigation
process,
•    The University uses the standard of the Preponderance of the Evidence also called More Likely Than
Not when weighing evidence presented in a hearing.
•    Both the reporting party and the respondent may appeal the outcome of a student conduct hearing if they
attended the hearing. Possible grounds for appeal are allegations that: (1) the basic tenets of due process
provided by this document were omitted, ignored, or violated or (2) new evidence exists that is relevant and
that was unobtainable at the time of the original decision.
•    Both the respondent and reporting party have a right to an advisor of their choice throughout the process.
Furthermore both have the right to an advocate. For the reporting party the advocate is usually the Director
of the Center for Women, Gender, and Sexuality or Victim Advocate/Educator. For the respondent,
information about an advocate can be obtained by contacting the Office of Student Affairs.

56. Information for and rights of the respondent (accused student}:
• The respondent may seek assistance in the Office of Student Affairs.
• When becoming aware of a complaint of sexual violence the University may take interim measures
including but not limited to restriction of communication with named individuals, Interim Suspension from


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   the University, ... and restriction from participating in a particular class or in campus activities. Violation of
   any interim measure is likely to result in immediate interim suspension from the University.
   • The respondent may be accompanied by an advisor and an advocate to any meeting or proceeding involving
   this complaint The respondent may also be accompanied by legal counsel.
   • The respondent may request an assessment of interim restrictions with the Associate Vice Chancellor of
   Student Affairs or designee
   • The University may proceed with the investigation/student conduct/grievance process regardless of the
   status of any criminal proceedings for the same incident
   • The respondent has a right to the support services of the University including counseling.
   • The respondent will be informed in writing of charges of violations of the code of conduct via UMass
   Dartmouth email account prior to meeting with a Title IX Investigator. If an investigation is ongoing, the
   accused student will be kept apprised of the status of the investigation by the Title IX Investigator.

57. Using a single investigative model UMASSD Protocol deprives an accused of a hearing before an
impartial panel and instead permits one unlicensed individual within the Title IX office, with undisclosed
qualifications, potential conflicts of interests and experience to act as detective, prosecutor,judge and jury.
58. This convergence of roles creates substantial conflicts of interest that allow a single individual to direct
the ultimate outcome of the matter based his/her presumptions about the veracity of the allegations and
influenced by innate beliefs about the roles of males and females in sexual situations, compounded by the
preconceived notions of any male with a felony conviction.
59. Moreover this investigative model deprives an accused student of a full and meaningful opportunity
to be heard as he is denied the opportunity to present his defense before an impartial panel of decision
makers, to cross examine his accuser (whether or not the reporting party is the alleged victim) and to
challenge the evidence or witnesses who, per the Title IX Office, offered adverse testimony against him.
60. Further, upon information and belief, UMASSD uses the trauma informed investigation model when
investigating complaints, which teaches that trauma causes responses in victims that may be
counterintuitive; for instance, continued contact with the perpetrator, delayed response to trauma, flat affect,
or use of humor. It discusses that "survivors" do not act in any one way but responses can vary as there are
a variety of coping mechanisms. Consequently, statements denying that any trauma occurred could be
construed as a direct response to the trauma suffered.
61. Upon information and belief Investigator Gomes, Cummings and Majewski failed to receive proper
training on the implementation of either Policies and/or Protocol and on proper training on the scope,
definition and application on what constitutes sexual harassment and hostile learning environment sufficient
to warrant a Title IX investigation. Evidence suggests that Gomes, Majewski and Cummings believe that
John's statement - of simply conveying emotion about missing his children - equates to a hostile learning
environment that warrants an interim suspension. Additionally Majewski confused the start of disciplinary
matters that instituted the investigation from the May 4 th Conduct Conference.


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UMASSD Faced Intense Federal UMASS, Local and Student Pressure to Comply with Title IX
62. On April 4, 2011, the Office for Civil Rights ("OCR") of the United States Department of Education
issued a guidance letter to colleges and universities in the United States in receipt of federal funding which
became widely known as the "Dear Colleague Letter" (the "DCL" or "2011 Dear Colleague Letter"). The
DCL advised recipients that sexual violence constitutes sexual harassment within the meaning of Title IX
of the Education Amendments of 1972, 20 U.S.C. §1681 et seq.and its regulations, and directed schools to
"take immediate action to eliminate the harassment, prevent its recurrence and address its effects."
63.      The DCL responded, in part, to a special investigative report published by National Public Radio
and the Center for Public Integrity, which proclaimed a campus rape epidemic and criticized the OCR for
its     lax response     to     what      the        report characterized      as    a     social         problem
of criticalimportance. Seehttp://www.npr.org/templates/story/story.php?stmyld= 124001493. The report
described in detail the obstacles faced by sexual assault victims in obtaining redress though college
disciplinary proceedings and how victims who did engage in the college disciplinary process suffered
additional trauma as a result Much of the report focused on underreporting, re-traumatization of victims,
rape myth adherence on college campuses (e.g. that women invite rape, that rapes are just drunk hook-ups,
and that women routinely lie), and young men's cultural adherence to the sex aggressor role.
64.      The DCL, further, relied on faulty statistics in sounding a "call to action" for campuses
nationwide-that "about 1 in 5 women are victims of completed or attempted sexual assault             while     in
college." DCL, at p. 2. The researchers behind this study subsequently invalidated that statistic as a
misrepresentation of the conclusions of the study and warned that it was "inappropriate to use the 1-in-5
number     as   a   baseline ... when   discussing     our   country's      problem with   rape     and    sexual
assault" http://time.com/3633903/campus-rape-l-in-5-sexual-assault- Relying on the these faulty
numbers, the DCL minimized due process protections for the accused by, among other things, eschewing
any presumption of innocence, mandating a preponderance of the evidence standard, limiting cross-
examination, and forbidding certain forms of alternate resolution.
65.      For UMass Dartmouth specifically there has been financial gain to open TitleIX investigations and
find against the accused. October 2013, UMass Dartmouth's Center for Women, Gender, and
Sexuality (CWGS) received a three year, $300,000 grant from the U.S. Department of Justice's Office on
Violence against Women ("OVW''). to "Reduce Sexual Assault, Domestic Violence, Dating Violence and
Stalking on Campus, which the maximum amount ($300,000) which could be awarded to an individual
institution.
66.      The federal description for the OVW grant, which was authorized by the Violence Against Women
Act, 42 U.S.C. § 14045b, states "the Campus Program encourages a comprehensive coordinated community
approach that enhances victim safety, provides servicesfor victims and supports efforts to hold offenders

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accountable. The funding supports activities that develop and strengthen victim services and strategies to
prevent, investigate, respond to and prosecute these crimes ... Colleges and universities should demonstrate
to every student that these crimes will not be tolerated, that perpetrators will face serious consequences, and
that holistic services are available for victims." Upon information and belief, Fairfield was awarded a
$300,000 OYW federa l grant based upon their application supporting the foregoing criteria. (emphasis
supplied)
67.        On April 29, 2014, OCR issued additional dfrectives to colleges and universities in the form of a
guidance document titled: Questions and Answers on Title IX and Sexual Violence
          ( "Q&.A ") which was aimed at addressing campus sexual misconduct policies, including
         the procedures colleges and universities "must" employ "to prevent sexual violence and resolve com
         plaints" and the elements that "should be included in a school 's procedures for responding
         to complaints ofsexual violence. "Q&A, at p. I 2. The Q&.A advised schools to adopt a trauma informed
         approach, advis ing, for example, that hearings should be "conducted in a manner that does not inflict
         additional trauma on the complainant. " ld. at p. 31.

68.        In April 2014, the White House issued a report entitled "Not Alone12". Like the 2011 Dear Colleague
Letter, relied upon the fau lty " 1 in 5" statistic and focused on protecting women from                    sexual
assault, "engaging men" and " if you see it happening, help her, don' t blame her, speak up." Id. at p.2. The
report also suggested that college and universities undergo "trauma informed training" because "victim 's
often blame themselves; the associated trauma can leave their memories fragmented; and insensitive or
judgmental questions can compound a victim's distress." The report added "[w]hen survivors are treated
with care and wisdom, they start trusting the system, and the strength of their accounts can better hold
offenders accountable." The report included a warning that if the OCR found that a Title IX
violation occurred, the "school risk[ed] losing federal funds" and that the DOJ shared authority with
OCR for enforcing T itle IX and may initiate an investigation or compliance review of schools. Further, if a
voluntary resolution could not be reached, the DOJ could initiate litigation. The report contained no
recommendation with respect to ensuring that the investigation and adjudication of sexual assault complaints
be fair and impartial or that any resources be provided to males accused of sexual assault.
69.        On May 1, 2014, the DOE issued a press release naming University of Massachusetts as one of
the initial 55 colleges and universities being investigated for violating Title IX. Then Assistant Secretary of
Education Catherine Llbamon ("Llbamon") stated that the schools were being named " in an effort to bring
more transparency to our enforcement work and to foster better pubLic awareness of civil rights." Per the
press release, "[r]eleasing this list advances a key goal of President Obama's White House Task Force to
Prevent Students from Sexual Assault. ... The Obama Administration is committed to putting an end to

12   http://changingourcampus.org/about-us/not-alone/


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sexual violence particularly on college campuses." " All universities ... receiving federal funds must comply
with Title IX. Schools that violate the law and refuse to address the problems identified by OCR can lose
federal funding or be referred to the U.S. Department of Justice for further action.
70.        University of Massachusetts System, maintains multiple campuses, is governed by a single 22-
member Board of Trustees that represents various interests of the publjc at large, and functions as a
legislative body dealing mainly with general policies governing the University. The events at one campus
that threatens the Federal funding under Title IX influences the decisions of the University ofMassacbusetts
System at large, especially when those events occur at the headquarters campus at Amherst.
71.       Precipitating events that caused changes at Umass Amherst, which Ist District Courts have ruled
created a male bias in ilisciplinary decisions there, then influenced the decisions and policy of officials at
all campuses (including UMass Dartmouth) as reported in The Boston Globe on May 3, 2014, which
described the experience of Dana Bolger that garnered national attention. 13
72.        That same day, UMass Amherst's Title IX Office announced it adopted a "survivor-centered"
approach to misconduct investigations and bearings, under which all members of the University community
are exhorted to "BELIEVE" and are instructed, " Don't Question. Don' t Judge ... Just Believe and Support."
73.        Shortly thereafter, the University created and funded The Men's and Masculinities Center, which
claims that men who adhere to "more traditional constructions of masculinity" are " more inclined to engage
in a range of unhealthy and risky behaviors including ... sexual violence."
74.        Leaving no doubt it was bowing to outside pressure, UMass Amherst issued a publjc statement
explaining that its "student conduct code bas been revised ... We've been very concerned with this; its an
issue here and across the Country." UMass Dartmouth officials, in responding to press reports regarding
sexual violence against women, cited verbatim those very concerns as those ofUMass Amherst officials.
75.        In June 2014, Llhamon testified before the United States Senate that if OCR could not secure
voluntary compliance with the DCL from a college or university, it could elect to irutiate an administrative
action to terminate federal funds or refer the case to the Department of Justice.

76.        In July 2014, local news publications reported that the US Dept. of Education 's Office of Civ il
llights was investigating UMass Dartmouth's band ling of sex abuse cases. 14

       "UMass Dartmouth officials said they 're not taking the investigation lightly ... " "It's an important
issue. We 're going to do what we need to do to comply with the request," said David Mi/stone, UMass
Dartmouth 's Vice Chancellorfo r Student Affairs. "We 're obviously going to do our best to strengthen our
program. " "Over the past several years, we have been proactive in enhancing our response to Title IX

13 https://wv,w. googlc.com/am p/s/www.bostonglobc.com/mctro/20 14/05/02/studcnt-activism-wh ite-housc-prcssure-
clcvatcd-sexua 1-assau lt-collcge-ca mpuscs-national-conccrn/Ji MUJDda i4 ub ImTuEREPa Liam p. httn I

14
     https://cohasset.wi ckcdlocal.com/articlc/20140730/NEWS/ 140739503


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issues. and will approach this inquirv as an opportunitv to further strengthen our policies and practices."
UMass Dartmouth spokesman John Hoey said in a statement. Mi/stone said. " UMass Dartmouth averages
about four reported cases each year" and said that, "based on what we know about sexual violence."
there is a discrepancv between the number of incidents of sexual violence that actuallv happen on
campuses versus those that ultimatelv get reported. "Anv time there is a complaint .... we have nvo
responsibilities. One is to ensure safetv ofvictim. The other is to make sure the community has a separation
from the alleged perpetrator in this case, " Mi/stone said. " We want to be care/iii to support the victim ...
We want to assume accuracv in what the victim is saving ... "

77.        Circa August 2014, UMASSD acknowledged the DCL on the UMass Dartmouth Title IX website,
and incorporated the guidance into Title IX Investigative Procedures:
           On April 4, 2011, the U.S. Department of Education Office of Civil Rights released a Dear
           Colleague Letter providing guidance and reminding colleges and universities that accept federal
           funds of their responsibilities under Title TX of the Education Amendments of 1972 to address
           sexual harassment and assault. The Dear Colleague Letter is based on the OCR interpretation
           of the 200 I Revised Sexual Harassment Guidance and provides institutions with practical
           examples of how postsecondary institutions should comply with Title IX by proactive education
           and by talcing action to end harassment, prevent recurrence and remedy the effects.

78.        In August 2014 UMass Dartmouth was ordered to pay nearly $1.2 million after appealing ruling
discrimination complaint. 15 Any potential Title IX complaint would be considered a similar suit and
UMASSD was thus hypersensitized to potential discrimination suits.
79.        In August 2014 local news publications continued pressuring U mass Dartmouth to increase steps
to protect women from men. 16
        "While victims' advocates are heartened by colleges' efforts to educate students on rights and
        accurately report incidents, many say campuses should take more action." "Take the Universitv
        of Massachusetts Dartmouth as an example. According to the U.S. Department of Education's
        Office of Postsecondary Education, the number of sexual assaults reported by students between
        20 I 0-12 was 11. But David Mi/stone, the school's Vice Chancellor for Stmlent Affairs, said he
        would f!Uess if all crimes af!ainst women were reported, the number could be closer to 200 over
        the same span. Milstone is one of many officials on college campuses looking at bow to address
        the ongoing problem on campuses nationwide. The issue bas recently been placed under the
        microscope by President Barack Obama's administration - which, earlier in the year, appointed a
        task force to look into crimes against women - and the Department of Education, which recently
        announced changes to the Clery Act and what crimes will be reported that will go into effect as soon
        as November of this year. "Wben she sought help from college officials, Bolger said, they refused
        to pursue disciplinary action the perpetrator or offer her support. One dean advised her "to take a
        semester off, get a job at Starbucks ... come back after he graduated." "This is not just an Amherst
        situation," she said. "Survivors are encouraged to take time off, while perpetrators are supported."

15   https://www.hcraldncws.com/artic le/20 140805/NEWS/ 14080839 1

16
   https://www.mctrowcstdailyncws.com/articlc/20 140705/NEWS/ 140708394,
https://ncwburvport.wickcdlocal.com/articlc/20 140705/NEWS/ 140708394



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      "As a result of such campaigns. as well as increased pressure from Washington to improve the
      resources offered to survivors. campuses are changing. In addition to an expanded Clery Act, the
      Department of Education's Office of Civil Rights is using Title IX to look at how colleges respond
      to reports of on-campus sexual assaults. As of June 19, the office was investigating 64 college
      campuses over how they handled the reports. Seven of those 64 campuses are in Massachusetts:
      Amherst College, the University of Massachusetts Amherst, Boston University, Emerson College,
      Berklee College of Music, Harvard College and Harvard University Law School." "At UMass
      Dartmouth, students are learning about bystander intervention during the same orientation at which
      they learn about campus life and how to register for courses, Milstone said. The school has also
      hired a victims advocate." "Survivors like Bolger say they are encouraged by the policy changes
      but that those changes need to be accompanied by action, such as campus officials issuing no-
      contact orders against perpetrators. " In Dartmouth, Milstone called the changes "an incredibly
      positive thing." "Mi/stone noted...sexual assaults are perpetrated by men." "The first thing we do
      when we get a report, we let the person who's accused know and put them on interim suspension
      status immediately so we can invesdgate," "Milstone said "In most of the cases that have been
      brought forward, perpetrators have been found responsible and separated from campus.
      Research shows victims very seldom file a false claim. Why would somebody put themselves
      through that?"" So it's up to colleges to provide opdons and let survivors know, 'You 're not alone.
      This shouldn't have happened. "'

80.     On September 1, 2014 the Chronicle of Higher Education noted that "Colleges face increasing
pressure from survivors and the federal government to improve the campus climate." "Presumed Guilty:
College men accused of rape say the scales are tipped against them," Chronicle of Higher Education,
September 1, 2014. In the same article, the Chronicle noted that different standards were applied to men
and women: "Under current interpretations of colleges' legal responsibilities, if a female student alleges
sexual assault by a male student after heavy drinking, he may be suspended or expelled, even if she appeared
to be a willing participant and never said no. That is because in heterosexual cases, colleges typically see
the male student as the one physically able to initiate sex, and therefore responsible for gaining the woman's
consent" ''Presumed Guilty: College men accused of rape say the scales are tipped against them," Chronicle
of Higher Education, September 1, 2014.
81.    In November 2014 local news publications reported that the U.S. Department of Education's Office
of Civil Rights had opened and closed three investigations into the University of Massachusetts
Dartmouth's handling of on-campus sexual assault complaints in recent years. "A fourth investigation into
another complaint opened July 16 (2014) and is ongoing, according to a list of open investigations released
Wednesday by the Department of Education." UMass Dartmouth spokesman John Hoey stated, "sexual
assault, including those occurring on college campuses. is still under-reported by victims."
82.    In October 2015 UMass Dartmouth announced campus Diversity & Inclusion Council - co-chaired
by Assistant Vice Chancellor for Student Affairs Cynthia Cummings - the new panel would report directly




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to Chancellor Grossman and make recommendations related to campus climate. 17 The council bad a call to
action stating: Growing diversity requires not tolerating bigotry, discrimination, violence, or intimidation
of any kind. Defending diversity requires acknowledging and working against oppression and violence.
83.       On August 3 1, 20 l 5, UMASSD implemented Protocol 2015 in response to pressure stated herein,
and in response to fear of retaliation fro m OCR if measures were not stiffened to comply w ith DOE 's DCL.
Protocol broadened investigatory authori ty while removing the need to offer due process rights to male
perpetrators, making it less burdensome to prosecute offenders.
84.       A recent study by the Nation Bureau of Economic Research found that opening more Title IX
investigations benefits the school in both its application submission rate and donations. "We find no
evidence federal Title IX investigations reduce students' interest in a university. Instead, we find evidence
that these investigations increase freshman appl ications and enrollment, for both female and male students.
Federal Title JX investigations appear to have no effect on student retention, as the enrollment of continuing
students is unaffected. We also find no effects on rates of degree completion. Our analysis of YSES data
suggests that federal Title IX investigations have no detectable effects on donations. Interestingly, these
same data indicate that institutions respond to these investigations by soliciting donations from more
alumni." Jason M. Lindo, Dave E. Marcotte, Jane E. Palmer, & Isaac D. Swensen, Any Press is Good Press?
The Unanticipated Effect of Title IX Investigations on University Outcomes, 2018 Nation Bureau of
Economic Research ,http://www.nber.org/papers/w24852
85.       For the month of April 2015, UMass Dartmouth's Center for Women, Gender & Sexuality (CWGS)
organized a series of events in recognition of Sexual Assault Awareness Month. The goal of Sexual Assault
Awareness Month "was to raise public awareness about sexual violence". In actuality the effect from the
events pressured UMass Dartmouth to take any actions to protect females from male perpetrators an d
created a frenzy of paranoia regarding sexual assault on campus. Juli Parker, Ph.D., Assistant Dean of
Students is the Director ofCWGS and in sponsoring these events, she and the University engendered male
bias in the Title IX process. Events included:
     • April 1 - Taking Down Rape Culture with keynote speaker: Laci Green. Green is an activist youtube
       celebrity who sensationalizes the acceptance of Rape Culture by universities nationwide, who refuse to
       investigate male perpetrators. "Victims don' t cause rape - rapists do." "Green talked about the tolerance
       of rape culture. She gave many examples of universities which try to demean the issue, politicians who
       blame the victims and news broadcasters who trivialize the issue." Sponsored by CWGS.
     • April 2 -Take Back the Night - 7 pm Campus Center Quad - Consisted of a female only march throughout
       campus to symbolize women's individual walk through darkness and to demonstrate that women united
       can resist fear and violence. The effect was stressing the UMass Dartmouth perspective that only woman
       are victims and males arc perpetrators. Sponsored by CWGS



17
     https://www.umassd.cdu/news/2015/divcrsitycouncil.html


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     • April 6, 13, 20, 22 -R.A.D. (Rape Aggression Defense) - Self-Defense Class for Women only to defend
       against male perpetrators- Again adding to bias that women arc the sole victims of sexual harassment and
       violence and males are sole perpetrators.
     • April 7 - 5 (Dirty, Little) Secrets from the Science of Women's Sexuality: Keynote speaker: Emily
       Nagoski. Nagoski spoke on the sexual response of a woman's body when they are raped. Sponsored by
       CWGS; LOVE wtf Keynote speaker: Emily Nagoski. Nagoski spoke on when a male boyfriend sexually
       attacks a woman in a relationship, depicting men as unpredictable violent predators. Sponsored by CWGS.
     • April 8 - Safe Zone Training
     • April 9 - Human Trafficking: Victims & Perpetrators: Keynote speaker: Donna Hughes. Hughes discussed
       women trafficked as sex slaves with perpetrators as men who stalk and lure women mostly from others
       countries into the sex trafficking trade, but also discussed male predators on American campuses.
       Sponsored by Women & Gender Studies Department
     • April 15 - The Hunting Ground Film Screening - Sponsored by CWGS, Department of Women's and
       Gender Studies. Reviews of this movies are widespread 18 but the movie depicts in graphic detail that I in
       5 woman who attend college wi ll be raped, that serial rapist mostly commit the rapes, and implies men are
       predators on campus seeking to assault and rape women. The clear implication from the film is that
       Winston (one of the rapist depicted in the film) is a monster frequently preys on his victims by drugging
       them and was ultimately able to elude justice because Harvard does not take victims seriously, and by
       implication in the film, all Universities do not take rape seriously.
      • April 16 - Safe Zone Training
      •   April 22 - Walk to C lass in Her Shoes (all day)and Relay in Her Shoes
      •   April 29 -Denim Day: Wear denim in solidarity for the Italian Supreme Court case where a rape
          conviction was overturned.

86.       'The Torch' publis hed in its Apri l 14-21 , 20 16 edition an opinion written by Chancellor Helm:
Getting Real about Sexual Assault on Campus. In his opinion he attempted to depict neutrality, but male
bias was evident, and he acknowledged the pressure UMass Dartmouth felt under the Obama's Title IX
demands to retain Federal funding, and from student pressures. "The Obama administration and some
student activists are castigating colleges for not preventing sexual assault and not following up
appropriately when it occurs... "
87.       On March 15, 20 I 6 Defendant Helm took up his duties at Interim Chancellor at UMASSD, where
he was tasked with responsibilities inter a lia compliance with the directives consistent with the DCL of
201 land ensuring UMASSD retained its Federal funding.
88.       Upon information and belief Cummings, as Diversity & Inclusion Council chair, briefed Helm on
her position that John should be removed from school as the result of being a male with a felony conviction.
Upon further belief email communications exist between Helm and Cummings or Majewski related to the




18
   (https://slatc.com/human-interest/20 I 5/02/thc-hunting-ground-a-campus-rapc-documentary-that-fails-to-
provide-a-ful 1-picture.html) (https:/ /www.nytimcs.com/2015/02/2 7/movies/rcview-the-hunting-ground-
documentary-a-searing-look-at-campus-rapc.htrnl) Q1ttps://www.huflingtonpost.com/clizabcth-nicholas/why-
critigues-of-thc-camp b 8607618.htm l)(https://reason.com/blog/2015/ I I /20/how-the-hunting-ground-sprcads-
lics-abou)


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unproper removal of John, and the acquiescing of Helm as interim Chancellor to the pressures of
Cummings.
89.       For the month of April 2016, CWGS organized a series of events in recognition of Sexual Assault
Awareness Month. Events included:
      • Marge Piercy Poetry Reading - April 5 - Piercy's poetry tends to be highly personal free verse and often
        addresses the same concern with feminist and social issues.
     • Expressive Arts Therapy Workshop for Survivors of Sexual Violence with Ellen Landis -April 6
     • Expressive Arts Therapy Workshop for Survivors of Sexual Violence with Megan O'Toole - LMHC,
       ATR - April 12
     • Expressive Arts Therapy Workshop for Survivors of Sexual Violence with Maria Curran - Ph.D., LPCS
       -April 14
     • Sexual Violence Survivor Art Show Opening Speak Out - April 21
     • Expressive Arts Therapy Workshop for Survivors of Sexual Violence with The Women's Center, Inc. -
       April 26
     • Denim Day April 27; Sexual Violence Survivor Art Show Closing - April 28


90. Just three weeks before John's Conduct Conference of May 4 1",            -   on Thursday, April 13 th -Umass
Dartmouth highlighted Sexual Assault Awareness Month with keynote speaker Wagatwe Wanjuki, w ith
her speech on ' The Power ofStorytelling: Speaking Our Truth to End Rape Culture 19,
          Wanjuki is a feminist, social media strategist, vocal activist against campus sexual violence and
          spokesperson for new media activism. She spoke on her personal assault where the school look no
          action. She described her successful efforts to lobby the Obama administration with 180,000
          signatures, callingfor greater political pressure on local universities. She incited female students
          lo rally and demand Umass Dartmouth to crack down on male rapists. "If I can influence the
          President of the United States, anyone can do anything, " Wanjuki said. Wanjuki told the crowd
          that everyone can do their part lo stop rape culture by debunking harmful myths about rape,
          speaking against harmful policies thatfi,rther victimize survivors, and villainizing the rapists, not
          the victims. She recommended that female students, if they are not getting the support guaranteed
          by the Title, then they should file complaints with the Department ofEducation.

91.       This call to action, sponsored by UMass Dartmouth officials, to villainize male students, to put
pressure on UMass Dartmouth to prosecute male perpetrators, and if all else fails fi le complaints with Dept
ofEducation (which could jeopardize Federal funding), engendered male bias temporally connected to the
investigation of John.
92.       Encouraged by the aggressive stance by the Obama Administration against sexual v iolence, from
2013 through the conclusion of the UMass Dartmouth's investigation of John and later, various activist
"survivor groups" and their members demanded that UMass Dartmouth and the UMass System in general
aggressively prosecute more male perpetrators including: Every Voice (http://www.everyvoicema.org/our-


19   https://dartmouth.thcweektoday.com/node/22 l 66?sourcc=rss

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coalition.html); Jane       Doe     Inc.    (htt:ps:/ /nnedv .org/meet-jane-doe-inc-massacbusetts-coalition-sexual-
assault-domestic-violence/); Bay Area Rape Crisis Center (https://barcc.org); End Rape on Campus
(https://endrapeoncampus.org);             Surv     Justice     (https ://survj ustice.org);    and      KnowyourIX
(https://www .knowyourix.org).
       Cummings Maintains History of Bias Against Men, Especially Those Accused of Crimes
Cummings offered an unprecedented bountv on male perpetrator's capture and prosecution

93.      On Nov. 2, 2006 Cynthia Cummings, then University of Delaware (UD) Associate Vice President
for Campus Life, set a $10,000 bounty on the bead of a male perpetrator to reward anyone who provides
information leading to the arrest of the (male) perpetrator. Cummings said the University must address the
growing fear that the area has become unsafe. "It is verv important that we all acknowledge that people's
perceptions are their realitv ...ff we have a perception that our campus is not safe, then in the reality ofour
students our campus is therefore not safe. We must acknowledge that, and we must address it and do
everything we can to try to rectifv the situations that we're facing right now. "
94.      Cummings' bounty of$10,000 is an outlier ofa normal response for a school official and instead
indicates a personal male bias and ill-will against a male a lleged of violence against women. 20 A reasonable
person cou ld plausibly infer, that Cummings meant, she would take any and a ll actions whatsoever to
respond to the external and internal pressures, including wrongfully prosecuting any accused male
perpetrator ,to change the perception that her campus was not safe.

Cummings capriciously violated UD male's 1st Amendment right and with male bias refused to
complv with the very terms she created for his return.
95.      On April 20, 2007, Cummings suspended a male UD student (Mr. Murakowsk.i) in relation to
a lleged improper use of University computer resources for non-academic purposes. He a llegedly created a
"post graphic in nature, violent, derogatory, hostile and disturbing." Cummings charged Mr. Murakowski
through the University's judicial system, and suspended him. On April 24th, 2007 Mr. Murkowski delivered
a doctor's letter to Cummings, which stated in relevant part: "Upon my review of bis writings and his
responses to me during the clin ical assessment, I do not believe that this young man is a threat to himself
or others."21 Despite meeting C ummings' s explic itly stated requirements to return to his classes and
dormitory room, Cummings den ied the request, stating "/don't care what that letter says, you may not
return to class until I say so. "
96.     On September 51\        2008 The Federal District Court of Delaware ruled that Cummings bad
capriciously violated Murakoski's 1"1 Amendment right. Cummings departed UD within weeks of the

20
   Despite John exhaustive google search, he could not find one other example ofa University offering a reward to catch
and prosecute a male perpetrator.
21
   Murakowski v. University of Delaware, Case I :07-cv-00475-MPT.

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Court's decision. Pursuant to John's discussion with Mr. Murakoswki, and based on belief and knowledge,
Cummings was terminated for capriciously violating Mr. Murakoski's l51 Amendment right and
implementing discipline against him with male bias.
Cummings was Raised in Violence against her Family Perpetrated by Male Violence

97.         On June 1, 2016, Cummings described herself in an article entitled "I BELIEVE IN CAMPUS
ACTIVISM" for the online magazine of UMASSD2 2• In the article she described herself as a protester and
activist, who saw great violence in her upbringing brought upon her family by white males. "We saw dogs
and fire hoses turned on black people who marchedfor basic rights such as access to public facilities and
voting rights." The frustration, anger, and sadness she developed as a youth, which continues as an adult,
was caused by ''being in an oppressed group controlled" by white males. "While a student, I discovered
feminism and worked for women's and gay rights. I joined the Lesbian Liberation Organization ... 1
protested at events that objectified and demeaned women. "
98.        Cummings remains emotionally damaged as an adult by the scars of her childhood, and
unconsciously or intentionally seeks to settle scores with men, who in her opinion have harmed women.
For decades Cummings has championed only women's causes that have been victimized by men. A school
official, like Cummings, who has final decision authority over a disciplinary system that almost exclusively
sanctions men, and who advocates for the exclusive benefit of one gender or sexual orientation at the
complete exclusion of the male gender, carries an inherent bias against men for whom her efforts are bereft
of support in a zero sum game related to bias. Cummings has a defined conflict of interest in her roles.
     99. In the YWCA 2018 Spring Newsletter, Cynthia Cummings was discussed:
          As Assistant Vice Chancellor for Student Affairs, Cynthia supervises a number ofdepartments
           and functions, including those focused on diversity, equity, and inclusion, such as the
           Frederick Douglass Unity House, the Center for Women, Gender, and Sexuality ... manages
           the Endeavor Leadership Scholars Program for women and students ofcolor, serves as the
           Title IX Deputy Coordinator, and chairs the University's Diversity and Inclusion
           Council. Cynthia has dedicated her life to eliminating racism and empowering women,
           particularly those who identify as lesbian. For forty years, she has been an outspoken activist
          for feminism and LGBT rights. For six years, as chair of UMass Dartmouth's Diversity and
           Inclusion Council, Cynthia has led efforts to improve the campus climate for students of
           color, women, and members of the LGBT community. Cynthia lives in Dartmouth with her
           wife of39 years, Mary Ann Hunsche.




22
     https://umassdbelieves.com/2016/06/0 I /campus-acti vism-cynthia-cwnmings-student-affairs/

                                                                                                             21
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    DEFENDANT'S CONTROVERSIAL IMPLEMENTATION OF CONDUCT POLICY AND
                                              PROTOCOL PROCESS

Initiation of Disciplinary Proceedings -Notification of Alleged Violation

100.     On Tuesday, May 3, 2016 at 5:28:10 PM, Cummings sent John an email with a subject of
"meeting" that was a de facto Notification of Alleged Violation23 to his student's UMass Dartmouth
email address stating:
        It has come to the attention of the UMass Dartmouth administration that you have a more
        extensive criminal history than you disclosed prior to being admitted to the Master's program
        in Marine Science. 24 It is necessary that you meet with me to discuss this matter. Please report
        to the Foster Administration Building Room 323 (on the main campus) tomorrow, May 4th, at
        3:00pm to meet with me and Ms. Deborah Majewski, Associate Vice Chancellor for Diversity
        Equity and Inclusion.

101.     Cummings's email, provided John 21 hours' notice, constructively accusing John of Disorderly
Conduct, section 3.225 with a sanction intended to revoke his admission26, which triggered the Handbook
and Conduct Policies disciplinary contractual procedure with a guised ''Notification of Alleged
Violation " 27 •
102.     Based on the email, John had no notice that the meeting was related to Title IX procedures or
potential sex related charges, nor had time to speak to an advisor or Webster. Per the Handbook, Friday was
the soonest that any Conduct Conference contractually could have occurred. John Doe's Due Process
rights and/or Title IX rights were violated in part by providing inadequate notice. The Notice of Alleged
Violation did not advise John Doe of his right to have an attorney or advisor present at the Procedural
Review. Id In so doing, UMASSD and/or State Defendants violated John's due process rights and/or rights
under Title IX Protocol.
103.     By procedure Cummings named herself as the "Conduct Conference Facilitator. 28 " As
Facilitator Cummings oversaw the disciplinary proceedings in general regarding John.



23 A student shall be notified, via email to the student's UMass Dartmouth email address in a Conduct Conference

Notification that the student is alleged to have violated the Code of Conduct.
24 Herein known as "Admissions Misconduct."
25 "Falsifying information submitted to any University officer or agency; offering a false statement in any University

conduct proceeding."
26
   Section 13 - Sanctions: Revocation of Admission or Degree may be revoked for fraud, misrepresentatio~ or another
violation of the Code of Conduct in the admissions process or in obtaining the degree or for other serious violations
committed by a student after admission or prior to graduation.
27
   "Communication and Scheduling Procedures: Student conduct related notifications are generally made to the UMass
Dartmouth email account Confirmation of delivery by the University's email server will be considered the confirmed
delivery date and time of notification."
28
   "This notice will be sent by a Conduct Conference Facilitator".

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104.       If complaints of sexual misconduct had been alleged, as Majewski and Cummings eventually accuse
John of committing as the investigation continued, a conduct conference was by contract the wrong venue
to discuss the allegations. 29
105.       Based on information and belief, Cummings communicated with Webster and discerned that John
fully disclosed his criminal history as required by UMass Dartmouth Graduate School Application
procedures, and that Webster had investigated the veracity of John's disclosure versus his relevant criminal
history.
106.       Based on information and belief, Webster informed Cummings that he and thus UMASSD
guaranteed John that such information would be held strictly confidential and would not be disclosed to
other University personnel, especially the staff, faculty and students at SMAST. 30
107.       Based on information and belief, Cummings, Majewski and other UMass Dartmouth exchanged
emails stating that John should not have matriculated and the admissions error needed to be corrected.
108.       Pursuant to Policies, "ALL complaints ... of student misconduct will be referred to the Dept. of
Public Safety, and the Office of Housing and Residential Education, or the Office of Student Conduct and
Dispute Resolution (OSCDR) ... " Cummings' and Majewski's in a continued effort to conceal their efforts
failed to refer the matter as directed under Policies.

Conduct Conference31 In Office of Defendant Maiewski with Defendant Cummings Present
109.       On Wednesday, May 4, 2016, at 3 PM, John attended the "meeting" with Majewski and Cummings.
He believed the meeting was solely to address the confusion created to alleged "Admissions Misconduct."
110.       Immediately upon John's entering Foster Administration Building,                Room 323, Cummings
identified herself as Assistant Vice Chancellor for Student Affairs, and demanded John's resignation from
UMass Dartmouth as the result of his "fraudulently disclosing his criminal history in his application.".
Cummings was hostile and dispositive in her judgment of John's guilt.
111.       John explained that he fully disclosed his criminal convictions verbally to Webster and in writing
as required per the graduate school admissions process, and that several attorneys familiar with his history
reviewed and edited the disclosure letter for accuracy and legal transparency. John explained that Webster
accepted his application only after vetting John's disclosure.

29
   All allegations of sexual misconduct including sexual harassment, sexual assault, rape, dating violence, domestic
violence, and stalking are immediately forwarded to a Title IX Investigator as required by federal law. (Conduct
Procedures section VIII)
30
   Webster also mentioned the infonnation would be protected under FERPA.
31
   Conduct Conference Procedures: At the Conduct Conference, the student has the opportunity to discuss the incident,
review any reports regarding the matter, and review her options for resolution of the complaint. If the student wishes
to take responsibility for the alleged violation(s), the student is able to resolve the incident with the Conduct
Conference Facilitator.. The Conduct Conference Facilitator may present a recommendation for resolution based
exclusively on the student's statement at the Conduct Conference and the written report. If the student does not take
responsibility for the violation(s), the matter would be forwarded to an investigator for a full investigation.

                                                                                                                   23
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112.       Majewski explained that the purpose of the meeting was to inform John that he was being accused
of violating the student code of conduct, and some reported that he created a hostile learning environment. 32
113.       John stated that Webster guaranteed him that the academic Department at SMAST would NEVER
learn of John's convictions, which would inevitably create unbearable bias and preclude John from pursuing
his research interest in Oceanography. John detailed his fear that his research interests would likely end if
scientists in the field learned of his convictions. John admitted he was considering transferring to Duke
Marine Lab under Professor Douglas Nowacek, and would be taking summer classes at Duke.
114.       Cummings laughed at John's statement, "Do you think you'll get accepted anywhere else?
Cummings stated that other universities - URI and Woods Hole33- now knew of John's criminal history.
Joho inferred that Cummings shared the confidential information that was included in the disclosure
statement in his admission application.
115.       Based on knowledge and belief, John's criminal history remained confidential prior to Cummings
actions, inasmuch as to persons associated with SMAST and UMASSD, fellow students, colleagues, and
his academic advisors.
116.       Majewski stated that multiple and independent people - students and faculty - had recently filed
formal complaints regarding John's misconduct, and they were considering a Title IX investigation.
117.       John had no knowledge of the meaning, scope or significance of a Title IX investigation, but John
inferred that Cummings had determined his guilt already and sought to have him expelled however possible.
118.       John was incredulous! He requested to know the specific allegations and the identities of his
accusers, and when the allegations were made.
119.       Majewski and Cummings refused to offer either. In so doing, UMASSD and/or Defendants violated
John's due process rights and/or rights under Title IX Protocol.
120.       Cummings stated that some accusers had come forward as early as December 2015, but most were
recent.
121.       John asked, "People came forward with accusations of misconduct against me six months ago, and
you are just now informing me of them34?" Cummings confirmed the reports of 6 months past.
122.       John believed that "Plan A" for the two school officials was to intimidate him and immediately
force his departure from UMASSD related to the "insufficient" declaration of his criminal history, and
when that failed, conduct "Plan B" which was a baseless ~'witch hunt" investigation of him in hopes they
would unearth something, anything, somewhere.


32
     Violations of the Code of Conduct are supposedly processed under Policies and violations of sexual violence under
Protocol 2015.
33
  Woods Hole Oceanographic Institute
34
  All allegations of sexual misconduct including sexual harassment, sexual assault, rape, dating violence, domestic
violence, and stalking are immediately forwarded to a Title IX Investigator as required by federal law.

                                                                                                                         24
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123.    John protested claiming no one had filed any complaints, that the two officials were solely taking
this action because he was a male student with a felony conviction, and they wanted him out.
124.    Neither Cummings nor Majewski denied Plaintiff's accusation, and as such offered a tacit
confession as to their male bias, wherein under the circumstances an innocent person would have denied it.
125.    In filing his verbal objections to disciplinary discrimination on sexual gender, he provided UMass
Dartmouth officials adequate notice of his own Title IX complaint as a person under a protected status.
126.    John was asked, "Are you refusing to leave the school voluntarily?"
127.    John said, "Yes, Absolutely." John again requested the list and nature of the allegations and
identities of his accusers, so he could defend himself.
128.    Majewski told John to read the Handbook, to look to the possible accusations that could trigger a
code of conduct investigation, but offered nothing more as to the factual basis of the allegations.
129.    Majewski asked, "Have you ever caused someone to feel uncomfortable at school?
130.    Incredulously, John stated that the only time he confronted students was to criticize ongoing
cheating rings in Biological Oceanography, a course which had just completed with a final exam a few days
earlier, and for which he intended to report the academic misconduct. He described the cheating in detail,
named four students and asked Cummings to investigate it.
131.    Without identification of the alleged complainants against him, John asked to file detailed
complaints of ageism against certain students, and to report incidents of female students, who continued
sharing explicit sex stories concerning both their undergraduate experiences and in current relationships.
132.    Cummings refused to hear any complaint, stating that if John intended to pursue the filing of any
complaint whatsoever that she would consider it retaliation, and retaliation would constitute a separate
offense of misconduct and another Title IX violation.
133.    John asked, "How can I retaliate against anyone when I have no clue as to my accuser's identity?
134.    John asked, "IfI was a female making a complaint against a male student wouldn't you investigate
the claim?"
135.    Cummings noticeably did not reply, as such offered a tacit confession affirming her male bias.
136.    UMASSD and/or Defendants violated John Due Process rights and/or rights under Title IX in part
because it applied Protocol 2015 and Policies in a gender biased fashion. In denying John's complaint of
violations of both Policies and Protocol and even threatening retaliation to chill his filing ANY complaint
- because he was a male - Majewski and Cummings discriminated against John in pursuit of expelling him.
137.    Prior to the meeting, Cummings prepared a signed letter dated May 4, 2016, which she allowed
John to read. It stated in relevant part:
    It has come to the attention of the UMass Dartmouth administration that you have a more extensive
    criminal history than you disclosed prior to being admitted to the Master's program in Marine


                                                                                                          25
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     Science35• In addition, members of the University community have expressed concerns about your
     behavior that is considered aggressive and hostile ... Due to the serious nature of this matter, I am
     writing to inform you that, effective immediately, you are suspendedfrom UMass Dartmouth, pending
     the resolution ofthe Title IX investigation for a/legations of creating a hostile learning environment.
     During the period of suspension, you may not attend classes or be present on any of the UMass
     Dartmouth Campuses, including the two SMAST facilities, without my permission and without the
     escort ofa Public Safety Officer ... Additionally, you may not contact any UMass Dartmouth students
     or faculty/staff members, unless you have been instructed to do so as part ofthe Title IX investigation.
     No contact includes,. but is not limited to, the following forms ofcommunication: in person , through
     a third party, by phone, by text, through social media or other electronic means ... Any personal
     belongings that you have left at the SMASTfacility in Fairhaven will be packed and mailed to you at
     the address above36•

138.     Cummings copied Emil Fioravanti, the Chief of University Police; Tesfay Meressi, the Associate
Provost for Graduate Studies, and Steve Lorenz, the Dean of SMAST. Prior to promulgation of this letter,
none of these individuals knew that John had a criminal past, and in such disclosure breached the agreement
between Webster and John.
139.     After the subject letter was disseminated, John never heard again of accusations related to his
"Admissions Misconduct" which showed Cummings had no probable cause to initiate the Conduct
Conference related to student misconduct, nor pursued it further once the damage of promulgation was
complete.
140.     Cummings issued a ''NOTICE NOT TO TRESPASS37 ," which she required John to sign.
Cummings stressed that if John stepped on UMass Dartmouth property then he would be criminally
prosecuted. John inferred her statement was more of a threat than a notice of fact.
141.     Cummings told John that ifhe agreed to withdraw from school then he would not undergo a Title
IX investigation, that no one would learn of his criminal history, and that she could likely ensure John
received excellent letters of recommendation to seek an education elsewhere.
142.     Cummings demanded John's resignation a second time; John refused, but stated he would have to
consider his options. It became immediately apparent to John that Cummings and Majewski having learned
that an enrolled male had a criminal conviction, so they were pursuing unprofessional procedures to expel
him from school however possible.




35
   Cummings and Majewski secured John's conviction disclosure statement in his admissions applicatio~ which is included
in his student educational record.
36 John's items were never returned to him.
37
   In accordance with Gen Laws of the Commonwealth ofMassachusetts, Chapter 266 Section 120, you "JOHN'', ... are
hereby notified that you are forbidden to enter any lands or buildings owned or controlled by the Commonwealth of
Massachusetts ... This notice shall remain in effect... until 5/4/17 ... Any violation of this notice is a criminal offense and
will be subject you to arrest at the time of violating this order.

                                                                                                                           26
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143.     lo realizing John would not leave UMASSD on his own accord, Cummings stated, "If you won' t
leave, I'll get your kind with a Title IX investigation."
144.     John felt intimidated; he inferred Cummings' coercion, that if be refused to withdraw from school,
then she would ruin his ability to finish his degree at UMass Dartmouth, destroy his reputation, deny his
ability speak to anyone at UMass Dartmouth, and suspend him from school, an act that would likely destroy
his ability to continue and pursue an Oceanography career elsewhere.
145.     John objected to the terms in both documents and argued they were baseless, that with both in place
be could not effect a defense or question anyone, that be believed it was a sham investigation because he
was a male student with a felony conviction, that be wanted to be able to speak to and choose as bis advisor
Professor John Buck, because John wanted to personally disclose his criminal history, explain matters, and
seek his advice on bow to proceed38 .
146.     Cummings refused John 's request and choice as an advisor. Cummings informed John that each
incidence of communicating with anyone, associated with UMass Dartmouth in vio lation of her letter,
would constitute a separate charge of student misconduct, and a trespass would constitute a separate
criminal charge.
147.     John inquired into the confidential nature of an investigation 39 . Majewski assured John that no one
would know of the Title IX proceeding or investigation, except the few who are vitally part of the
investigation. Majewski directed John not to discuss the investigation with anyone except his advisor. John



38 Right to an Advisor: A student, party to a matter of student conduct, may elect to be accompanied at a ll fonna l
proceedings by an advisor of hi s choice. The advisor must be a member of the fac ulty, staff or student body of the
University except that legal counsel may accompany a student, at the student's discretion, when a criminal charge
arising from the matter is pending or is considered likely. Absence of a pending crim ina l charge or the bona fid e
likelihood thereof, the advisor must be drawn from within the University community. In matters involving a Title IX
Investigation fo r Sexual Misconduct, both the accused student and the reporting party may have an adv isor of their
choice. If a student woul d like to have an advisor accompany her at their formal proceeding, but does not have
someone in mind, the Director fo r Student Conduct and Dispute Resolution may be contacted to provide the name
and contact information of volunteer advisors. Advisors are students, fac ulty, and staff who are we ll versed and
trained in student conduct proceedings.

39
   Policv states section XJ. Student Conduct Records The Office of Student Affairs shall maintain the fo llowing
records pertaining to each disciplinary case: The original complaint; All documents, correspondence, fo rm s,
statements, etc., pertaining to the matter; A record of the decis ion including any finding, sancti on, and any action
recommended or taken ... All case records and materials pertaining to a student conduct proceeding s hall be kept secure
away from public view. Except where confidentiali ty is further restricted by law, access to such case records or
materials shall be limited to the accused student, and Adm inistrative Officers of the Uni versity having direct
involvement with the case. Access to student conduct case records by anyone other than those expressly named shall
be by written authorizati on of the student in whose name the file is kept... Protocol explicitly states: Responsibilitv of
Confidentialitv: When a report of sexual assault is made, both the accused and the accuser, and all identified witnesses
who are named in the investigation, will be notified of the university's expectation of confidentiality. Breaches of
confidentiality or retal iation against: the person bringing the complaint; any person assisting with the investigation; or the
person or individuals being charged with the complaint; will result in disciplinary review. The university will make all
reasonable efforts to maintain the confidentiality of parties involved in sexual assault investigations.


                                                                                                                           27
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left the meeting with neither any sense of the charges against him nor of the identities of his accusers,
despite his multiple requests for same.
148.    Only at the conclusion of the Conduct Conference is the investigator supposed to be appointed to
conduct a full investigation of the facts. Yet Majewski and Cummings had already prejudged John's
absolute guilt prior to the investigator's appointment. Defendant Gomes was unable to prevent personal
bias against John since he worked directly subordinate to Majewski and was highly influenced by
Cummings in daily operations; he depended upon both for future promotion prospects in the joint
organiz.ational department. As proof of said influence and loyalty, Gomes has since been promoted to
Director of Diversity Equity and Inclusion.
149.    Cummings twice commanded John's withdrawal (constructive expulsion) from school, as the sole
resolution option in the Conduct Conference; as such Cummings and Majewski illustrated their bias toward
John's predetermined guilt of whatever charge that could pend, since they both had de facto already
convicted him in their minds of whatever charge that could warrant permanent expulsion.
150.    In assigning such prejudice to the process, Cummings, Majewski and Gomes infected all further
proceedings with bias; all should have been disqualified from further participation in the disciplinary
process since their participation denied John an unbiased decision maker, and thus violated his due process.
151.    Contractually the Conduct Conference, as initiated and conducted in this case, continued the
disciplinary process under Policies, under which John was afforded rights, but was endlessly denied.
Majewski and Cummings hereafter would choose carte blanche which procedures of each policy (Protocol
and Policies) - that engendered their cause to expel John. Investigator Gomes's purpose was to simply
fulfill and endorse the decision of his superiors to eliminate John from the University.
152.    Pursuant to Policies section IX, Cummings, who had charged and sanctioned John for his
"Admissions Misconduct" was required to appoint a trained investigator (not Special Title IX investigator)
to review facts surrounding Cummings allegations of John's "Admissions Misconduct."
153.    No investigator was ever assigned to review facts of the "Admissions Misconduct."
154.    Upon conclusion of the Conduct Conference, John had not been accused of sexual misconduct and
believed that the Conduct Conference was the beginning of the Title IX investigation, which he believed
was the school normal disciplinary process. Majewski initiated the Title IX investigation of John without
regard to gender nor sex discrimination, which is contraindicative of the purpose of a Title IX investigation.
155.   Per Protocol 2015 sexual harassment is defined in part as "Sexual harassment is unwelcome conduct
of a sexual nature. It includes unwelcome sexual advances, requests for sexual favors, and other verbal,
nonverbal, or physical conduct ofa sexual nature. " At no time during the entire investigation are any allegations
against John related to these descriptions of any type, and thus application of Title IX procedures based on
creating a hostile environment from sexual harassment was discriminatory and capricious at its outset.


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SMAST Conducted an "All Hands Meeting" to Exile John
156.    In direct violation of its obligations with respect to John's privacy and confidentiality in the Title
IX process, Cummings and Majewski directed Steve Lorenz (within a few days of the Conduct Conference
) to hold an all hands meeting with compulsory attendance regarding John. Attendees were informed that
UMASSD had initiated a Title IX investigation against John, John was enjoined from speaking to any
student, faculty or staff associated with UMass Dartmouth, and John was issued a "Do Not Trespass" order,
denying him access to UMass Dartmouth property.
157.    Students, faculty and/or staff were directed to report directly to Cummings when/if any sightings of
John were made on UMASSD property and/or if any contact was made by John or by his proxy.
158.    Within a week of the Conduct Conference students, faculty, and staff at SMAST knew that John
had a criminal history as the result of the all hands meeting and leaks from the Title IX investigation.
159.    Cummings via Lorenz did not qualify her specific directive at the all hands meeting, leaving the
staff, faculty and students to conclude that they could not speak to John. Moreover, the message implicated
that John was dangerous and unsafe.
160.    In light of Lorenz's and Cummings authority at UMass Dartmouth, this directive had the effect of
a gag order that deterred potential communications between John and possible witnesses, impeded John
from learning pertinent factual information, and hindered John's preparation of his defense at a potential
hearing.
161.    Upon information and belief, the leaks by Cummings and the Title IX investigation were intentional
to interfere with John's ability to return to his program of studies and research interest. In contrast the
confidentiality and privacy of the supposed female victim(s) were diligently protected.

UMASSD and Individual Defendants Interfered with Outside Educational Pursuits

162.    On May 9, 2016 John received a letter attached to an email from Tom Schultz, Ph.D., Director,
Marine Conservation Molecular Facility, Director of Undergraduate Studies, Duke University Marine Lab.
It read: Dear John, Thank you for your application to the Duke University Marine Lab's summer program
Unfortunately we are not able to offer you a space in our program this year. We appreciate your interest
in the Duke University Marine Laboratory and we wish you all the best.
163.    As a graduate student with a 4.0, and with the strong recommendation of fully tenured
Professor Douglas Nowacek, John's application to take undergraduate summer classes should have
been a certainty. John spoke to Tom Schulz telephonically on or about May 9, 2016, seeking an
explanation to his rationale.
164.    Schulz referred to John's Title IX investigation at UMASSD; he stated, "I can't allow you on
the island. We have to keep our people safe. You should have informed Doug you had a felony

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conviction." When John asked him if the UMass Dartmouth staff informed him of his criminal
conviction and Title IX investigation, he stated, "What do you think?"

UMass Dartmouth, Cummings and Maiewski imposed punitive interim restrictions

165.     UMASSD, Cummings and Majewski's imposition of"interim restrictions" also violated John's due
process rights and Title IX and caused tremendous suffering to John. In suspending John for the summer
term it must be considered a long term suspension; John was barred from participating in any UMass
Dartmouth sponsored activities for the spring and summer that buttressed the start of the Fall semester.
John's tuition in part was devoted to such events and restricting him from participating in those activities
without notice or proper hearing deprived John of a property interest without due process.40
166.     Defendants violated Plaintiff's due process in that John's interim suspension and banning from
school was in part or in whole related to his alleged violations of Protocol 2015; he was given no notice of
same in Cummings' email ofMay 3, 2016.
167.     Furthermore any consideration given to the "Meeting" of May 4th as to due process must be removed
since Majewski and Cummings had effected fait accompli already imposed the interim suspension, the do
not contact persons associated with UMASSD directive, and the Do Not Trespass Notice prior to the
meeting at 3 PM on May 4th • The interim sanctions, instituted without notice or opportunity to be heard,
capriciously violated not only John's civil rights under the U.S. and Massachusetts Constitution, but also
UMass Dartmouth's policy on freedom of speech and freedom to associate41 •

40  Students facing temporary suspension have interests qualifying for protection of the Due Process Clause, and due process
 requires, in connection with a suspension of 10 days or less, that the student be given oral or written notice of the charges
 against him and, if he denies them, an explanation of the evidence the authorities have and an opportunity to present his
 side of the story. The Clause requires at least these rudimentary precautions against unfair or mistaken findings of
 misconduct and arbitrary exclusion from school. Goss v. Lopez, 419 U.S. 565 (1975).
41 • Freedom of Association Students are free to organize and join associations to promote their common interests.
 Freedom ofInquiry and Expression Subject to the University's right to regulate time, place, and manner, students and
student organizations will be free to examine and discuss all questions of interest to them, and to express opinions
publicly and privately. In addition, subject to the same limitations, students will be allowed to invite and hear any person
of their own choosing. Freedom of Assembly The University of Massachusetts recognizes the rights of members of the
 University community to freedom of assembly and speech, and strongly believes in fostering discourse and the free
 exchange of ideas at the University. Freedom of Speech The University recognizes the need for all members of the
 University community, administrators, faculty, staff, and students to reaffirm formally their profound commitment to
freedom of speech and to clarify the implications of that commitment. In this context, freedom of speech encompasses
 all forms of communication as well as the freedom to listen, watch, protest, or otherwise participate in such
 communication. We believe it is our responsibility to espouse an atmosphere offree speech and free inquiry and to
 advocate for the timely discussion of a wide variety of issues. We believe, further, that vital intellectual discourse is
 essential to democracy and to ensuring a just society. -- Believing speech to be false, deleterious, or in any other way
 odious cannot be cause for its suppression except for speech as specified under allowable exemptions below. Preventing
speech from occurring by disroptive protest also constitutes an attack on freedom of speech.-- Ensuring the rights offree
speech and expression for protests is a concomitant responsibility for upholding First Amendment prescriptions while
 acknowledging allowable exemptions for: speech that poses a clear and present danger ofserious harm; obscenity; some
forms of libel; sexual exploitation and other abuses of children; fighting words or face-to-face insults that are likely to
 bring disputants to blows; time, place and manner.

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168.         Handbook section XII states:
        In cases ofdiscipline arisingfrom extraordinary or emergency conditions, the Chancellor or his/her
        designee may invoke the action of interim suspension of a student ... who act, or refuse to act, if the
        result ofsaid conduct is to interfere with the rights ofothers and is non-peaceful or is disruptive or
        said conduct constitutes a clear and present danger to the health, safety, or property ofothers.
169.     There was no basis for any such finding here as confirmed by the complete rebuttal of the
"Admissions Misconduct," and moreover by the questions that Gomes posed on July 15 th •
170.         John's complaints about his interim restrictions were never addressed, thereby denying him his right
to request an assessment. At no time did Majewski, Cummings or UMASDD review the status of the
interim suspension to explain the sanction as "necessary and effective," thereby denying due process.
171.         Protocol explicitly states "When becoming aware of a complaint of sexual violence the University
may take interim measures including but not limited to restriction of communication with named
individuals, not the entire population ofUMass Dartmouth. The purpose of a "Do Not Contact" (DNC) is
to protect the victim, and at best prevent identified witnesses from being unduly influenced or retaliated
against. In issuing a DNC as issued in this case, it shows capricious and deliberate indifference to John's
due process and Title IX rights and to his well-being. The DNC implies the investigation had no basis and
UMASSD casted a wide net seeking any incriminatory evidence possible without John's intervention.
172.         Interim restrictions are imposed to ensure equal access to educational programs and activities and
protect the complainant as necessary. UMASS and Defendants, however, showed bias by never attempting
to show that the interim restrictions placed on John were necessary to protect the complainant or to ensure
her equal access to educational programs and activities. Defendants' deprivation of John's rights through
the interim restrictions was wholly intentional, and effectively barred him from participating in all school
sponsored activities for 4 months, and denied him any ability to defend himself, or protect his reputation.
173.         Despite the fact that John lacked any prior disciplinary history John was escorted off campus on
        th
May 4        ,   2016.
174.         This "interim suspension" was a de facto temporary expulsion in that John was excluded from all
classes, seminars and university programs, was not permitted any involvement with organized school
functions, was banned from all University sponsored activities, and was banned from all UMASSD facilities
which prevented him from receiving the medical treatment and rehabilitative care necessary for the recovery
and preparation for his hip replacement surgery performed on June 6, 2016.

The Special Examiner's Closed-Door Investigation and Judgment of John's Case.

175.         On May 4, 2014, and for weeks thereafter, John and his attorney repeatedly asked University
officials to inform him of the allegations and factual bases for any charges against him. He had not been




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provided with anything more than "members of the University community have expressed concerns about
your behavior that is considered aggressive and hostile . "
176.       On May 9, 2016 at 3: 11 PM_ John emailed Majewski stating: "I am not prepared to withdraw at this
time. At your earliest convenience I would appreciate receiving a copy of any allegations so I may prepare
my defense." Having seen that Cummings and Majewski intended on fulfilling their continuous threat - if
John did not sacrifice his contract with UMass Dartmouth - he was forced to consider acquiescing to
Cummings' coercion and withdrawing from UMass Dartmouth.
177.       On May 9, 2016 at 4:50 PM Majewski emailed John acknowledging:
         John 's decision not to resign; that the University will begin the Title IX investigation immediately,
         that The Office ofDiversity, Equity and Inclusion will contact John as soon as possible to schedule
         an interview as part ofUMass Dartmouth's investigation into allegations that he may have engaged
         in misconduct, in violation of the University's Policies on Equal Opportunity, Discrimination,
         Harassment and Sexual Violence,· that a face-to-face interview will be conducted with John; the
         location of the interview, that David Gomes, the University's Equal Opportunity
         Specialistllnvestigator will also be participating in the interview; that John has the right to have an
         advocate present during the investigatory interview session; that participation in this interview is
         voluntary; that in the event John declined to participate in this interview, the University will proceed
         with its investigation and will draw whatever reasonable inferences are necessary based on the
         evidence produced in case John does not participate; that John will be asked to provide information
         and respond to questions asked,· that John will be permitted to ask questions of the interviewer.
         Majewski added: UMass Dartmouth~ resolution process is confidential. and we request your
         discretion in minimizing the sharing ofinformation so as to respect the sensitivity ofthis matter for
                                                                                             s
         all parties, and that John should be advised that he was still under the University directive to have
         no contact with UMass Dartmouth students, faculty. or staffmembers while this complaint is being
         investigated As such, you should have no communication with any students, faculty or staffmembers
         in person, through a third party. or by any electronic means, including telephone, e-mail. text. social
         media, etc.

178.      Majewski's email was the first notification of John's rights in the process, but absent was any list
of allegations upon which the investigation was based. UMASSD's directive, to have no contact with
UMass Dartmouth students, faculty, or staff members, denied John his choice of advisor and forced John
to retain private counsel. 42
179.      In allowing David Gomes to serve as investigator, prosecutor, judge and jury of John, UMASSD
and/or Defendants violated Due Process concerns issued by U.S. Department of Justice's ("DOJ'') Office
in its May 9, 2013 fmdings in which state:"... the dual role of [a university employee] in investigating
[University of Montana] complaints and presenting the case on behalf of the University to the University
Court creates a potential conflict that can deprive ... an adequate, reliable, and impartial investigation...
[therefore prohibiting] the same official playing these dual roles of investigator and 'prosecutor' ... will

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     William Gens Law Firm, Boston, MA.

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ensure that individuals who play a role in ... processing student complaints ... do not have any actual or
perceived conflicts of interest in the process."
180.    On May 20, 2016 Attorney Baysan emailed Majewski announcing his retention to represent John.
        My office has been retained to represent (John). As a threshold matter, it is our understanding
        that "John" attended a meeting with you on May 4 to discuss the pending allegations against him.
        In accordance with Titles VII and VIII of University of Massachusetts Dartmouth 's (hereinafter
        "UMass Dartmouth") Student Conduct Policies and Procedures, a student who is facing any
        a/legations is entitled to a conduct conference during which he is given "... the op_portunity to
        discuss the incident, review any reports regarding the matter, and review his/her options for
        resolution of the complaint. " It has come to our attention that during the conduct
        conference. "John" was not and has not been afforded these rights and thus far he neither knows
        nor has a reason to know the basis ofthese a/legations.
        Additionally, the letter ofMay 4, 2016 references John's disclosures regarding "the extent of his
        criminal history. " Upon our review of his graduate school application questions and his
        responses, it is clear that "John" was asked only about criminal convictions and that he provided
        a detailed explanation ofthe charges that were brought against him ... for which he was convicted.
        Therefore, John does not and cannot understand and determine the basis of these additional
        claims ofnon-disclosure that were referenced in the letter...
181. On May 24, 2016 Majewski emailed Attorney Baysan detailing the rights of John in prior cover,
specifically "John ,, was advised that his advocate and/or private counsel are there to provide advice and
counsel and are not otherwise permitted to interfere with or restrain the University's effort to conduct a
legitimate investigation.
182.    On May 25, 2016 Attorney Mehmet Baysan emailed Majewski seeking details of the allegations
requesting: "Also. please kindly share with us any and all documents that are relevant to the underlying
a/legations so that "John,, understands and properly prepares for the interview andfor the Title IX
Investigation all together. As I mentioned in my previous email, he is entitled to this information and he
should have been provided with the same during the Conduct Conference under Titles VII and VIII of
UMass Dartmouth •s Student Conduct Policies and Procedures.
183.    In Majewski's response on May 27, 2016, she implied that the Student Conduct Procedure had not
begun, and the Conduct Conference had not occurred on May 4, 2016. Pursuant to Majewski's repeated
advisements, she was apparently conducting an investigation outside Policies, because a Title IX
investigation warranted certain rights pursuant to Policies which Majewski either was ignorant of or with
deliberate indifference ignored. Additionally she stated that John may have engaged in behaviors that
violate any potential misconduct code whatsoever without offering specific allegations. She wrote:
        In response to your second request, please understand that at this point in time the
        University is conducting a Title IX investigation based on allegations that "John,, may have
        engaged in behaviors that violate the student code of conduct and/or the University's
        Policies on Equal Opportunity, Discrimination, Harassment and Sexual Violence (see
        attached). "John" will not be provided with any additional information prior to the
        Investigatory Interview.


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       Also, please understand that at this time the Office of Diversity Equity and Inclusion is
       conducting a fact-finding review, and no decision has been made to initiate the Student
       Conduct Process. Therefore, we are not at the point ofa Conduct Conference. The purpose
       ofthe Investigatory Interview with "John" is to provide him with an opportunity to respond
       to the allegations, to provide us with witnesses he believes we should speak with pertaining
       to this matter, and or any documentation he may have to substantiate his responses.

184.   Pursuant to Policies, Protocol and DCL, Title IX Coordinators and investigators were required to
receive annual training on the procedures and requirements of Title IX. Majewski in her responses to
John illustrated her lack of training and confusion as to the beginning of the disciplinary process under
Protocol and Policies.
185.   Further it becomes abundantly clear that the ambiguous definition of "hostile learning
environment," as it relates to Protocol, was misunderstood and wrongly applied from inadequate training.
186.   On June 2, 2016 Attorney Baysan emailed Majewski to offer John's signed release and to renew
his objections and concerns regarding the ever changing landscape of potential allegations facing John.
       In your last email, for the first time, you mentioned that the underlying a/legations for the Title
       IX investigation may arise out of acts that violated your institution's policy against sexual
       violence . As you can understand, this comes as a complete surprise to us as the sexual nature
       ofthese allegations has not been previously shared with us or "John " much less mentioned in
       either the initial suspension letter or in any other correspondence that originated from your
       institution thus far. This once again underlines my concerns regarding the lack of any
       substantive basis for these allegations, which is in direct violation ofyour institution's own
       rules and regulations.

       My reading of Title VIII of the Student Conduct Policies and Procedures in conjunction with
       Titles VII and IX contemplates giving any student who is accused ofany violation ofthe student
       code "an opportunity to discuss the incident, review and reports regarding the matter, and
       review her options for resolution of the complaint. " Considering your face to face meeting
       with "John " on May 4 and your request for his voluntary withdrawal from your institution
       during this meeting, I am disappointed to see that "John" is not receiving the full benefits of
       these rules that are designed to offer an accused student an opportunity to make an educated
       decision with regards to his/her position based upon his/her review of the evidence, or at the
       very least, the a/legations that are pending against him/her.

       On the contrary, your institution's position has been mainly committed to making vague and
       broad a/legations that seem to expand in every correspondence. This is clearly evident in your
       latest email as it referenced the following categories under which "John" may have violated
       the school's policies: Equal opportunity, discrimination, harassment and sexual violence and
       code of conduct violations. These chapters would encompass most if not all of the violations
       that may be committed by a student. This not only places "John" in a very difficult position
       but also directly contradicts UMass Dartmouth 's own written policies. This holds true even if
       we assume, for the sake ofanalysis, that the allegations are ofsexual nature, as alleging sexual
       violence does not take these proceedings outside the realm ofthese rules and regulations

       With regards to the investigatory interview referenced in your latest email: The only
       procedural mechanism that allows your institution to proceed with such an interview before
       holding a conduct conference would be under Title VII provided that the allegations are of

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        sexual nature. Even if we assume that to be true, the student would still be afforded an
        opportunity to review the reports and a/legations during this interview. However, on the
        contrary, your email describes this interview as an opportunity for "John" to respond to the
        a/legations, to provide the school with witnesses, and or any documentation he may have to
        substantiate his responses. This, then, begs the following question: How can "John" or anyone
        else who is accused ofviolating the rules at UMass Dartmouth be expected to prepare his/her
        defense, find witnesses, locate documents, gather exculpatory evidence, and
        dispute inculpatory evidence without knowing what the a/legations are?

        As you can understand, my client is growing impatient as he has already been penalized with
        the most serious sanction ofimmediate suspension from UMass Dartmouth without even being
        afforded an opportunity to understand the nature and the substance of these a/legations. On
        that note, I would like to once again share with you our sincere dedication to cooperate with
        your institution in an attempt to amicably resolve this matter. However, I cannot advise my
        client to open himself to unknowns and allegations against which he cannot properly defend
        himself.

        Therefore, in light of the absence of any allegations ofsexual violence in any ofyour or your
        institution 's prior written or oral communications in this matter, and in review of the broad
        nature ofyour latest email, I would like to once again renew my request to have your institution
        afford "John" an opportunity to review the allegations against him outlined in Title VII ofthe
        Student Conduct Policies and Procedures.

187.    On June 7, 2016, Majewski emailed John and his attorneys informing him of the general
allegations of violations of the SCOC and the University's Policies on Equal Opportunity, Discrimination,
Harassment and Sexual Violence.
        Specifically, it has been alleged that you have engaged in behavior that has created an
        uncomfortable learning and work environment .. .I remind you that these are merely
        allegations at this time, and the University wishes to afford you the opportunity to respond
        to these allegations. 43
188.    The terms "created an uncomfortable learning and work environment" has been deemed
unconstitutionally vague, 44 and provided no basis of charges, which precluded John's ability to be heard.
189.    In Attorney Baysan's July 13, 2016 email to Majewski, he detailed UMASSD's violations of their
own policies, and again demanded details of allegations or the investigative report.
        With regards to your reference to bringing documents and information in support ofJohn's
        position to the July 15 meeting: As I have been reiterating since my first engagement in this
        matter, "John" is not in a position to prepare for his defense as he has not been provided
        with any information regarding the underlying allegations. In my previous emails, I have
        diligently outlined our position and relayed to you that your office 's actions have been in
        violation of your own school code. In case my points have been forgotten or neglected:
        Although you and other members ofyour office met with "John" in person shortly after the
        notice of violation (in which you suggested that he should withdraw on his volition), during
        that meeting he was not provided with any information regarding these allegations. Nor was

43 Pursuant to SCP&P section IX the investigator will review all written materials and will interview both the student who
is alleged to have violated the COC and the reporting party.
44
   DeJohn v. Temple University, 537 F.3d 301 (3d Cir. 2008)

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       he provided with any documents, records, or any other items that would disclose to him the
       basis of these proceedings. This was in direct violation of Titles VII and IX of the Student
       Conduct Policies and Procedures. Secondly, each and every response to my requests for the
       disclosure ofsuch information has been met with either vague statements or references to title
       headings that contain almost every possible conduct violation. This was evidenced by your
       reference to the section that governs harassment and sexual violence for the very first time in
       your June 7 email.
        We have always made it clear that "John" is ready, able, and willing to cooperate with your
        office at his utmost for the amicable resolution of this matter. As such, we have always been
        in cooperation with your office and, within the boundaries ofyour institution 's own rules and
        regulations, made numerous good faith attempts to learn the very basis of these allegations
        to properly and intelligently prepare our defense. However, thus far we have received nothing
        of that sort and, now, we are asked to bring documents and information that would either
        explain or dispute these allegations.
        As I mentioned in my prior emails, we have agreed to come to your office to learn about the
       underlying allegations for the first time. Therefore, please be advised that "John " cannot be
       expected to dispute these a/legations during this meeting let alone comment on them without
       properly hearing the facts and reviewing the documents in their support. I truly hope to
       accomplish these goals pursuant to your institution's own rules and regulations and not in
       direct violation of them.
INVESTIGATIVE INTERVIEW

190.    On July 15, 2016 at 4 PM, John and his Attorneys met with Cummings, Majewski and Gomes to
conduct the investigative interview of John pursuant to Conduct Procedure section V and IX.
191.    During the interview Gomes asked John approximately 15-20 questions. The investigator refused
John's request to get a copy of the questions. John was told to talce notes. Gomes asked questions, which
at best implicated innocuous behavior or in fact established motive for the supposed victims to prevaricate
their version of the truth. Any questions related to potentially improper behavior were general in nature
without specific example or time and place as to occurrence.
192.    Based on the questions asked, John was unable to discern the true nature of the allegations, which
denied John the opportunity to be heard in the process.
193.    The investigator asked if John had brought documents to support John's testimony. John replied
that he had no idea what documents to bring because Majewski refused to give him the nature of the
accusations or the identity of the accusers. "Behavior that has created an uncomfortable learning and work
environment" is grossly undefined.
194.    John agreed to forward documents supporting John's testimony once he narrowed down the
allegations, which remained too general in nature to defend.
19S.    The investigator was unable to provide John a single specific example or timeframe or even month
or location of a specific event, but instead referred to general, undefmed, and baseless allegations. "Did you
ever tell someone you missed your children?" or "Did you ever deny helping someone with their
homework?"

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196.    Gomes asked John "Why do you think someone would make these allegations?"
197.    John replied in incredulity as to the legitimacy of the investigation and alleged he had been
prosecuted solely because he was a male with a conviction. John asked whether his statement regarding
missing his children and similar accusations were actually allegations worthy of this proceeding and worthy
of destroying an academic career. John mentioned he thought the investigation was bogus from the
beginning because he is male with a conviction. John complained that he hadn't been provided one actual
example of misconduct he could address, and he still lacked the identity of his accusers. John stated he
didn't think anyone stepped forward to make the allegations. John stated he believed there was nothing to
the allegations, to this investigation and the Title IX officials knew it. He asked if officials investigated the
cheating scandals he reported or the ageism complaint or sexual harassment complaint he wanted to file?
198.    John requested a copy of the investigative file, which was denied. John has never seen heretofore
any document, notes, investigative summary, witness statements nor anything whatsoever related to the
Title IX investigation or the investigation related to John's "admissions misconduct.".
199.    John requested but was denied the following at the investigative interview: identities of his accusers;
opportunity to question his accusers; and a more defined sense of the specific allegations as to when, where,
how or who.
200.    John provided a list of witness that he wanted interviewed, including the teachers he had in class at
all times relevant, including Geoffrey Cowles, Miles Sundermyer, and Richard Connor. Gomes failed to
interview any of John's witnesses during the investigation, and made no effort to obtain potentially
exculpatory evidence, including highly relevant text messages between supposed complainants, or
information about the reported and ubiquitous cheating scandals at SMAST, which John reported and
which gave several students motive to prevaricate.
201.    Upon information and belief the investigator interviewed every female student in classes John took
seeking corroboration of general allegations or sought information for a new charge, which UMASSD could
use against John.
202.    John was informed that if he was found responsible for creating a hostile learning environment,
sanctions ranged from a warning to expulsion.
203.    On July 29, 2016, John via Counsel provided nearly 50 pages of friendly texts, emails and Facebook
messages indicating a friendly and cordial relationship with all students in his classes.
       INVESTIGATION COMPLETION

204.    Student Conduct Procedures, Section IX states:
        "Once the investigation is completed, the investigator will write a report of the findings
        including I) a summary of the facts 2) a finding of responsible or not responsible for each
        alleged violation with a rationale using the More Likely Than Not standard; 3)


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         recommendations for sanctions where applicable. The report will be completed within 5
         business days ofthe completion ofthe investigation and will be sent to the accused student and
         in cases of violence and/or sexual misconduct, to anyone victimized in the incident. "
205.     Protocol states:
        When the investigation is completed, the investigator will present his/her findings to the Title IX
        Coordinator. Upon approval of the Title IX Coordinator, the investigator will present his/her
       findings in writing via UMass Dartmouth email account to the reporting party, the respondent and
        the Coordinator ofStudent Conduct and Dispute Resolution. Both will be asked to submit in writing
        a response to the finding to the Coordinator ofStudent Conduct and Dispute Resolution .

206.     Upon infonnation and belief, supposed victims were not provided a copy of the findings by
the investigator and were not given the opportunity to appeal in Majewski's and Cummings's and
UMASSD's attempt to conceal the nature of and prosecution of the investigation.
207.     Regardless of the procedure used (Policies or Protocol), and clearly both seem to have been
used whenever convenient to Cummings and Majewski, John never received a copy of the report from
the investigator (nor Coordinator of Student Conduct and Dispute Resolution) per Policies, nor
opportunity to respond in writing to the findings within 5 days, nor did he receive Gomes findings to
his email account per Protocol, nor was he offered the opportunity to submit in writing a response to
the findings. 45
208.     An Administrative Review Panel never reviewed the findings. 46 Because there was never
an Administrative Review Panel, John never received a letter within 3 business days by the Director
of Student Conduct and Dispute Resolution, and thereby John was never offered the opportunity
to appeal. 47
209.     A student who receives a sanction has the right to an appeal under certain criteria. John was
denied any appeal though he received multiple sanctions.
210.     Majewski unilaterally detennined John's fate after receiving Gomes' squalid investigation
results. Moreover, Majewski and Cummings sheltered any decision away from prying eyes in her
disappointed conclusion that regardless of her witch hunt, of her violation of both school policies



45 Student Conduct Procedures, Section IX states: Upon receipt of the investigator's findings, the accused student, and
in cases of violence and/or sexual misconduct, the reporting party, and anyone victimized may within 5 business days
submit a written response to the investigator's report to be included in the review ofthe findings by the Administrative
Review Panel.
46 Student Conduct Procedures, Section IX states: The investigator's report and any written responses will be reviewed

within 5 business days by an Administrative Review Panel
47 Student Conduct Procedures, Section IX states: Following the review of the findings by the Administrative Review
Panel, the accused student, the reporting party, and anyone victimized in this incident will be sent a decision letter
within 3 business days by the Director of Student Conduct and Dispute Resolution or designee. The accused student
and in case of violence and/or sexual violence, the presenting party, and anyone victimized may accept the decision or
submit an appeal if they feel that they can meet grounds for appeal as outlined in the appeal process.


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(Protocol and Policies) and of John's due process rights, she and Cummings could not scour any
evidence of legitimate misconduct that was actually sanctionable under Policies nor Protocol.

The University's Decision and Sanction
211.     Circa August 30, 2016 Majewski met with and informed John and Attorney Baysan of the
findings of the Title IX Proceeding.
212.     John was told that he was found not responsible for violating Protocol nor Policies, that he
was being sanctioned with a warning in writing, that similar behavior would likely yield harsh
penalties, that he was directed to remain away from his accusers, and that Steve Lorenz needed to
discuss with John the changes in his academic program as a result of the Title IX investigation.
213.     John requested a copy of the investigative file/report and all documents used in the
investigation. John objected to any sanctions if he was found not responsible, that the process was a
sham based on his gender with a conviction, that he hadn't been informed of the identities of his
accusers so how could he possibly stay away from them, that his program had been damaged enough
by the investigation and that if he was found not responsible then he should be able to return to his
academic program without restraint of any kind.
214.     John was told there was no appeal rights and that the matter was considered now closed.
215.      John was provided the decision of the Title IX proceeding in a letter dated August 30, 2016
(Exhibit B). The relevant points of the decision included:
       a. There was insufficient information to conclude that John engaged in behavior which violated
          the University's Policies on Equal Opportunity. (This conclusion is inconsistent and at odds
          with the only two available conclusions of "responsible" or "not responsible")
       b. Despite the conclusion, he was formally sanctioned with a warning48 as though he was found
          responsible for violating University Title IX Policies and thus the Code of Conduct.
       c. UMASSD recommended 'appropriate intervention' with Dean Steven Lorenz and Asst.
          Dean Michael Marino, SMAST, to ''work with John to complete his degree program, and to
          ensure the interactions in the academic environment are consistent with policies and
          expectations of the University."
       d. Without notifying John of persons' identities who participated in the Title IX procedure,
          UMASSD threatened John with retaliation charges if it appeared that he was retaliatory
          towards anyone he believed may have been involved in the investigatory process.



48
   Student Conduct Procedures, Section 13, Sanctions, states: ''Warning by the student conduct process, normally in writing,
is intended to make the student aware of the possible consequences of individual or group actions."
 Sexual Violence Protocol, Possible Outcome section states: "Warning by a student conduct entity, normally in writing, is
intended to make the student aware of the possible consequences of his/her actions. This sanction may be considered with
prejudice by a student conduct entity in future action only when the Warning is presented to the student in writing. This
sanction shall be for any time period specified and shall remain a part of the student's record until graduation or termination
of his/her association with the University, at which time the notations shall be removed.


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216.    Pursuant to Student Code of Conduct49, Student Conduct Procedure sections X and XI, a
student can only be sanctioned if he was found responsible for having committed the misconduct.
217.    Per Policies, "Once the investigation is completed, the investigator will write a report of
the findings including 1) a summary of the facts 2) a finding of responsible or not responsible for
each alleged violation with a rationale using the More Likely Than Not standard ... "
218.    Instead in John's case the findings on John was that "there was insufficient evidence to
conclude that you engaged in behavior which violated the University's policies ... " The fmding
violated the binary option of "responsible" or "not responsible" and was intentionally effected in
violation to Protocol and Policies to engender a home remedy of punishment.
219.     Upon information and belief, UMASSD has never sanctioned a female student in either a
misconduct or Title IX proceeding after finding her not responsible for the misconduct, nor conducted
a sham Title IX investigation against a female student, nor changed the nature and scope of female
student's matriculated academic program after a finding of "not responsible" in any disciplinary
proceeding, nor maliciously disseminated confidential educational and misconduct records as part of
a Title Investigation against a female student.

"Appropriate Interventions" Issued by Cummings and Majewski
220.    John met with Steve Lorenz in early September 2016 to discuss his graduate program. Lorenz
told John that as a result of the investigation, John lost his thesis advisor John Buck, who refused to
return John's calls, emails and texts; that Lorenz could act only as his administrative advisor, and that
the school could now only offer him a non-thesis degree.
221.    John objected to any "appropriate intervention," that he had been found innocent of any
charges, and that he believed he was singled out because he a male student with a conviction. In
response Lorenz nearly quoted portions50 ofMajewski's letter signed August 30, 2016 in violation of
confidentiality procedures defined in Policies, FERP A, and Protocol.
222.    In implementing the appropriate intervention,' as directed by UMass Dartmouth executive
                                 4




authority, Lorenz informed John that he would be confmed to a work space beside Lorentz office,
that he was not to enter the work area of other students at nor use school assets at the AT&T building
where John prior had a work space and spent most of his time, and that he shouldn't engage and speak
to other students in the program.



49
  Students found responsible for unacceptable conduct will be subject to the complete range of sanctions and penalties
provided in the Student Conduct Policies and Procedures.

50References to getting too close to people during discussions, to "in your face behavior" and to overly personalized
content in discussions.

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223.    In recommending "appropriate intervention", Majewski and Cummings sanctioned John
further with loss of privilege51 and no contact52 with students at SMAST. John considered the
sanctions and changes in his program as mandated directives of UMASSD, and any noncompliance
would lead to new charges of code of conduct violations.
224.    Based on information and belief, Defendants never imposed "appropriate intervention" on a
female student found not responsible for misconduct but imposed such sanction on John because he
was a male student.

Consequences and Actions Subsequent to Title IX Investigation
225.    Buck, Michael Moore, James Miller and all of John's contacts at Duke Marine Lab ceased
future communications (until March 2019) with John following the appointment of the investigator
on May 4th, 2016.
226.    As a proximate result of the sham investigation and unauthorized disclosures by Cummings,
Majewski, and Gomes, and from the leaks of information in the Title IX investigation, no student
attempted to nor spoke to nor had any academic or personal interactions with John, and only Professor
Geoffrey Cowles, Miles Sundermyer, and Steven Lorenz had any discussion with John.

227.    In August 2016, John's emotional distress stemming from these matters resulted in panic attacks,
headaches, insomnia, grinding of teeth and excessive wear that caused two molars to crack in half requiring
removal, PTSD flashbacks and symptomology from wrongfully being prosecuted, extreme depression,
excessive alopecia, and his hair turned pure white.

228.    John enrolled in classes, in the Fall of 2016 but he was labelled and treated as an outcast, a
social pariah.
229.    Student Handbook and Sexual Violence Protocol's definitions of sexual harassment or sexual
violence remained vague. The nature and wording of the warning sanction was all encompassing,
leaving John a sense that any action he took or words he spoke could have been twisted and used
against him. John believed the policies and warning sanction as written would allow selective
enforcement and provide UMASSD another opportunity to attempt expelling him.




51 Loss of Privilege allows a student conduct entity to restrict the activity of the student while she is on the
University campus. The student may be prohibited from participating in non-academic or extra-curricular activities
and/or from visiting certain specified areas of the University campus and/or from coming into contact with specified
individuals while on campus. Loss of Privilege should be related to the offense, or serve to correct the result of the
offense, or compensate in some relevant way the offended party(ies).
52 No contact with a specific student, faculty, staff, or community ember, where all direct or indirect (via a third

party on his behalf and with his/her knowledge) verbal, physical, and electronic forms of contact are prohibited.


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230.       Given that UMASSD attempted to expel him for innocuous general behavior, inter alia
missing his children, the policies as written were grossly ambiguous, which oppressed and chilled his
speech that substantially interfered with John's educational performance and opportunity to benefit
from school services.
231.       Without interaction and communication with faculty and other students, John could neither
collaborate, seek guidance, nor benefit from his educational experience nor benefit from the
educational services of his program contracted with UMass Dartmouth.
232.       John withdrew from his Oceanography Policy class, because the class required classroom
deliberation with other students.
233.       John's depression became overwhelming with regard to energy depletion and the time
commitment with appointments to his psychologist and psychiatrist, which made it difficult to
maintain his workload. It was repeatedly recommended that John should become hospitalized for his
emotional distress. His depression worsened through December 2018 unabated.

234.       John completed classes that semester, but because his graduate program had been constructively
destroyed by capricious and malicious efforts ofUMASSD, and because of the psychological and emotional
trauma John suffered, he requested and received a Leave of Absence request with UMASSD based on
treatment provided between May 4, 2016 through December 2016 by a licensed psychologist Ph.D. John
continues to receive treatment for psychological and emotional trauma related to Defendants' conduct in
his home state of Rhode Island.

235.       John was constructively expelled by the actions of UMASSD, Gomes, Cummings and
Majewski, and as the result of being a male, he was excluded from participation in, and denied the
benefits of, and subjected to discrimination during his graduate education program, any education
program, or activity receiving Federal financial assistance.
236.       In John's despair he moved away from family and friends and lived in solitude for 8 months
ashamed of being exiled from UMass Dartmouth.
237.       In early March 2019, John spoke with Jane Doe and Salley Smith53 • Based on the questions
asked of John at his interview, they were possible alleged accusers.
238.        Salley Smith stated that she had not filed a formal complaint against John nor reported
concerns, but only responded to requests to specific questions from the "Title IX office" - questions
such as did "John" ever do anything to cause you to feel uncomfortable. Salley Smith was requested
to file a formal complaint which she refused.



53   Two female students, who will remain anonymous until needed in subsequent proceedings

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239.    Jane Doe was asked by "Title IX people" to explain her relationship with John and develop a
list of any actions by John that could have possibly made her uncomfortable. She told the Title IX
office people that she had nothing to tell them, nor was she interested in participating, that she wanted
to be left alone. Instead, Jane Doe was asked to file a formal complaint, but she refused.
240.    Both stated that neither of them, nor anyone they knew, who were interviewed (regarding the
Title IX investigation), filed a formal complaint nor reported John of misconduct. They were told
that they were being interviewed because an "admissions error had been made", there were safety
concerns from John's criminal past, and that UMASSD hoped to correct it through the Title IX.
241.    UMASSD Title IX officials intentionally asked alleged complainants, who were in fact not
complainants, to file bogus and false Title IX formal complaints against John to buttress UMASSD's
effort to expel John. At the time of these requests, Title IX officials knew that John's conduct could
not raise to the level of a finding of "responsibility." This effort served as biased retaliation against
John as part of his participation in a Title IX investigation.
242.    In March 2019, John also spoke with Professor Laela Sayigh, Ph.D., Michael Moore, Ph.D.,
and James Miller, Ph.D., who told him that Cummings told them that UMASSD (Cummings) and
stated that a Title IX investigation was being conducted regarding John, that because an "admissions
error had been made", that there were safety concerns from John's criminal past, that John lied on his
application regarding his convictions, and that UMass Dartmouth hoped to correct it.
243.    In early March 2019 John filed Freedom of Information Act requests with UMASSD54 •
UMASSD has denied same in violation ofMGL Ch 66, which implies cause for secrecy and bias.
244.    On March 26, 2019 John attempted to file a criminal complaint with UMASSD Police against
Majewski and Cummings; John had recently been advised that their coercive conduct on May 4, 2016
constituted extortion.     Illustrating the ubiquitous bias against John, in any matter concerning
UMASSD, Emil R. Fioravanti, Chief of Police - a sworn Mass Sate Police Officer - refused to take
John's statement, and recused his entire department from assisting John. Fioravanti justified his
inability to conduct a fair and impartial investigation against the officials because they were his


54 John sought inter alia: (1) A listing of all Title IX complaints investigated at UmassD, the nature of the complaint,
detailed by gender of complaint and accused, and the outcomes of same from 2012 to December 2017; (2) Any and all
documents related to the Title IX or misconduct investigation of John during the spring and summer of 2016 to include but
not limited to: interoffice emails and other communications between Cynthia Cummings, Deborah Majewski, Scott Webster
and Graduate Admissions Staff, David Gomes, Campus Security, the staff at School of Marine Science and Technology;
investigative reports/summaries/ and interviews, and any other documents thereby related; (3) Any communications or
documents related to Dept of Education OCR investigations from 2012 to December 2017; (4) All letters, documents and
communications related to TITLE IX procedures that changed as the response of the Dept of Education Dear Colleague
Letter of 2011, and policy created by Umass Dartmouth Employees therefrom including hiring or organizational changes
related to TITLE IX procedures since 2012, and (5) David Gomes', Cynthia Cummings' and Deborah Majewski's resume
and training records as an investigator related to Title IX investigation from Jan 2012 to September 2016 inclusive.


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colleagues. Upon infonnation and belief, UMASSD Police Dept. has never recused itself when a
female student or female citizen attempted to file a criminal complaint.
245.    On April 3, 2019, John received highly redacted police documents related to his enrollment
at and association with UMASSD. A UMASSD Police detective filed a report on May 17, 2016,
stating that a professor alleged that "somehow" John logged into his computer a few days prior, which
would have constituted a violation of John's "Do Not Trespass Notice," and other crimes. Chief
Fioravanti conducted an extensive and prosecutorial investigation, ordered the computer confiscated
for forensic evidence and provided it to Associate Director of Enterprise Systems.
246.    No evidence of John's presence on UMASSD or SMAST property existed, including but not
limited to the fact that: no student, faculty member or staff saw John enter SMAST or any UMASSD
property; building internal or external video surveillance failed to record his presence; John's swipe
card required for entrance to SMAST buildings failed to record his entrance; John did not have the
code to bypass the building's security upon entrance after hours; no evidence existed of forced
entering into the professors office, and no forensic computer evidence existed as to John's computer
trespass. John never stepped foot on UMASSD property from May 4 to early September 2016 unless
escorted by UMASSD Police to meet Majewski and Cummings.
247.    Despite !!! evidence of John's guilt - other than the implausible accusation that John
"somehow" logged onto a Professor's computer during a "No Trespass" period - Chief Fioravanti
hunted any potential evidence to warrant John's arrest and criminal prosecution. In glaring contrast,
Chief Fioravanti refused to even accept John's statement and recused his entire department in direct
violation of his oath to impartially uphold the laws of Massachusetts and the United States.
248.    Upon infonnation and belief, UMASSD emails and communication exist that indicate that
Cummings and/or Majewski concerted with the unnamed professor to falsely accuse John of a crime
that would engender his expulsion from school.
249.    Upon information and belief, UMASSD officials and UMASSD Police concerted to deny
John's ability to file a complaint against Majewski and Cummings.
250.    Cummings presently faces a scheduled magistrate's hearing on May 6, 2019 to adjudicate
whether probable cause exists to charge Cummings with criminal felony extortion (Mass G. L. c. 265,
Section 25) for her actions on May 4, 2016. Also upon knowledge and belief, Cummings is under
investigation by the Massachusetts Office of Attorney General, Criminal Division, for her actions
related to John.




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UMassD Committed Numerous Material Breaches of Its Contractual Obligations to John
Material Breaches Related to Protocol
251.    1st per Protocol officials can issue interim "restriction of communication with named
individuals." In John's case UMASSD and Cummings per his DNC restricted John's communication
with every single person associated with UMass Dartmouth during his interim restriction.
252.    2nd per Protocol, "Upon approval of the Title IX Coordinator, the investigator will present
his/her findings in writing via UMass Dartmouth email account to the reporting party, the respondent
and the Coordinator of Student Conduct and Dispute Resolution. Both will be asked to submit in
writing a response to the finding to the Coordinator of Student Conduct and Dispute Resolution." In
John's case, Gomes failed to present his findings via John's email account or whatsoever, orto anyone
else's email account. John was never afforded the opportunity to submit a written response to the
Coordinator of Student Conduct and Dispute Resolution.
253.    3n1 per Protocol, "The finding and written responses from the reporting party and respondent
will be reviewed by an administrative review panel of two faculty/staff. The administrative review
panel will make a decision whether to support to the finding of the investigation and if so, to determine
appropriate sanctions." In John's case neither fmding nor responses were reviewed by an
administrative panel. Nor did a panel decide whether to support to the finding nor determine sanctions.
254.   4 th per Protocol, "The administrative review panel will present their decision in writing to the
re.porting party and respondent via UMass Dartmouth email account. The decision letter will include
information about submitting an appeal. In John's case, John did not receive their decision in writing,
nor receive information about submitting an appeal. UMASSD violated its own procedures requiring
a 2-member panel to review the Special Investigator's findings and recommend to the final
decision maker whether to accept or reject the fmdings. Instead UMASSD allowed the fmal
decision maker to be the sole reviewer of the Special Examiner's findings, thereby eliminating a
layer of independent oversight that might have prevented John from suffering sanctions despite
being found not responsible of misconduct.
255.    5th per Protocol, "Both the reporting party and respondent may submit a letter of appeal within
5 business days of receiving the administrative review panel's decision to the Associate Vice
Chancellor for Student Affairs." In John's case, Majewski foreclosed his right to appeal.
256.    6th per Protocol, "All complaints of sexual violence will be investigated promptly, thoroughly
and impartially by a trained Title IX Investigator." In John's case the investigation was infected with
bias, partiality and with a forgone conclusion from the moment Cummings demanded John's
withdrawal on May 4 th • Per Protocol, "Equitable rights will be provided to both the reporting party



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and respondent throughout the investigation process." In John's case John's rights were repeatedly
sacrificed in favor of victim's rights.
257.      7th per Protocol, "Both the respondent and reporting party have a right to an advisor of their
choice throughout the process." In John's case was issued a DNC and denied his choice of advisor.
258.      8th per Protocol, "The respondent may request an assessment of interim restrictions with the
Associate Vice Chancellor of Student Affairs or designee." John was denied any opportunity to
request an assessment.

259.      9th per Protocol states reasonable efforts will be made to maintain the confidentiality of parties
involved in sexual assault investigations. In John's case, UMASSD directed SMAST staff to hold an all
hands meeting where they announced John was under investigation for a Title IX investigation for creating
a hostile learning environment, that he was suspended, that he had been issued a Do Not Trespass Notice,
and that he was directed not to speak to anyone associated with UMASSD. In publicizing John's
investigation, UMASSD grossly violated John's right to reasonable confidentiality. In addition in ensuring
"appropriate intervention" as a sanction, UMASSD distributed copies of the fmdings letter, in violation to
policy.

Material Breaches Related to Policies

260.      10th in conducting a witch hunt with a sua sponte investigation, UMASSD violated express and
implied covenants that UMass Dartmouth would not seek to reverse John's matriculation with a baseless
investigation for potential complainants that could assist UMASSD correct its admission decision.
261.      11 th per Policies, section VII, The Notification of Alleged Violation "shall include a request that
the student attend a Conduct Conference, to be held no sooner than three (3) consecutive business days
following date of the original notice." In John's case he was afforded 21 hours' notice following the
delivery confirmation to attend a Conduct Conference entitled "Meeting" in the subject section of the
email.
262.      12th Policies state: "At the Conduct Conference, the student has the opportunity to discuss the
incident, review any reports regarding the matter, and review her options for resolution of the complaint."
In John's case, on May 4th , he was refused his requests to review any reports regarding the matter, and
for that matter has never seen any documents related to his case except for the fmal fmding report.
263.      13 th under Policies, section IX, "The investigator will make all reasonable attempts to gather all
relevant information ... The accused student and the reporting party may submit questions to the
investigator to be asked of others who may be interviewed. In John's case he provided Gomes the names
of witnesses, who were never interviewed. John at no time was allowed nor offered the opportunity to
submit questions who to others who may be interviewed.

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264.     14th Policies section V states: "A student, party to a matter of student conduct, may elect to be
accompanied at all formal proceedings by an advisor of his choice. The advisor must be a member of
the faculty, staff or student body of the University except that legal counsel may accompany a student,
at the student's discretion, when a criminal charge arising from the matter is pending or is considered
likely." In John's case, he was denied his choice of advisor of John Buck; at no time was there ever concern
that this matter could possibly become criminal in nature.
265.      15th Per policies, section XII 55 , UMASSD subjected John to "emergency suspension immediately
upon conclusion of the Conduct Conference on May 4 th , even though by John's demonstrable conduct,
there was not the slightest indication that John was a danger to the student body of UMASSD
community, or intended to be disruptive in any form, especially given the specific innocuous nature
of the questions posed to John in his investigative interview.
266.     16th Because there was never an Administrative Review Panel, John never received a letter within
3 business days by the Director of Student Conduct and Dispute Resolution, and thereby John was never
offered the opportunity to appeal,56 regardless of the decision which included the explicit and implicit
sanctions of the decision.
267.     17th John requested a copy of the investigative file or report and all documents used in the
investigation57 • Majewski denied same, and John repeatedly has been denied a copy of the student conduct
records related to the Title IX and misconduct investigation of him. Additionally the records were
disseminated in violation to the stated policy.
268.     18th Policies guarantees the confidentiality of student disciplinary records; in John's case Majewski
and Cummings disseminated the information maliciously.
269.     19th , John was given a sanction of a warning despite being found not responsible. Additionally the
"appropriate intervention" mentioned increased additional sanctions of lossed privileges and of not to


55
   Handbook section XII states: In cases ofdiscipline arisingfrom extraordinary or emergency conditions, the Chancellor
or his/her designee may invoke the action ofinterim suspension ofa student ... who act, or refuse to act, ifthe result of
said conduct is to inteifere with the rights ofothers and is non-peaceful or is disruptive or said conduct constitutes a
clear and present danger to the health, safety, or property ofothers.
56 Student Conduct Procedures, Section IX states: Following the review of the findings by the Administrative Review
Panel, the accused student, the reporting party, and anyone victimized in this incident will be sent a decision letter
within 3 business days by the Director ofStudent Conduct and Dispute Resolution or designee. The accused student
and in case of violence and/or sexual violence, the presenting party, and anyone victimized may accept the decision
or submit an appeal if they feel that they can meet grounds for appeal as outlined in the appeal process.

57
   Student Conduct Records section explicitly states: "The Office ofStudent Affairs shall maintain the following
records pertaining to each disciplinary case: The original complaint; All documents, co"espondence, forms, statements,
etc., pertaining to the matter, and a record ofthe decision including any finding. sanction, and any action recommended
or taken. All case records and materials pertaining to a student conduct proceeding shall be kept secure away from
public view. Except where confidentiality is farther restricted by law, access to such case records or materials shall be
limited to the accused student, and Administrative Officers ofthe University having direct involvement with the case. "


                                                                                                                       47
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contact nearly everyone at SMAST. In sanctioning John after a finding him not responsible, UMASSD
violated its Student Code of Conduct' 8, sections X and XI, which state a student can only be sanctioned if
he was found responsible for having committed the allegations against him.
270.    20th , UMass Dartmouth FERPA policy strictly prohibits unauthorized release or sharing of student
educational records. The policy states that university officials with an education purpose can access
records, but once they have the information, they cannot share that information with a third party who did
not (if they had authority to access), or worse could not access the information themselves. Cummings and
Majeski violated John's right of confidentiality when they promulgated the letter of May 4 th and August
30th and verbally discussed his academic records with unauthorized personnel.
271.    21 st , John matriculated in the Master's Thesis Program, but after the Title IX proceeding UMASSD
amended his offering to a Master's Non-thesis degree without his consent.

                                             CAUSES OF ACTION

                                                    COUNTI
         Violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, et seq.
                                           As to Defendant UMASSD
272.    John incorporates by reference each of the above paragraphs as if fully set forth herein.
273.    Title IX prohibits discrimination based on sex in education programs and activities receiving
Federal financial assistance. 20 U.S.C. § 1681, et seq. "Discrimination" means "differential treatment" or
"less favorable treatment." Jackson v. Birmingham Bd ofEduc., 544 U.S. 167, 174-75 (2005).
274.    Title IX applies to all public and private educational institutions that receive federal funds,
including colleges and universities. UMass Dartmouth is a recipient of federal funds and, therefore, is
bound by Title IX and its regulations.
275.    Because Title IX prohibits (under covered circumstances) subjecting a person to discrimination on
account of sex, it is understood to 'bar the imposition of university discipline where gender is a motivating
factor in the decision to discipline.'
276.    Students attending public universities such as UMass Dartmouth, who have been accused of sexual
misconduct, have a right to due process under Title IX. See U.S. Dep't of Education, Office for Civil
Rights, Revised Sexual Harassment Guidance: Harassment of Students by School Employees, Other
Students, or Third Parties -- Title IX (2001) at 22 (the "2001 OCR Guidance"); April 2011 Dear Colleague
Letter at 12.


58
   Students found responsible for unacceptable conduct will be subject to the complete range of sanctions and
penalties provided in the Student Conduct Policies and Procedures.


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277.     Both the Department of Education and the Department of Justice have promulgated regulations
under Title      IX    that     require     a      school    to    "adopt      and     publish       grievance
procedures providing for the prompt and equitable resolution of student...       complaints      alleging   any
action which would be prohibited by" Title IX or regulations thereunder. 34 C.F.R. § 106.8(b) (Dep't
of Education); 28 C.F.R. § 54.135(b) (Dep't of Justice) (emphasis added). Such prohibited actions include
all forms of sexual harassment, including sexual intercourse, sexual assault, and rape.
278. The ''prompt and equitable" procedures that a school must implement include, at a minimum:
         i. ''Notice ... of the procedure, including where complaints may be filed";
        ii. "Application of the procedure to complaints alleging [sexual] harassment...";
       iii. "Adequate, reliable, and impartial investigation of complaints, including the opportunity to
            present witnesses and other evidence";
       iv. "Designated and reasonably prompt timeframes for the major stages of the complaint process";
            and
        v. ''Notice to the parties of the outcome of the complaint. .. .id at 20

279. Title IX Coordinators should not have a conflict of interest. "For example, serving as Title IX
coordinator and a disciplinary hearing board member may create a conflict of interest." April 2011 Dear
Colleague Letter at 7; August 2015 Dear Colleague Letter at 2-3.
280.     A school also has an obligation under Title IX to ensure that all employees involved in the
investigation and adjudication process have "adequate training as to what conduct constitutes sexual
harassment, which includes 'alleged sexual assaults."'
281. A complaint under Title IX, alleging that John was subjected to discrimination on account of sex in
the imposition of university discipline, is sufficient with respect to the element of discriminatory intent,
like a complaint under Title VII, if it pleads specific facts that support a minimal plausible inference of
such discrimination. Education Amendments of 1972 § 901, 20 U.S.C.A. § 1681(a); Civil Rights Act of
1964, § 701 et seq., 42 U.S.C.A. § 2000e et seq.
       TITLE IX VIOLATIONS-ERRONEOUS OUTCOME AS TO DEFENDANT UMASSD
282. John incorporates by reference each of the above paragraphs as if fully set forth herein.
283. To make an adequate erroneous outcome claim, John must allege (1) facts sufficient to cast some
articulable doubt on the accuracy of the outcome of the disciplinary proceeding and (2) a particularized
causal connection between the flawed outcome and gender bias. John may show the first element,
articulable doubt, by: (1) alleging particular evidentimy weaknesses behind the finding of an offense such
as a motive to lie on the part of a complainant or witnesses; (2) particularized strengths of the defense; or
(3) alleging particular procedural flaws affecting the proof. Yusuf, 35 F.3d at 715. Norris v. Univ. of Colo.,
Boulder, Civil Case No. 1: l 8-cv-02243-LTB, at *15 (D. Colo. Feb. 21, 2019).
284.     In order to survive a motion to dismiss on this claim, John must also allege facts showing "a
'particularized ... causal connection between the flawed outcome and gender bias."' Cummins, 662 F.

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App'x at 452 (quoting Yusuf, 35 F.3d at 715). "Such allegations might include, inter alia, statements
by members of the disciplinary tribunal, statements by pertinent university officials, or patterns of
decision-making that also tend to show the influence of gender." Yusuf, 35 F.3d at 715.
285. UMass Dartmouth discriminated against John and deprived him of the benefits of its education
program on the basis of sex through its discriminatory, gender-biased Policies and Title IX Protocol, which
intentionally subject male students like John to "less favorable" treatment than their female accusers.
286. John was found "not responsible," but conclusions that caused him to receive a warning sanction
and 'appropriate intervention' were erroneous and contrary to the weight of the evidence with gender bias
as a motivating factor.
287. Particular circumstances suggest that gender bias was a motivating factor behind the erroneous
findings and the decision to impose sanctions upon John, despite a finding of 'not responsible.' These
circumstances include, without limitation:

      i. Beginning in 2014 and through the time when supposed complaints were investigated, UMASSD
         was subject to immense federal local and campus pressures to take measures to protect female
         victims of sexual assault, adopt a trauma-informed approach to investigating sexual misconduct
         complaints; tip the procedure in favor of women and against men and issue more severe sanctions
         to those found responsible and not responsible for sexual misconduct.
         Such pressure included the previous OCR investigations, student outcry regarding comp Hance
         with the White House's Not Alone report, and the Public announcement of the OCR was
         investigating UMASSD for non-compliance with Title IX.
      ii. UMass Dartmouth faced stinging media criticism for handling of female students' sexual
          complaints and highlighted the pressure from OCR's investigation of UMass Dartmouth and the
          potential consequences of lost Federal funding. 59
     iii. In response to the pressure from OCR investigations, university officials, specifically David
          Milstone, John Hoey, and Interim Chancellor Helm were sensitive to and acknowledged the
          pressure from OCR, and committed to meeting the demands of the Dept. of Education's DCL60 •
          UMass Dartmouth responded to the pressures with organizational and procedural changes to offer
          the perception of compliance with OCR and meet the demands of media and students.
     iv. Newly appointed Interim Chancellor Helm suffered great pressure to satisfy pressures of OCR past
          and future potential investigations into Title IX compliance as directed in DCL.
      v. University officials responded to media complaints of UMass Dartmouth, to the inadequate
          handling of female complaints, by agreeing with the complaining female students and labelling

59
   "While victims' advocates are heartened by colleges' efforts to educate students on rights and accurately report
incidents, many say campuses should take more action." ... "_"encouraged by the policy changes but that those changes
need to be accompanied by action, such as campus officials issuing no-contact orders against perpetrators."
60
   "UMass Dartmouth officials said they're not taking the investigation lightly ... " "It's an important issue. We're going to
do what we need to do to comply with the request," said David Milstone, UMass Dartmouth's Vice Chancellor for Student
Affairs. "We're obviously going to do our best to strengthen our program." "Over the past several years, we have been
proactive in enhancing our response to Title IX issues, and will approach this inquiry as an opportunity to further strengthen
our policies and practices,"

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           males as predators .. David Milstone, UMass Dartmouth's Vice Chancellor for Student Affairs, who
           has ultimate appeal authority in disciplinary matters, and John Hoey, Associate Vice Chancellor for
           Public Affairs, espoused specific indications of male bias in Title IX procedures: Both claimed that
           sexual assaults against females were under-reported implying that the school must explore increase
           in prosecutions of male students. 61 Milstone specifically excluded the possibility that male students
           could be included as victims in the statistic of 11 sexual assaults, thereby implying all perpetrators
           are males. 62 After he implied that only women were victims, he claims women victims must be
           protected, and the student community must be protected from the male perpetrator. 63 Supporting
           (female) victims equates to the assumption that female accusers speak truthfully and male
           perpetrators are presumed guilty, which is inconsistent with a fair and impartial investigation. 64 By
           Milstone's automatically placing every male perpetrator on suspension, the school inherently places
           every male student at a disadvantage in the investigation proceedings over the female student, and
           violates specific directives under Policies, which states that interim suspensions should only occur
           under emergency conditions. 65
       v1. UMass Dartmouth acquiesced to federal government pressures to take a hard stance on sexual
           assault on campus and limit procedural protections, when in August 2015, UMASSD changed their
           Title IX investigation procedures in line with protocols detailed in the DCL, which severely
           restricted due process rights of predominately male students.
     vii. UMass Dartmouth's decision-makers and its investigator were motivated to favor the accusing
           female over the accused male, so as to protect themselves and the University from accusations
           that they had failed to protect female students from sexual assault. UMASSD had taken this
           position because it was "heavily invested in protecting female accusers," "to avoid further
           scrutiny from OCR," and because it was "afraid of a further investigation from OCR and/or a
           Title IX lawsuit from DOJ."
     viii. UMass Dartmouth's policies and procedures are based on unfair and archaic gender stereotypes and
           assumptions that female complainants are invariably fragile "victims" and "survivors" deserving of
           support regardless of their credibility or the veracity of their claims, and accused male students are
           "hegemonic male[s]" prone to violence who are not deserving of comparable support.



61
   "UMass Dartmouth averages about four reported cases each year" ... ''based on what we know about sexual
violence," there is a discrepancy between the number of incidents of sexual violence that actually happen on
campuses versus those that ultimately get reported ... John Hoey stated, "sexual assaul~ including those occurring on
college campuses, is still under-reported by victims."
62
   ''Take the University of Massachusetts Dartmouth as an example. According to the U.S. Department of Education's
Office of Postsecondary Education, the number of sexual assaults reported by students between 2010-12 was 11. But
David Milstone ... said he would guess if aU crimes against women were reported, the nwnber could be closer to 200
over the same span.
63
   "Any time there is a complaint... , we have two responsibilities. One is to ensure safety of (implied female) victim. The
other is to make sure the community has a separation from the alleged (implied male) perpetrator in this case,"
64
   In Dartmouth, Milstone called the changes "an incredibly positive thing." Milstone said, ''In most of the cases that have
been brought forward, perpetrators have been found responsible and separated from campus. Research shows victims very
seldom file a false claim. Why would somebody put themselves through that?"" So it's up to colleges to provide options
and let survivors know, 'You 're not alone. This shouldn't have happened."' John Hoey stated, "sexual assaul~ including
those occurring on college campuses, is still under-reported by victims."
65
   ''The first thing we do when we get a report, we let the person who's accused know and put them on interim suspension
status immediately so we can investigate"

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  ix. Pursuant to UMASSD custom in matters related to Title IX investigations, and in violation to
      Protocol and Policies, all male perpetrators, including John was automatically banned and issued
      an interim suspension without evaluation as to the merits of same.
   x. Upon information and belief UMass Dartmouth treats female complainants differently than male
      respondents based on its outdated attitudes about females and overbroad generalizations and
      stereotypes about male and female sexual traits and behaviors - i.e., male students are perceived as
      aggressors and perpetrators and female students are perceived as victims and survivors.
  xi. Throughout the proceeding UMass Dartmouth was on notice of, and remained deliberately
      indifferent to, the serious flaws in the investigation, the lack of equity and fairness, and the gender
      bias that infuses the process.
   xii. Upon information and belief Investigator Gomes received "trauma-informed investigation" training
        which perpetuated the idea that female victims of sexual assault and harassment should never be
        questioned, that trauma excuses all memory lapses and credibility issues and that complainants
        always tell the truth. This approach caused Gomes to overlook profound inconsistencies regrading
        motive and caused him to ignore victim(s) motive to prevaricate and to fabricate credibility issues
        in any victims account.
  xiii. Investigator Gomes was not an independent investigator inasmuch as he worked for and was
        dependent on Majewski and Cummings for future professional advancement and his performance
        reviews. Investigator Gomes failed to discover victim(s) motive to prevaricate, i.e. fabricate to
        protect themselves from the misconduct charges of an academic cheating scandal.
  xiv. Majewski has a conflict of interest in her role because part of her responsibilities as Associate Vice
        Chancellor, Title IX Coordinator, ADA and 504 Coordinator, Office of Diversity, Equity and
        Inclusion was to ensure UMASSD compliance with Title IX, and filed reports with the Chancellor
        ensuring overall compliance with OCR directives.
   xv. Majewski has a further conflict of interest in that she aided and abetted Cummings' extortion of
        John in her office on May 4 th when both attempted to coerce John into withdrawing or face
        destruction of his reputation and publicly be accused of a crime. Majewski illustrated her conflict
        in refusing to provide John details of the allegations which precluded John from receiving an
        impartial investigation and opportunity to be heard.
  xvi. UMASSD grossly violated John's protected confidentiality on three different occasions as an effort
        to blight his reputation in the midst of the investigation while supposed victims privacy was secured.
 xvii. UMASSD presumed John guilty from the outset when it prepared and signed a letter for an imposed
        interim suspension, prior to meeting or speaking with him, which precluded him from attending
        classes or participate in UMASSD activities, legally banned him from UMASSD property, and
        issued a John a DNC denying his ability to communicate with all persons associated with
        UMASSD, whereas victims were allowed to discuss the matter with whomever without punishment.
xviii. Upon information and belief, males invariably lose when charged with sexual harassment at UMass
        Dartmouth and when found "not responsible" male students still suffer some type of sanction
        proscribed by school policy.
  xix. UMASSD officials presumed John guilty from the outset when it decided to pursue an investigation
        against him after it could not compel his resignation through extortion. Majewski and Cummings
        directed an investigation calculated to lead to the foregone conclusion that John was guilty of the
        misconduct alleged.


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   xx. Majewski and Cummings utilized intimidation tactics and the threat of additional institutional
       action against both John and other students to prevent them from speaking with each other, speaking
       with potential witnesses, or speaking about this matter in any capacity, thus depriving John of a full
       and fair opportunity to defend himself.
  xx1. UMASSD officials refused to conduct an equitable investigation based on John's complaints of
       academic misconduct, ageism discrimination, and sexual harassment; meanwhile UMASSD
       encouraged supposed victims to file false Title IX complaints related to John.
  xxii. Organizationally Cummings is directly subordinate to David Milstone, who espoused his male bias
        regarding Title IX above. Cummings male bias is indicated by (1) her history in placing a bounty
        on a male perpetrator's head; (2) in refusing to adhere to the very requirements she made for male
        student's return at UD; (3) in her lifetime advocations for female causes at the exclusion of and in
        opposition to male interests; (4) in demanding John's withdrawal from school then stating she
        would get "his kind" in a Title IX investigation; (5) in threatening a retaliation claim against John
        instead of looking into his complaints, which he stated at the Conduct Conference; (6) in
        participating in John's sanction after he was found ''not responsible;" (7) in encouraging supposed
        complainants to file false Title IX complaints; (8) in using the Title IX process for the purpose of
        correcting a supposed admissions error; (9) in improperly using John's educational record to
        defame him, ( 10) in maliciously defaming him and purposely interfering with educational
        opportunities outside ofUMass Dartmouth, (11) in "serving as the University's public voice against
        sexual assault" and (12) as stated publicly supporting women's advocacy groups during the
        timeframe in which accusations of John were investigated.
 xxiii. UMASSD deprived John of a meaningful opportunity to be heard when it refused to provide him a
        factual basis to the allegations of sexual harassment, or the identities of his accusers.
 xxiv. UMASSD deprived John the opportunity to an impartial adjudication and opportunity to be heard
        when he was never provided a copy of the investigator's file nor was allowed to view any evidence
        used to consider his guilt or innocence; he was not allowed to ask or send victim(s) questions;
  xxv. UMASSD did not attempt to contact or interview witnesses identified interviewed by John whereas
        all female students who attended John's classes were questioned as to John's potential behavior to
        cause a hostile learning environment.
 xxvi. UMASSD showed bias against John by failing to follow disciplinary proceedings of both Protocol
       and Policies, and instead used the procedures of either that benefitted the investigation at the
       sacrifice of John's due process rights designed to protect accused students; such actions caused John
       disadvantages in disciplinary proceedings as compared to the alleged victim(s).
 xxvii. UMASSD initiated and conducted an investigation informed by archaic stereotypes and innate
        biases that a male with any conviction, including John, is predisposed to be aggressive, violent and
        hypennasculine, and deserves assumption of guilt despite no evidence.
xxvm. UMASSD sanctioned John despite a finding of not responsible, which is contrary to Policies and
        Protocol or any sense of fairness at proceeding conclusion. Meanwhile any/all supposed victims
        were allowed to proceed without restraint or imposition to their academic programs.
  xxix. In April of 2015 and 2016 UM ass Dartmouth sponsored a student created hysteria around the issue
         of male rape culture, sexual assault and sexual harassment. Leading up to and at the precise time
         of John's alleged harassment of students, UMass Dartmouth faced substantial criticism for


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         allegedly looking the other way when female students complained of sexual assault as well as not
         actively prosecuting alleged male perpetrators.
 xxx.    UMASSD officials and UMASSD Police displayed bias against John, a male student previously
         convicted of a crime, in both knowingly and falsely accusing John of a crime and investigating
         bogus allegations against John, while refusing to even consider accepting John's statement related
         to potential criminal charges against University officials.

288.    Given the fact that John was found not responsible - despite Cummings' s and Majewski' s biases in
predetermining John's guilt - illustrates the illegitimacy of the investigation and of the process used in the
witch-hunt to find some complaint worthy of John's expulsion.
289. As a direct and proximate cause of the above conduct, John sustained damages including, without
limitation, emotional distress, physical and psychological damages, loss of educational and career
opportunities, reputational damages, economic injuries and other direct and consequential damages.
                      TITLE IX VIOLATION - SELECTIVE ENFORCEMENT
                                        As to Defendant UMASSD
290.    John incorporates by reference each of the above paragraphs as if fully set forth herein.
291. As described above, the Title IX selective enforcement theory asserts that, regardless of the student's
guilt or innocence, the severity of the penalty and/or decision to initiate the proceeding was affected by the
student's gender.
292. As detailed herein, UMASSD violated Title IX's prohibition against selectively enforcing its policies
on the basis of gender.
293. John has shown that a similarly-situated member of the opposite sex, in this case the unnamed victims
and other female students facing disciplinary action or Title IX were treated more favorably than John due
to his gender.
294. The foregoing, and the following show inferences of gender bias related to selective reinforcement,
including without limitation the following:
   a. Upon information and belief, No female student - found not responsible - has ever been sanctioned
      or received negative consequences related to an investigation. In John's case sanctions issued after
      a finding of not responsible denied him access to and enjoyment of his educational contract with
      UMass Dartmouth.
   b. UMASSD protected victims' confidentiality but publicized John's confidential information.
   c. UMASSD has never conducted a sham investigation on a female student to correct an admissions
      error or remove her for a matter unrelated to the Title IX purpose.
   d. Female students are not automatically issued an interim suspension with a "Do Not Trespass
      Notice" and universal DNC.
   e. John was denied his advisor of his choice and forced to retain private counsel, whereas female
      victims were granted the opportunity to choose their advisor.
   f. In contrast to female student witnesses, John's witnesses were never interviewed.
   g. John was warned that any complaint filed by him would face a retaliation misconduct charge,
      whereas, female students were intentionally encouraged to file false allegations against John.

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295. University's conduct is so severe, pervasive, and objectively offensive that it is denying John equal
access to education that Title IX is designed to protect.
296. Upon information and belief, internal emails exist, which predetermined that John was guilty of
some misconduct, and given the depth of an investigation the misconduct could be identified.
297. Upon information and belief, UMASSD possesses communications and documents evidencing a
predisposition to favor female students accused of Title IX violations.
298. Upon information and belief, Defendant UMASSD's mishandling of supposed victim's Spring 2016
allegation was informed by institutional, media and student pressures as well as external pressure from the
U.S. Department of Education, under the threat of rescission of federal funds.
299. Based on the foregoing, John was subjected to a biased, prejudiced and unfair process in violation
of Title IX designed to find him, the male responsible for sexual misconduct and punished severely.
300. As a direct and proximate cause of the above conduct, John sustained damages including, without
limitation, emotional distress, physical and psychological damages, loss of educational and career
opportunities, reputational damages, economic injuries and other direct and consequential damages.
       TITLE IX VIOLATION -DELIBERATE INDIFFERENCE/ HOSTILE ENVIRONMENT
                                        As to Defendant UMASSD
301.    Though deliberate indifference claims usually relate to sexual harassment, Courts have allowed
claims of harassment based on gender discrimination in Title IX disciplinary actions.
302.     John incorporates by reference each of the above paragraphs as if fully set forth herein.
303.    The harassment of John in the disciplinary process - outside the scope of normal reasonable
disciplinary procedures - was so severe, pervasive or objectively offensive that it could be said to deprive
John of access to the educational opportunities or benefits provided by the school.
304.    John was intentionally subjected to unfounded allegations and an unfair process due in part to OCR
and his status as a male student with a criminal history.
305.    UMASSD had actual notice of the harassment. John filed multiple complaints with UMASSD
officials claiming the investigation was instituted solely because he was a male student with a criminal
conviction.
306.    UMASSD was deliberately indifferent to the harassment. Not only was UMASSD indifferent but
since May 4 th , when Cummings' and Majewski's efforts ranged from attempting to extort John into
withdrawing, to the repeated defamations, to the "all-hands meeting" at SMAST, to John's punitive interim
suspension, to false criminal allegations by UMASSD, to John's final sanctions despite a fmding of not
responsible, UMASSD increased its pressure to compel John's withdrawal from school by creating a hostile




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learning environment with 'reasonable intervention' whereby no reasonable person could endure the
ongoing pervasive environment, which denied John's ability to pursue his academic career.
307.    Plaintiff's educational experience was "permeated with discriminatory intimidation, ridicule, and
insult that is sufficiently severe or pervasive [so as] to alter the conditions of the victim's" educational
environment
308. As a direct and proximate cause of the above conduct, John sustained damages including, without
limitation, emotional distress, physical and psychological damages, loss of educational and career
opportunities, reputational damages, economic injuries and other direct and consequential damages.
309.    As a result of UMASSD's violations of Title IX, which resulted in an unduly severe and
unwarranted sanction, which continues to injure John's reputation and right to continue his education, an
injunction should issue directing UMASSD to ( 1) reverse the outcome and findings regarding the
complaint; (2) expunge John's disciplinary record; (3) remove any negative sanction or action in John's
education record; (4) permanently destroy any record related to the complaint against John; and (5) allow
John to return to UMASSD at a time of his choosing in order to complete the remaining credits remaining
for receiving his degree without the imposition of any conditions for readmission to the university.
310.   As a result of the foregoing, John is entitled to damages in the amount to be determined at trial plus
prejudgment interest, attorneys fees, expenses, costs and disbursements.
                                                COUNT II
                  42 U.S.C. § 1983 Title IX: Retaliation for Opposing Title IX Process
       (ALL DEFENDANTS in Individual and Official Capacities pursuant to Ex Parte Young)
311. John incorporates the allegations contained in the foregoing paragraphs as though fully set forth herein
in their entirety without duplication.
312. A private right of action exists to remedy retaliation against an individual who complains about sex
discrimination under Title IX.
313. Title IX contains broad language prohibiting a funding recipient from intentionally subjecting any
person to "discrimination" "on the basis of sex."
314. Retaliation is, by definition, an intentional act and a form of"discrimination" because the complainant
is subjected to differential treatment "on the basis of sex" in response to having made an allegation of sex
discrimination.
315. John has the burden of proving a prima facie case of retaliation, including that 1) John engaged in
protected activity; 2) defendant knew John engaged in protected activity; 3) John was subjected to a
materially adverse action, and 4) a causal connection exists between the protected activity and adverse
action. Wade v. Knoxville Utilities Bd., 259 F.3d 452,463 (6th Cir. 2001).



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316. John engaged in the protected activity of participating in and protesting a Title IX investigation,
during which he asserted multiple complaints regarding the unfairness ofUMASSD's prosecution of John
because of his gender.
317. Specifically on May 4 th , July 15th, August 30th , and circa September 7th John complained that the Title
IX investigation was initiated and conducted solely to pressure John into withdrawing because he was a
male student with a felony conviction.
318. On May 4th John complained regarding being issued a Do Not Trespass Notice, a DNC directive and
being suspended unnecessarily. Additionally through his attorney, John complained that he was being
denied basic fairness and his due process rights in the prosecution of the Title IX investigation because of
his gender.
319. On August 30, 2016 and circa September 7, 2016, John protested the issued unwarranted sanctions
related to the Title IX investigation, stating that having been found not responsible for any misconduct, he
should not be restricted or denied benefits or services related to his academic program. Additionally he
complained regarding losing his advisor resulting from the Title IX investigation.
320. Defendants knew John was engaged in protected activity since Defendants conducted the Title IX
investigation of John, and school officials received the complaints regarding John's belief that it was a
witch hunt to compel him to withdraw solely because he was a male student with a conviction.
321. UMASSD and individual Defendants thereafter subjected John to adverse action, treatment or
conditions because of his complaints of sexual discrimination regarding Title IX procedures. John suffered
multiple "material adverse actions" subsequent to his complaints regarding sexual discrimination in the
implementation of Protocol against him including, without limitation, the following:
      i.    John was forced to sign a "Do Not Trespass Notice" denying him access to UMass Dartmouth
            under penalty of criminal arrest.
     ii.    John's property was unlawfully seized at SMAST AT&T building inasmuch as he was denied
            an opportunity to retrieve his property on May 4 th and the property was never returned to him.
    111.    UMASSD issued John an interim suspension from UMass Dartmouth from May 4 th to August
            30. th
    iv.     UMASSD issued John a "do not contact" directive on May 4 th , denying him communication with
            all persons associated with UMASSD.
     v.     UMASSD repeatedly and intentionally violated John's confidentiality of his educational and
            disciplinary records protected under FERPA, Policy and Protocol, in an attempted smear
            campaign, causing him to suffer a hostile learning environment, and causing him to receive
            treatment as a pariah precluding any opportunity for research collaboration.
    vi.     UMASSD defamed John to outside Universities, which destroyed his ability to corroborate with
            scientists at those locations.
   vii.     UMASSD sanctioned John and instituted "appropriate intervention" with SMAST staff, which
            denied John benefit from his educational contract with UMASSD, even though John was found
            not responsible for the alleged misconduct.

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  viii.     John's graduate advisor - John Buck - withdrew without reason nor explanation connected to
            John's Title IX investigation.
    ix.     John's academic program was downgraded to a non-thesis Master's.

322. Though Defendants actions do not constitute typical sexual harassment under hostile environment or
deliberate indifferent claims of Title IX violations, the actions of Defendants actions served to harass John
because of his gender.
323. The harassing conduct of Defendants created a hostile environment sufficiently serious that it
interfered with or limited John's ability to participate in or benefit from his graduate school program. In
UMASSD's retaliation, it purposely created a hostile learning environment so severe and perverse that
neither John nor a reasonable person could expect to endure under the circumstances, which constructively
expelled John, compelling him to seek a leave of absence.
324. UMASSD had actual knowledge of the harassment based on John's gender since they conducted the
investigation, received notice of complaints, and instigated the continuous harassing actions that interfered
with and altered John's graduate program.
325. UMASSD was deliberately indifferent or failed to take adequate remedial action; instead UMASSD
increased pressure to compel John to withdraw from his graduate program.
326. The "materially adverse actions" or retaliatory actions were motivated in all or in part by John's
speech to remedy the baseless investigation and failures to comply with state and federal law, including but
not limited to, John's reports of individual harassment in UMASSD's attempt to compel him to withdraw
from school using Title IX procedures - solely because he was a male student with a felony conviction.
327. Retaliatory actions were causally related to the protected activity in time with no delay, substance,
purpose, and the foregoing malice shown John by UMASSD and its agents.
328. Based on the foregoing UMASSD intentionally and maliciously retaliated against John in response
to his engaging in protected activity under Title IX, which caused John approximate damages.
329. John's academic and career prospects, earning potential, and reputation have been severely harmed.
He has sustained significant damages, including but not limited to, damages to physical well-being,
emotional and psychological damages, damages to reputation, past and future economic losses, loss of
educational and professional opportunities, loss of future career prospects, and other direct and
consequential damages .
330. As a result of the foregoing, John is entitled to recover damages in an amount to be determined at
trial, plus prejudgment interest and attorneys' fees and costs.




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                                                            COUNT III
                  42 U.S.C. § 1983 - Denial of Due Process Under Fourteenth Amendment
    (ALL DEFENDANTS in their Individual and Official Capacities pursuant to Ex Parte Young)

331.      John incorporates the allegations contained in the foregoing paragraphs as though fully set forth
herein in their entirety without duplication.
332.      Defendants violated Plaintiff's rights under the Due Process Clause and the Equal Protection Clause
of the Fourteenth Amendment.
333.      The Due Process Clause of Fourteenth Amendment provides that a state shall not "deprive any
person of life, liberty, or property, without due process oflaw." U.S. Const. amend. XIV,§ 1. Questions of
due process are considered using two steps: (1) whether there exists a liberty or property interest which has
been interfered with by the state; and (2) "whether the procedures attendant upon that deprivation were
constitutionally sufficient." A similar right is stated in the Fifth Amendment to the U.S. Constitution.
  334. Section 1983 of Title 42 of the U.S. Code provides in pertinent part:
          Every person who, under color of any statute, ordinance, regulation or custom, or usage, of any
          State or Territory or the District of Columbia, subjects, or causes to be subjected, any citizen
          of the United States or other person within the jurisdiction thereof to the deprivation of any
          rights, privileges, or immunities secured by the Constitution and laws, shall be liable to the
          party injured in an action at law, suit in equity, or other proper proceeding for redress ...

 335. Pursuant to the Fourteenth Amendment to the United States Constitution, John enjoyed a
 property interest in his contractual status as a student at the UMASSD66 and in his pursuit of the education
free of arbitrary and bad faith restrictions thereon that he had undertaken to receive, as well as a liberty and
property interest in his reputation.
 336. A person has a protected liberty and property interest in his good name, reputation, honor, and
integrity, of which he cannot be deprived without due process.
 337. Prior to his discipline, John was a student in good standing at UMass Dartmouth. His
constitutionally protected liberty and property interest in his continued enrollment and good standing at
UMass Dartmouth and to be free from arbitrary discipline and reputational harm arises from the policies,
courses of conduct, practices and understandings, established by UMass Dartmouth.
 338. John's constitutionally protected property interest further arises from the express and implied
contractual relationship between UMass Dartmouth and John. A student who has been admitted to a



66 Gonnan v. Univ. of RI., 837 F.2d 7, 12 (1st Cir. 1988) (stating "a student's interest in pursuing an education is included within the
fourteenth amendment's protection ofliberty and property')



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university, and who has paid tuition to that university, has a protected property interest in continuing his
education at that university until he has completed his course of study.
 339. Pursuant to the Fourteenth Amendment, John also enjoyed a right to equal protection of the laws,
i,e, to be treated like all persons to whom he is similarly situated.
 340.        Consequently, when John faced disciplinary action that included the possibility of suspension or
dismissal if found responsible, then UMass Dartmouth was required to provide him with Due Process as
established by the Fourteenth Amendment to the United States Constitution and Massachusetts law.
341.         Chancellor Helm was UMASSD's official charged with ensuring that student education records,
including transcripts, are disclosed to third-party requesters. Upon information and belief, Chancellor Helm
was also the UMASSD official responsible for the conferral of degrees to UMASSD students. Chancellor
Helm was responsible for implementing the Student Conduct Code and Title IX Policies and Procedures at
issue in John's case.
342.         Chancellor Helm was responsible for ensuring compliance with Title IX procedures as it was
required under OCR's investigations, and spoke regularly with Majewski and Cummings with regard to the
climate of the campus and on Title IX matters, including the matter of John.
 343.        In the course of UMass Dartmouth's investigation and adjudication, it flagrantly violated clearly
established rights under the Due Process clause of the Fourteenth Amendment through its repeated acts of
a gender biased tribunal and process that deprived John of the minimal requirements of procedural fairness
by, without limitation:

        i.     On May 4 th John was issued a "Do Not Trespass Notice without providing him a meaningful
               hearing or adequate notice nor establishing that he constituted an "imminent threat" that would
               warrant such an interim restriction;
       ii.     On May 4 th John was directed not to speak to anyone associated with UMass Dartmouth
               precluding an opportunity to be heard and defend himself;
    iii.       John was given inadequate notice; On May 4 th John was required to attend a Conduct Conference
               within 21 hours of receiving the Notice of Investigation or conclusions would be drawn.
    iv.        Gomes, Majewski, and Walker failed to question victim(s) credibility and motivations to
               prevaricate regarding a graduate course cheating scandal reported by John;
       v.      Defendants failed to provide John with notice of the charges before the interview with Gomes in
               violation of due process and Protocol 2015.
    vi.        John was denied the opportunity to be heard in that John was not entitled to know the details of
               the charges nor the identity of the complainants (at the conduct conference or at the investigative
               review of John; Gomes/Majewski/Cummings refused to provide him with the specific factual
               conduct alleged to have given rise to the charges.
   vii.        John was provided no form of hearing.
  viii.         John was not permitted to challenge the credibility or ask any questions of the supposed
               complainant(s) or any other witnesses, even though credibility determinations were critical to the
               Investigators' findings; Students accused of violations other than sexual misconduct were
               permitted to submit written questions to be asked of complainant and at times had a hearing.



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        ix.     John was denied an opportunity to record the interview, and no record of the investigative
                interview was maintained. 67
         x.     Impairment of right to call witnesses and present evidence; though John submitted a list of
                exculpatory witnesses; none were interviewed; John was asked to provide evidence in defense but
                was denied the facts of the allegations or basis of the complaints.
        xi.     Applying the preponderance of the evidence standard, rather than the clear and convincing
                evidence standard, despite the serious nature of the allegations and severe consequences that could
                result, including lifelong damage to John's reputation;
       xii.     John was not entitled to an advisor of his choice per Protocol or Policies;
      xiii.     Special Examiner prepared a detailed report, which John was never permitted to see despite
                multiple requests.
      xiv.      Special Examiner's decision as to the "not responsible" (that is, supposedly of"not guilty") of
                John's actions was essentially final, with no appellate review-among other things, the decision
                that included sanctions - typical of a responsible finding - could not be overturned on any
                ground.
       xv.      Lowered burden of proof to the "preponderance of the evidence"(the lowering of the standard
                appears to have been a deliberate choice by the university to make cases of sexual misconduct
                easier to prove .... )
      xvi.      John was denied ANY and ALL access to evidence or see witness statements;
     xvii.      Failure to provide an impartial adjudicator at any stage of the proceedings; Majewski, Gomes,
                and Cummings all maintained conflicts of interest creating bias in the process.
     xviii.     Majewski and Cummings predetermined John's guilt on May 4, 2016 as to any potential
                misconduct prior to assigning their employed investigator;
      xix.      A school employed investigator was entrusted with responsibilities of detective, prosecutor,judge
                and jury in one person68 ;
       xx.      John, despite being found not responsible, was sanctioned as though he was found responsible.
      xx1.     The purpose of the process itself was used to explore and find an action that could warrant
               expulsion instead of adjudicating self-reported allegations of sexual misconduct from actual
               victims.
     xxii.     Defendants' conduct evidenced arbitrary and/or irrational behavior which was not justified by
               any governmental interest
     xxiii.    Defendants violated John's Due Process rights in part because Defendants' conduct was
               motivated by ill will, bad faith, and/or an intent to injure John.
     xxiv.     Defendants were improperly trained on sexual harassment and disciplinary implementation.
     xxv.      No right to effective appeal

344.          In the course of such investigation and adjudication, Defendants flagrantly violated John's clearly
established rights under the Due Process Clause of the Fourteenth Amendment through its deprivation of
the minimum requirements of procedural and substantive fairness, including, but not limited to, his right to




67
     Slaughterv. Brigham Young Univ., 514 F.2d 622,625 (10th Cir.1975)
68
     Doe v. Brandeis, 177 F. Supp. 3d 561 (D. Mass 2016)

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a fair investigation free of bias, his right to be heard by an impartial factfinder, and his right to cross examine
witnesses and challenge witnesses, and his right to secure his property at his workstation.
345.       Under both federal and state law, John was entitled to due process including proper notice and a
meaningful opportunity to be heard, which were denied at various steps of the procedure.
346. Defendants Cummings, Majewski, Gomes, and Helm violated John's right to due process: when they
willfully failed to give him adequate notice of the charges simply saying, "John" may have engaged in
behaviors that violate the student code of conduct and/or the University's Policies on Equal Opportunity,
Discrimination, Harassment and Sexual Violence" or "engaged in behavior that has created an
uncomfortable learning and work environment "69; when they imposed interim sanctions and when they
issued a finding of what must be determined as "not responsible" but still imposed sanctions of warnings
and "appropriate intervention"; when despite the fact that there appears to be no reporting party or "victim",
there was no opportunity for him to question the witnesses against him including the non-percipient third-
party reporter, or the supposed complainant; when he was afforded no formal hearing before an impartial
panel of decision makers; when he was provided no opportunity to challenge the participation of any person
involved in the process, and there was no attempt to collect exculpatory evidence or give due consideration
to the alleged "reporting party" who if it were AW or LS maintained John did not engage in any conduct
violative of UMASSD 's policies.
347.      The Investigators prosecuted John under a presumption of guilt, and conducted an investigation
designed to fit their narrative of what they believed a male with a conviction could do, despite clear evidence
to the contrary.
348.       John had obeyed all institutional rules when he was wrongly interim suspended and ultimately
constructively expelled from UMASSD.
349.       John was entitled to process commensurate with the seriousness of the allegations and the potential
discipline, sanctions and repercussions he was facing. The allegations in this case resulted in a sanction that
will have lifelong ramifications for John.
350.       In their bias treatment of John, Defendants made a distinction which "burdened a fundamental
right, targeted a suspect class, or intentionally treated one differently from others similarly situated
without any rational basis for the difference." That such different treatment he received was based on
"purposeful or intentional" gender discrimination. The facts supporting bias in the Title IX claims above
buttress John's 1983 claim.
351.       Defendants treated John differently from others similarly situated when they instituted "appropriate
intervention," failed to conduct equitable investigations against female students, and intentionally and


69
     Sterrett v. Co~ 85 F. Supp. 3d 916 (E.D. Mich. 2015).

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egregiously violated John's privacy of confidential information while securing the supposed victim(s)'
privacy in the disciplinary proceeding and in general.
352.    Defendants, as well as other agents, representatives, and employees of UMASSD, were acting
under color of state law when they showed intentional, reckless, and outrageous disregard for John's
constitutional rights. Defendants Helm, Cummings, Majewski, and Gomes deprived John of his liberty and
property interests without affording him basic due process without good faith and thus is not afforded
qualified immunity for their actions. Defendants all agreed to, approved and ratified this unconstitutional
conduct.
353.   Defendants violated the substantive component of the Due Process Clause because Defendants
engaged in the arbitrary abuse of executive power so egregious that shocks the conscience of the public,
and that it did not comport with traditional ideas of fair play and decency.
354.   Defendants violated the substantive component when they: intentionally violated John's
confidentiality; issued a DNC with anyone associated with UMASSD; extorted John into withdrawing;
intentionally defamed John to blight his reputation during the investigation; interfered with his educational
opportunities outside ofUMASSD, and sanctioned him after a finding of not responsible.
355.   As recently articulated by the Sixth Circuit in Doe v. Baum, a university disciplinary proceeding
that may result in a sanction of expulsion or suspension must: (1) afford an accused student "some sort of
hearing" and (2) ''when the university's determination turns on the credibility of the accuser, the accused,
or witnesses, that hearing must include an opportunity for cross-examination." Doe v. Baum (6th Cir. Sept.
7, 2018) 903 F.3d 575,581.
356.   UMass Dartmouth deprived John of the requisite due process because the University had a pecuniary
interest in the outcome of the adjudication, and had decided that an admissions of a male with a prior
conviction must be corrected through a sham disciplinary proceeding.
357.    Defendants had actual or constructive knowledge that they were engaging in conduct creating a
pervasive and unreasonable risk of deprivation of John Doe's rights under the Fourteenth Amendments to
the United States Constitution.
358.   Based on the foregoing, UMass Dartmouth and Defendants violated the rights and guarantees set
forth in the Fourteenth Amendment of the United States Constitution during the investigation
and adjudication of the Spring/Summer 2016 allegation. Accordingly, Defendants are liable under 42
U.S.C. § 1983 for violations of the Due Process Clause of the Fourteenth Amendment, and for all damages
arising therefrom.
359.   As a direct and proximate result of the above conduct, John sustained damages, including, without
limitation, reputational damage, emotional distress, loss of educational and career opportunities, economic
injuries and other direct and consequential damages.

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360. John further seeks punitive damages against Defendants Cummings, Majewski, Gomes and Helm in
their individual capacities for violations of John's well established fundamental rights.
361. As a result of the foregoing, John is entitled to damages in the amount to be determined at trial plus
prejudgment interest, attorneys fees, expenses, costs and disbursements.
362. John is entitled to compensatory damages, prospective injunctive relief expunging John's
disciplinary record; removing any record of John's interim suspension from his education file; destroying
any and all records pertaining to the Title IX investigation of John; and allow John to return to UMASSD
at a time of his choosing in order to complete the remaining credits remaining for receiving his degree
without the imposition of any conditions for readmission to the university.
                                                     COUNT IV
     42 U.S.C. § 1983-Denial of First Amendment Rights/Free Speech Retaliation as to (Defendants
UMASSD, Cummings and Majewski in Individual/ Official Capacities pursuant to Ex Parte Young)
363.      John incorporates the allegations contained in the foregoing paragraphs as though fully set forth
herein in their entirety without duplication.
364.      First Amendment to the U.S. Constitution states: "Congress shall make no law respecting an
establishment of religion, or prohibiting the free exercise thereof; or abridging the freedom of speech, or of
the press; or the right of the people peaceably to assemble, and to petition the Government for a redress of
grievances."
365.      Pursuant to the First Amendment to the United States Constitution and UMASSD Rights of
Students, John enjoyed the right to speak freely to students in his graduate program prior to the initiation
of disciplinary proceedings, to complain to UMASSD officials as to their discriminatory Title IX
disciplinary practices, to speak to fellow students and freely associate regarding what he considered
discriminatory and unfair treatment by the University.
366.      UMASSD neither accused John of using speech that could be considered true threats, 70 nor lewd71
nor were shown to cause a material disruption to the university or was likely to do so.
367.      "In the absence of a specific showing of constitutionally valid reasons to regulate their speech,
students are entitled to freedom of expression of their views." Tinker v. Des Moines Indep. Community
Sch. Dist., 393 U.S. 503,511 (1969).
368.      The Supreme Court has recognized that students enjoy First Amendment rights of speech and
association on a campus and the "denial ... of use of campus facilities for meetings and other appropriate
purposes" are subject to the level of scrutiny appropriate to any form of prior restraint. 72


70 Watts v. United States, 394 U.S. 705 ( 1969).
71 Bethel School Dist. No. 403 v. Fraser, 478 U.S. 675,685 (1986).
72 Healy v. James, 408 U.S. 169, 181 (1972).


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369.       Pursuant to the questions posed in the investigative interview, UMASSD, and individual
Defendants were loathed with such speech as John's stating that he missed his children, that he was
disgruntled by not having a desk in the new area of graduate student cubicles, and he confronted students
involved in a perennial cheating scandal of two core courses required for graduation.
370.       Moreover since John's speech failed to "materially and substantially disrupt the work and discipline
of the school," 73 John's pt Amendment right to speak to members ofUMass Dartmouth was violated via
censorship in both his interim and final sanction, which forbid him to speak to anyone associated with
UMASSD as to the former, and to students at SMAST as to the latter.
371.       To plead a prima facie case of free speech retaliation, John must show that (1) that John was engaged
in a constitutionally protected activity; (2) that the defendant's adverse action caused John to suffer an injury
that would likely chill a person of ordinary firmness from continuing to engage in that activity, and (3) that
the adverse action was motivated at least in part as a response to the exercise of John's constitutional rights.
Paige v. Coyner, 614 F.3d 273,
372.       John undoubtedly engaged in protected speech activities - namely (1) John engaged academic and
personal discussions with peers and instructors in the university setting and (2) all of John's reports of
gender discrimination related to his Title IX investigation, made to Gomes, Lorentz, Cummings and
Majewski directly and through his attorney.
373.       The second element of free speech retaliation, whether the "defendant's adverse action caused John
to suffer an injury - that would likely "chill a person of ordinary firmness from continuing to engage in that
activity" - is not in dispute here.
374.       Defendants chilled and otherwise restricted John's right to free speech by issuing a gag order not to
speak to any person associated with UMASSD, directly or by proxy, under penalty of potential expulsion
from May 4 th , 2016 to August 30, 2016, and then not to speak to SMAST Students after circa September
10th , 2016. Also John was banned from UMASSD property and given an interim suspension. UMASSD
officials intentionally violated John's privacy regards to Title IX and educational records confidentiality.
He lost his advisor and suffered sanctions of"appropriate interventions" despite being found not responsible
for misconduct and speaking to his colleagues and professors.
37S.       In regards to the third element, John has come forth with facts sufficient to support his theory that
the "materially adverse actions" or retaliatory actions were motivated in all or in part by John's speech to
address and remedy the baseless investigation and failures to comply with state and federal law, including
but not limited to, John's actions to report and address individual harassment in UMASSD's attempt to




73   Tinker v. Des Moines Independent School District, 393 U.S. 503, 506 (1969).
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compel him to withdraw from school using Title IX procedures solely because he was a male student with
a felony conviction.
376.       Retaliatory actions were causally related to the protected activity in time with no delay, substance,
purpose, and the foregoing malice shown against John by UMASSD and its agents.
377.       Based on the foregoing UMASSD and individual Defendants intentionally and maliciously
retaliated against John in response to his engaging in constitutionally protected speech, which caused John
approximate damages.
378.      Based on the foregoing, UMass Dartmouth and Defendants violated the rights and guarantees set
forth in the First Amendment of the United States Constitution during the investigation and adjudication of
the supposed Spring/Summer 2016 allegation.
379.       Accordingly, Defendants are liable under 42 U.S.C. § 1983 for violations of John's rights under the
First Amendment of free speech and association, and for all damages arising therefrom.
380.      As a direct and proximate result of the above conduct, John sustained damages, including, without
limitation, reputational damage, emotional distress, loss of educational and career opportunities, economic
injuries and other direct and consequential damages.
381. John further seeks punitive damages against Defendants Cummings, Majewski, Gomes and Helm in
their individual capacities for intentional and egregious violations of John's well established fundamental
rights.
382.      As a result of the foregoing, John is entitled to damages in the amount to be detennined at trial plus
prejudgment interest, attorneys fees, expenses, costs and disbursements.

                                                   COUNTV
          Protocol 2015 and Policies are Unconstitutionally Overbroad As to Defendant UMASSD

383.       John incorporates the allegations contained in the foregoing paragraphs as though fully set forth
herein in their entirety without duplication.
384.       UMass Dartmouth as a state college is legally bound to respect the constitutional rights of its
students.
385. UMASSD investigated John under procedures under Protocol and Policies with allegations that he
created a hostile learning environment. John was found not responsible for misconduct under Policies nor
Protocol, but UMASSD still sanctioned him with warning and reduced privileges.
386.       Because of the sexual harassment policy and the definitions of sexual harassment and similar for a
hostile learning environment, and the manner in which UMASSD attempted to enforce it for innocuous
behavior, John subsequently felt inhibited in expressing his opinions in class concerning women, or even
speaking to women in general.

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387.    Subsequent to the investigation John enrolled in an Ocean Policy class, mostly with women
requiring classroom deliberation. John found every area of possible communication was implicated by the
policy in Protocol, and if a female student disagreed with his opinion, then it could have been considered a
hostile learning environment.
388.    That, in turn, caused him to be concerned that discussing his social, cultural, political, and/or
religious views regarding these issues might be sanctionable by the University. As such John suffered a
chilling effect on his ability to exercise his constitutionally protected rights.
389.    John was compelled to withdraw from the class resulting from his inability to discuss matters that
had been susceptible to selective application amounting to content-based or viewpoint discrimination,
390.      Protocol 2015 and Policies used in 2016 were unconstitutionally vague and overbroad as they
address questions of sexual harassment.
391.    Like the regulation at issue in De.John v. Temple University, 537 F.3d 301 (3d Cir. 2008) and in
Saxe v. State Coll. Area School Dist., 240 F.3d 200 (3d Cir. 2001), the policy as to definitions of sexual
misconduct and sexual harassment in Protocol and Policies at UMass Dartmouth is facially overbroad.
392.    Protocol should be found unconstitutionally "overbroad" since there is a likelihood that the statute's
very existence will inhibit free expression to a substantial extent.
393.    As a result of the foregoing, John seeks declaratory judgment that Protocol 2015 as written is
unconstitutionally vague.
                                                   Count VI
              Defamation (Libel and Slander) as to Defendant Cummings and Majewski
               (in their Individual and Official Capacities pursuant to Ex Parte Young)
394.    John hereby incorporates and adopts each and every foregoing allegations set forth herein
39S.    Immediately following John's Conduct Conference, Cummings contacted staff at Duke Marine Lab,
including, Tom Schultz and verbally advised them to reject John's application, that John was a threat to
school safety under a Title IX investigation, that he had an extensive criminal history and lied on his
application to UMass Dartmouth and he would be expelled from UMass Dartmouth.
396.    Circa late April 2016 Cummings contacted staff at Marine Mammal Center at Woods Hole
Oceanographic Institute, including, Michael Moore and verbally advised him to discontinue his
collaboration with John, that John was a threat, that he had an extensive criminal history and lied on his
application to UMass Dartmouth and he would be expelled from UMass Dartmouth.
397.    Circa late April 2016 Cummings contacted staff at University of Rhode Island Graduate School of
Oceanography, including, James Miller and verbally advised him to discontinue his collaboration with John,
that John was a threat under Title IX investigation, that he had an extensive criminal history and lied on his
application to UMass Dartmouth and he would be expelled from UMass Dartmouth.

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398.       On May 4, 2016, Cummings and Majewski promulgated the above written letter concerning John.
The letter began with, ''It has come to the attention of the UMass Dartmouth administration that you have
a more extensive criminal history than you disclosed prior to being admitted to the Master's program in
Marine Science."
399.       Cummings and Majewski published false infonnation accusing John of fraudulently disclosing his
criminal history on his application.
400.       Cummings and Majewski published the false and defamatory material with "'actual malice 74 " --that
is, with knowledge that it was false or with reckless disregard of whether it was false or not, and acted with
a "high degree of awareness of [its] probable falsity" or, in other words, "entertained serious doubts as to
the truth of his publication."
401.       Based on her communication with Webster prior to, and with John at his Conduct Conference,
Cummings knew the information was false; should have known the information was false; should have
taken reasonable steps to verify the veracity, and had no justifiable reason nor legitimate educational
purpose to believe that John had failed to fully disclose his criminal history as required in his application,
which John signed as true and accurate, that if he intentionally withheld information with deceitful intent,
he would be liable for criminal perjury.
402.       Cummings constructively and factually accused John of violating Mass Gen Law Chapter 268,
Section 1, perjury, by alleging he falsified and signed his school application under which John swore under
penalty of perjury. Additionally her letter indicates that John was involved in behavior incompatible with
the proper conduct of his business, trade or profession, which is also slander per se. Additionally Cummings
accused John in "a more criminal history" of committing a host of unidentified crimes left to the imagine
of the audience, thereby accusing him of a vast array of crimes, which is defamatory per se.
403.       Cummings and Majewski's verbal and written statements were defamatory in that they "may
reasonably be read as discrediting John in the minds of any considerable and respectable class of the
community."
404.       That such accusation was false and defamatory per se which requires no proof of economic loss.
405.       Cummings and Majewski were acting within and outside the scope of her school responsibility in
a "frolic and detour" on their own when defaming John to Miller, Moore and Schultz and in publishing the
subject letter.
406.       Defendants had no legitimate purpose to cause John to lose his advantageous relationships with
each, nor to promulgate the letter.




74   Noonan v. Staples, Inc., 556 F.3d 20 (1st Cir., 2009) (citing Mass. Gen. Laws ch. 231, § 92).
                                                                                                           68
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407.     Cummings has ill-will toward men who she believes commits violence against women, and ill-will
against John specifically. Their spite toward John is illustrated: in Cummings' and Majewski's baseless
and sua sponte witch hunt to find any misconduct whatsoever which she could use to establish their
predetermined conclusion that John must be expelled from UMass Dartmouth; in Cumming's statement
that John would never find an institution that would accept him in Oceanography again, a result which her
defamation made a fait accompli. Additionally Cumming's illustrated her actual malice by illegally and
willfully disclosing confidential information disclosed that was part of John's protected educational record
secured by FERPA.
408.    As a direct and proximate result of the above conduct, John sustained damages, including, without
limitation, reputational damage, emotional distress, loss of educational and career opportunities, economic
injuries and other direct and consequential damages.
409.    John further seeks punitive damages against Defendants Cummings, and Majewski, in their
individual capacities.
410.    As a result of the foregoing, John is entitled to damages in the amount to be determined at trial plus
prejudgment interest, attorneys fees, expenses, costs and disbursements.
                                                       Count VII
                             Violation of Massachusetts Civil Rights Act (MCRA)
 As to Defendant Cummings in her Individual and Official Capacities pursuant to Ex Parte Young
411.     The foregoing allegations are incorporated herein by reference
412.     Cummings was acting within the scope of her school responsibility and agent authority when
violating John's Massachusetts Civil Rights. 75 As an alternative John pleads Cummings was acting outside
the scope of her school responsibility and agent authority.
413.     To establish a claim under MCRA, a John must prove that 1) That the [alleged victim] was
exercising a right or privilege protected by the Constitution or laws of the Commonwealth of Massachusetts
or of the United States; 2) That the defendant either injured, intimidated, interfered with, oppressed or
threatened the exercise or enjoyment of that legally protected right by [alleged victim], or attempted to do
so; 3) That the defendant did so by such interference was by threats, intimidation, or coercion76 , 77 and that
the defendant did so willfully. 78


75 Massachusetts Civil Rights Act, G. L. c. 12, s. s. 11 H, 111.
76 Coercion: the use of express or implied threats of violence or reprisal or other intimidating behavior that puts a person
in immediate fear of the consequences in order to compel that person to act against his or her will.
11 Glovsky v. Roche Bros. Supermarkets, Inc., 469 Mass. 752, 17 N.E.3d 1026, 1035 (2014) (quoting Currier v. Nat 'I Bd

of Med Examiners, 462 Mass. 1,965 N.E.2d 829, 837-38 (2012).).
78 Restatement (Second) of Torts§ 8A (1965) indicates that "intentional" is used in the tort sense to mean "that the actor

desires to cause the consequences of his act, or that he believes that the consequences are substantially certain to result
from it."

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414.       John had and enjoyed rights: secured by Title IX, to an education free of discrimination based on
gender; secured by the Vth & XIVth Amendments to the US Constitution and by Articles I & X of the
Massachusetts Declaration of Rights to continue enjoying his property right of his education at UMass
Dartmouth and use of his Veterans Affairs scholarship under Chapter 31; property and liberty right to enjoy
his personal and academic reputation; liberty interest to continue relationships and speak with colleagues
and come and go at UMass Dartmouth, and liberty interest to pursue his profession as an Oceanographer or
University Professor.
415.       Civil rights asserted under MCRA are secured by the Constitutions of the Commonwealth79 and
United States against individual as well as State action. A John need not allege "State action" in order to
make out a claim for relief against a private person under the civil rights statute, G. L. c. 12, Section 111.
416.       Massachusetts courts have "recognized that coercion may take various forms," including economic
coercion, which can potentially "be found where one party deprives another of rights due under a
contract." 80 In order for the breach of a contract to be coercive for purposes of the MCRA, the party
breaching the contract must not simply deprive a John of a secured right, but must also be trying to interfere
with John's own exercise of a secured right. 81
417.       John's scholarship contract with Veteran's Affairs under Chapter 31, in part, requires a John to
comply with the student Code of Conduct, and if John was expelled for disciplinary reasons then he would
be required to reimburse Veteran's Affairs for all expenses. However, if he withdrew and transferred
elsewhere, then he would not face reimbursement
418.       Upon information and belief, Cummings knew John was on a VA Scholarship when she made her
threats and commanded John to withdraw or face expulsion.
419.       On May 4, 2016, Cummings twice demanded John forego his education at UMass Dartmouth. John
refused twice. In between Cummings's demands, she showed John the letter of May 4th , and a forced him
to sign a Do Not Trespass Notice.
420.       Additionally, Cummings implied and John inferred that she would disseminate the fact that John
had a criminal history and would accuse him of the crime of perjury, and ruin his reputation.
421.       Cumming's threat of criminal prosecution of trespassing, and threat of accusing him of a crime,
commanded John's attention, since any criminal charge or violation of the good conduct clause of his
unsupervised probation would cause a revocation warrant.
422.       Upon information and belief, Cummings knew John was on unsupervised probation and used such
information to leverage her coercion and intimidation.


79   bttps://malegislature.gov/Laws/Constitution
80   Redgrave v. Bos. Symph. Orch., Inc., 399 Mass. 93,502 N.E.2d 1375 (1987).
81   See Goddardv. Kelley, 629 F.Supp.2d 115, 128 (D. Mass. 2009)

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423.       Cummings told John that if he agreed to withdraw from school then he would not undergo a Title
IX investigation and no one would learn of his criminal history or illegally signing his application.
424.       Cummings did, and attempted to intentionally and willfully coerce and intimidate John to sacrifice
his civil rights guaranteed under MCRA.
425.       Though Massachusetts has no civil remedy for extortion, Cummings actions stood squarely in the
center of Massachusetts criminal statute of extortion. 82 Cummings constructively threatened to ruin John's
reputation83 to other schools and to his advisors if he did not withdraw from UMass Dartmouth, which
would deny his ability to apply in other Universities or pursue his intended profession in Oceanography.
Not only did Cummings threaten such action but followed through with her threats.
426.       Based on the foregoing Cummings maliciously violated John's civil rights under MCRA using
coercion and intimidation.
427.       John's academic and career prospects, earning potential, and reputation have been severely harmed.
He has sustained significant damages, including but not limited to, damages to physical well-being,
emotional and psychological damages, damages to reputation, past and future economic losses, loss of
educational and professional opportunities, loss of future career prospects, and other direct and
consequential damages.
428.       John's damages were the direct and proximate cause of Defendants' actions.
429.       Pursuant to M.G.L. c. 12 Mass. Civil Rights Act § 111, John seeks award of compensatory money
damages, punitive damages, costs of the litigation and reasonable attorneys' fees.
                                                       Count VIII
                Aiding and Abetting of Violation of Massachusetts Civil Rights Act (MCRA)
     As to Defendant Majewski in her Individual and Official Capacities pursuant to Ex Parte Young
430. The foregoing allegations are incorporated herein by reference.
431. Based on the foregoing Defendant Cummings violated his civil rights under MCRA.
432. Majewski was generally aware of her role of an overall illegal or tortious activity at the time she
provided Cummings assistance in violating his rights under MCRA.




82  Mass G. L. c. 265, Section 25 - Whoever, verbally or by a written or printed communication, maliciously threatens to
accuse another of a crime or offence, or by a verbal or written or printed communication maliciously threatens an injury to
the person or property of another, or any police officer or person having the powers of a police officer, or any officer, or
employee of any licensing authority who verbally or by written or printed communication maliciously and unlawfully uses
or threatens to use against another the power or authority vested in him, with intent thereby to extort money or any pecuniary
advantage, or with intent to compel any person to do any act against his will, shall be punished by imprisonment in the state
prison ...
83
     Commonwealth vs. Miller., 385 Mass. 521, 1982


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433. Majewski witnessed Cummings twice command John's withdrawal from school. In between,
Cummings offered John documents to read which implicated definite threats to compel John to commit
actions against his will to wit to sacrifice his property and liberty rights under M CRA.
434. Majewski knowingly and substantially assisted Cummings in violating John's civil rights under
MCRA.
435. With regard to MCRA, Majewski participated in Cummings' efforts to pressure John into
withdrawing from school against his will. Majewski assisted Cummings by providing Cummings the
physical venue (her office) in which Cummings attempted extorting John into withdrawing from school.
Additionally Majewski assisted Cummings in applying pressure on John to withdraw from school that day.
Majewski directed John to inform her within a couple days as to whether he would withdraw from school.
Majewski also applied coercion by stating that ifhe would not withdraw that day he would undergo a Title
IX investigation.
436. In providing Cummings her office and having preplanned the meeting in which Cummings would
attempt to extort John into leaving UMASSD, Majewski did encourage and provide advice to Cummings
in how to proceed to coerce John into leaving UMASSD.
437. Cummings and Majewski shared a common intention to cause John to withdraw from school. Both
had worked together for years implying the quality and extent of their relationship influenced the amount
of aid provided by Majewski to Cummings, and affords evidence of the defendant's state of mind.
438. In aiding-abetting, the extent of liability is that a person (Majewski) who assists a tortious act of
Cummings may be liable for other reasonably foreseeable acts done in connection with it, and is liable for
damages caused by the main perpetrator.
439. John's academic and career prospects, earning potential, and reputation have been severely harmed.
He has sustained significant damages, including but not limited to, damages to physical well-being,
emotional and psychological damages, damages to reputation, past and future economic losses, loss of
educational and professional opportunities, loss of future career prospects, and other direct and
consequential damages.
440. John's damages were the direct and proximate cause of Defendants' actions.
441. Pursuant to M.G.L. c. 12 Mass. Civil Rights Act§ 111, John seeks award of compensatory money
damages, punitive damages, costs of the litigation and reasonable attorneys' fees.
                                                COUNTIX
                         Intentional Interference with Advantageous Relations
 Defendants Cummings and Majewski in their Individual/Official Capacities per Ex Parte Young
442. The foregoing allegations are incorporated herein by reference.
443.   Under Massachusetts law, to prevail on a claim of tortious interference with advantageous relations,

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a John must establish that: (1) he had advantageous with a third party; (2) defendant knowingly induced
the third party to break the advantageous relations; (3) defendant's interference, in addition to being
intentional, was improper in motive or means; and (4) John was harmed by defendant's actions.
444.          John had advantageous relations with advisors and scientists with whom he had developed
relationships of a definite type and agreements to corroborate on scientific research including with: Michael
Moore, Ph.D. and Woods Hole Oceanographic Institute; Douglas Nowacek, Ph.D. and Duke Marine Lab;
John Buck, Ph.D; Jennifer L. Miksis-Olds, Ph.D., Director, Center for Marine Science & Technology at
The Pennsylvania State University; and James Miller, Ph.D. and U.R.l.
445.          Majewski and Cummings knew of the advantageous relationships which John had with various
scientists and Universities and the past, present and future corroborations, and John's continued expectancy
for advantageous relationships that would engender his research and career growth.
446.          In their official capacity Majewski and Cummings, acted with actual malice, or with a spiteful,
malignant purpose, unrelated to legitimate corporate interest ofUMASSD, and knowingly induced John's
advantageous relationships to end.
447.          Among other specific examples, Majewski and Cummings displayed actual malice unrelated to
legitimate corporate interests by the following:
         i.     In an effort to "correct an admissions error" Defendants concerted to compel John's withdrawal
                from UMASSD through extortion.
        u.      Defendants concerted and individually violated John's privacy of statutory confidential
                information on more than three occasions.
       iii.     Defendants concerted and individually contacted persons and institutions, outside of and
                unrelated to John's matriculation with UMASSD, and maliciously defamed him and spread
                innuendo regarding his Title IX investigation.
       iv.      Defendants instituted and maintained two disciplinary proceedings with knowledge that neither
                had merit nor probable cause in an effort to coerce John to withdraw from school because he
                was a male with a conviction.
        v.      Defendants gathered John's educational records, which contained his admissions disclosure
                statement, then twisted the contents therein to cast him in a false light of negative publicity.
       vi.      Defendants sanctioned John despite having found him not responsible with the intent to exile
                him from SMAST.


448. Based on the foregoing, and in their individual capacity, Majewski and Cummings, with intentional
improper motive or means, knowingly induced John's advantageous relationships to end.
449. As the result of Defendants improper and malicious actions, all of John's aforementioned
advantageous relationships terminated. Each institution and person refused to respond to John's attempts
at communication in writing, texts and calls.




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450. As a direct and proximate result of the above conduct, John sustained damages, including, without
limitation, reputational damage, emotional distress, loss of educational and career opportunities, economic
injuries and other direct and consequential damages.
451. John further seeks punitive damages against Defendants Cummings, and Majewski, in their
individual capacities.
  452. As a result of the foregoing, John is entitled to damages in the amount to be determined at trial plus
        prejudgment interest, attorneys fees, expenses, costs and disbursements.
                                                  COUNTX
   Negligence In Disclosing Confidential Information As to Defendants UMASSD, Cummings, and
             Majewski in their Individual and Official Capacities pursuant to Ex Parte Young
  453. The foregoing allegations are incorporated herein by reference.
  454. Family Educational Rights and Privacy Act of 1976: FERPA guarantees the privacy of a student's
        educational records.
455.     FERPA policy and guidelines at UMass Dartmouth for all times relevant was controlled by policy
number STU-012 (https://www.umassd.edu/policies/active-policy-list/students/family-educational-
rights-privacy-act/}. UMass Dartmouth FERPA Policy Statement states:


         The Family Educational Rights and Privacy Act (Part 99 ofTitle 34 ofthe Code
         of Federal Regulations) allows present of former students at educational
         institutions access to educational records kept on them, as well as establishing
         basic protections of privacy of their records. The law applies to educational
         records, which are defined as those records that are directly related to a student
         and maintained by an educational agency or institution.

456. Definitions: For the purposes of this policy, the University uses the following definitions of
terms: Student: A student is defined as any person who attends or has attended the University.
Educational records: An education record is defined as any record (in handwriting, print, tapes, film,
or other medium) maintained by the University or an agent of the University that is directly related to
a student.
457. Disclosure of Educational Records to Others: FERPA restricts significantly the right of others to
view a student's educational records. The following are categories of individuals who by federal law
and the procedures established for the university may view or receive a student's educational records in
relevant part:
  a.     The student him or herself (except materials to which the student has waived the right of
         access, such as confidential letters of recommendation).
   b.    Individuals who are "officials" of the campus and university and who have a "legitimate
         educational interest" in the record or a "need to know" information in the record. At the

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           University, "officials" includes: Persons employed or contracted by the University in an
           administrative, supervisory, teaching, research, or support staff position (in some cases
           including hired as support staff); Officers of the University of Massachusetts central
           administration; Students or others serving on committees where legitimate "need to know"
           exists (examples are persons serving on a committee that recommends award of scholarships
           or serving on the board of an honor society).
458. Such officials have a "legitimate educational interest" or "need to know" if performing a task
that includes each of the following in relevant part:

       a. It falls within the context of their assigned institutional duties or responsibilities;
       b. It relates to the functioning of the office, position, or committee involved;
       c. It relates to the education of the disciplining of the student; and
       d. It is consistent with the purposes for which the information is kept.


459. Persons authorized to view or retain a student's educational records, as above, "may in no case
transmit, share, or disclose the information to any third party." All third-party requests for information
should be addressed to the Office of University Records.
460. Under Massachusetts law, a duty finds its 'source in existing social values and customs' or where a
defendant has voluntarily assumed a duty.
461. In Connecticut the test for the existence of a legal duty of care entails ( 1) a determination of whether
an ordinary person in the defendant's position, knowing what the defendant knew or should have known,
would anticipate that harm of the general nature of that suffered was likely to result, and (2) a
determination, on the basis of a public policy analysis, of whether the defendant's responsibility for its
negligent conduct should extend to the particular consequences or particular John in the case. 84 The
Connecticut Supreme court rejected the proposition that the common law duty of care "disappear[s] when
the negligent conduct occurs in an educational setting.
462. Liability may be properly imposed on defendants if, and only if, doing so ·would serve a "legitimate
objective of the law."
463. An important function of the tort system is the "prophylactic' factor of preventing future harm. Under
Massachusetts law "[a] basic principle of negligence law is that ordinarily everyone has a duty to refrain
from affirmative acts that unreasonably expose others to a risk of harm.
464. Unauthorized release of confidential and sensitive information protected under FERPA, which by law
is contraindicated, is legally similar to unauthorized disclosures of confidential medical information in the
realm of duty of confidentiality under HIPPA.




84
     RK Constructors v. Fusco Corp., 231 Conn.381, 386-87 (1994).

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465. A cause of action based on a breach of physician-patient confidentiality has been recognized by a
majority of jurisdictions. Under Massachusetts Iaw 85 a physician owes to a patient a duty not to disclose,
without the patient's consent, confidential medical information about the patient obtained as a result of the
physician-patient relationship, except to meet a serious danger to the patient or to others, and a violation of
that duty, resulting in damages, gives rise to a cause of action against the physician.
466. "When a physician discloses confidential information without authority, he invades two distinct
interests of the patient: (1) the patient's interest in the security of the confidential relationship and his
corresponding expectation of secrecy; and (2) the patient's specific interest in avoiding whatever injuries
will result from circulation of the information. " 86 Invasion of the first interest will most likely affect the
patient's willingness to disclose confidential information in the future and invasion of the second interest
could result in a variety of injuries to the patient.
467. When a patient divulges embarrassing, intimate, or even incriminating information to a therapist he
or she expects that such disclosures will remain confidential. Since confidentiality is essential to the
adequate functioning of a patient-therapist relationship, the legal protection of these confidences is
necessary to promote the relationship that is beneficial to society.
468. Similarly prospective students to graduate school filet their personal and academic history on their
applications, and expect confidentiality of that information. The protection of these confidences is
necessary, especially with graduate students, to engender trust of colleagues and the free flowing process
of exchanging ideas in research that is beneficial to society.
469. For this reason, ''the duty of confidentiality is not meant to protect against one specific type of injury
to the patient, but instead discourages any injury that might result from a physician's unauthorized disclosure
of information."
470. Similarly the duty of confidentiality under FERPA is meant to discourage any injury that might from
the University's unauthorized disclosure of student information. Just as society has an interest in protecting
the confidential nature of the physician-patient relationship, so too does society have an interest in
protecting confidential and sensitive student information guaranteed under FERPA.
471. Finally a duty should be imposed because Universities and school officials, who obtain student
information under authority of "legitimate educational interest," are in the best position to prevent this
kind of unauthorized disclosure of student information in the future.
472. The same substantive rationale for this tort duty extends to cases in which a customer has entrusted
her intangible, confidential information to another in the course of a business transaction, thereby obligating
the possessor to exercise reasonable care in protecting that valuable property.


85   Alberts v. Devine, 3.95 Mass. 59,479 N.E.2d 113 (1985)
86
     Bullion v. Gadaleto, 872 F.Supp. 303, 306 (W.D.Va.1995)

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473. UMass Dartmouth and its officers have a general duty to UMass Dartmouth students to protect student
information under FERPA since the source of the duty exists in furthering existing social values and
customs' and UMass Dartmouth voluntarily assumed a duty by accepting funds under a program
administered by the U.S. Department of Education.
474. UMASSD, Cummings and Majewski specifically owed John a duty of reasonable care not to disclose
sensitive and confidential records to third parties in violation to FERPA and STU-012.
475. Cummings and Majewski accessed John's educational records ''under a legitimate educational
interest" in conjunction with a disciplinary proceeding per policy STU-012. Inter alia they accessed John's
admissions application and criminal disclosure statement.
476. Cummings, Majewski and UMASSD breached that duty of care in carelessly disseminating John's
student information to third parties, and knowing what the Defendants knew or should have known with
foreseeability, would anticipate that harm of the general nature of that suffered was likely to result.
477. John's academic and career prospects, earning potential, and reputation have been severely harmed.
He has sustained significant damages, including but not limited to, damages to physical well-being,
emotional and psychological damages, damages to reputation, past and future economic losses, loss of
educational and professional opportunities, loss of future career prospects, and other direct and
consequential damages.
478. John's damages were the direct and proximate cause of Defendants' actions.
479. As a result of the foregoing, John is entitled to recover damages in an amount to be determined at
trial, plus prejudgment interest and attorneys' fees and costs.
                                                               CountXI
                               Negligence as to Establishing Reasonable Disciplinary Policy
                                                        As to Defendant UMASSD
480.         UMASSD had a duty to "establish reasonable policies and guidelines to ensure that school officials
could implement87 and enforce uniformly, and students could clearly understand the school's disciplinary
process in either Protocol or Handbook, to ensure John was not repeatedly harassed, embarrassed, defamed,
coerced, and denied due process of law by the school officials.
481.        UMASSD breached that duty in failing to establish two parallel and competing policies, which as
stated in Protocol and Handbook were ambiguous, conflicting, inadequate, and confusing.
482.        The grossly inadequate policies allowed school officials to hijack the disciplinary process by
picking and choosing carte blanche, whichever parts of the Protocol and Handbook, that fit the need of a
capricious investigation in their attempt to rid John from UMass Dartmouth.



87
     Johnson v. Schmitz, 119 F. Supp. 2d 90 (D. Conn. 2000);

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483.    For example, On May 3n1 John received a poorly worded Notification of Alleged Violation. On
May 4th, 2016 Cummings and Majewski clearly held a Conduct Conference, accused John of violating both
misconduct per Protocol and Handbook, and offered him a resolution option of constructive expulsion, and
in not resolving the matter at the Conduct Conference they appointed a special investigator. These actions
detail the procedures for a Conduct Conference and subsequent investigation in Handbook (Policies).
484.    The confusion in both the school officials and John/his attorney was illustrated in their
communications throughout the investigation of John.
485.    Majewski continued claiming that the process was not yet at the Conduct Conference stage, which
in her mind justified not providing John the rights owed to him from the Conduct Conference.
486.    If UMass Dartmouth rules for protecting its students in competing disciplinary processes were
inadequate or if UMASSD failed to understand how to enforce them adequately to protect them, it is
foreseeable that one of its graduate students could suffer emotional distress and economic harm.
487.    John's damages were the direct and proximate cause ofUMASSD's actions.
488.    John's academic and career prospects, earning potential, and reputation have been severely harmed.
He has sustained significant damages, including but not limited to, damages to physical well-being,
emotional and psychological damages, damages to reputation, past and future economic losses, loss of
educational and professional opportunities, loss of future career prospects, and other direct and
consequential damages.
489.    As a result of the foregoing, John is entitled to recover damages in an amount to be determined at
trial, plus prejudgment interest and attorneys' fees and costs.
                                                COUNT XII
          Breach Of Fiduciary In Disclosing Information Under FERPA / Protocol / Policies
As To Defendants UMASSD, Cummings And Majewski in their Individual and Official Capacities
                                       pursuant to Ex Parte Young
490. The foregoing allegations are incorporated herein by reference.
491. Under Massachusetts Law,_"A fiduciary relationship arises when one reposes faith, confidence, and
trust in another's judgment and advice. Where a confidence has been betrayed by the party in the position
of influence, this betrayal is actionable, and the origin of the confidence is immaterial.
492. John placed trust, faith and confidence in UMass Dartmouth, its officers and staff to protect his
sensitive and confidential student information secured under FERPA / Protocol / Policies. John had an
established fiduciary relationship with UMass Dartmouth and its officers regarding the protection and
proper handling of his confidential educational records.          As fiduciaries UMASSD, Cummings and
Majewski owed John a duty of not to betray his confidences by disclosing and widely disseminating his
student information to third parties in violation to FERPA and STU-012 /Protocol/ Policies

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493. Cummings and Majewski accessed John's records ''under a legitimate educational interest" in
conjunction with a disciplinary proceeding, and were responsible for securing disciplinary records.
494. Cummings, Majewski and UMASSD breached their fiduciary duty in violating John's trust by
carelessly and/or intentionally disseminating John's student information to third parties.
495. John's academic and career prospects, earning potential, and reputation have been severely harmed.
He has sustained significant damages, including but not limited to, damages to physical well-being,
emotional and psychological damages, damages to reputation, past and future economic losses, loss of
educational and professional opportunities, loss of future career prospects, and other direct and
consequential damages.
496. John's damages were the direct and proximate cause of Defendants' actions.
497. As a result of the foregoing, John is entitled to recover damages in an amount to be determined at
trial, plus prejudgment interest and attorneys' fees and costs.
                                                     COUNT XIII
Invasion of Privacy 88 As to Defendants UMASSD, Cummings and Majewski in their Individual
                              and Official Capacities pursuant to Ex Parte Young
498.     The foregoing allegations are incorporated herein by reference
499.     Defendants made a public disclosure of John's confidential private educational records to students,
faculty, and staff inside and outside ofUMass Dartmouth in that John was required to submit a disclosure
letter explaining his criminal conviction, and he was under a Title IX investigation when there was no
justification.
500.     John's application and the disclosures thereon were part of a private matter and part of a contract
between UMass Dartmouth and John, and any information regarding his application or Title IX
investigation was held confidential.
501.     Defendants with such dissemination communicated to the public at large, or to so many persons
that the matter must be regarded as substantially certain to become one of public knowledge.
502.     The wrongful intrusion into John's private activities was in such a manner as to outrage or to
cause mental suffering, shame or humiliation to a person of ordinary sensibilities, since release of
sensitive and compromising information protected under FERPA is similar to the release of confidences
in the doctor patient relationship protected under HIPPA.




88
   Mass G.L. Chapter 214, Section 1B states: A person shall have a right against unreasonable, substantial or serious
interference with his privacy. The superior court shall have jurisdiction in equity to enforce such right and in connection
therewith to award damages.


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503.    The facts publicized related to John's application and subsequent admission served no concern of
the public.
504.    A reasonable person would find the disclosure "highly offensive or highly objectionable."
505.    Defendants published the facts with actual malice.
506.    John's academic and career prospects, earning potential, and reputation have been severely harmed.
He has sustained significant damages, including but not limited to, damages to physical well-being,
emotional and psychological damages, damages to reputation, past and future economic losses, loss of
educational and professional opportunities, loss of future career prospects, and other direct and
consequential damages.
507.    John's damages were the direct and proximate cause of Defendants' actions.
508.    As a result of the foregoing, John is entitled to recover damages in an amount to be determined at
trial, plus prejudgment interest and attorneys' fees and costs.
                                               COUNT XIV
  Malicious Prosecution And Abuse of Process as to UMASSD, Cummings and Majewski in their
                    Individual and Official Capacities pursuant to Ex Parte Young
509. A Title IX disciplinary proceeding is an administrative quasi-judicial civil proceeding.
510.    The foregoing allegations are incorporated herein by reference
511. Massachusetts Law allows claims of malicious prosecution and abuse of process related to a civil
matters.
512. Cummings and Majewski initiated process of a disciplinary proceeding on May 3, 2016 when
Cummings emailed John per procedures in Handbook.
513. Cummings and Majewski actively participated in a disciplinary process per Handbook without
probable cause having known that John had adequately disclosed his criminal convictions in his disclosure
statement. Additionally, Cummings and Majewski could not have reasonably believed that there was a
chance that their claim may be held valid upon adjudication, or find John responsible for his misconduct.
514. Only upon learning that their claim, related to John's insufficient disclosure statement had no merit,
did they institute a Title IX claim under Protocol - as Plan B - to rid him from UMass Dartmouth.
515. Likewise Defendants had no probable cause as to their Title IX allegations, and lacked belief that
John could be found "responsible" for misconduct.
516. As proof to lack of probable cause and malice, Cummings stated that she would use the Title IX to
cause John to withdraw ifhe refused to voluntarily withdraw from school.
517. Also Defendants encouraged students to file false Title IX charges against John when it was obvious
no potential claims could succeed.
518. Cummings and Majewski initiated the process for an ulterior or illegitimate purpose.

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519. Defendants prosecuted the investigation with malice by using the process to first coerce John into
withdrawing from UMass Dartmouth, then using the basis of the claim (perjuring on his school admissions
application) to defame John.
520. Defendants used their special privilege to access John's educational records protected under FERPA
and UMass Dartmouth explicit policy, then distorted the truth of the information in the confidential records
to defame John.
521. Defendants acted primarily for a purpose other than succeeding on the merits of the claim; specifically
Defendants sought to coerce John into withdrawing, or cause those associated with SMAST to
constructively exile him with the improper publicity of the investigation when same was by contract deemed
confidential.
522. David Gomes conducted an independent investigation.
523. The original actions terminated in John's favor in the finding of"not responsible."
524. John suffered special damages when Defendants denied him his contractual right to name his unpaid
school advisor, and but for the improper "No Contact" order that Cummings issued against John, he would
not have retained private counsel at great financial cost.
525. John's academic and career prospects, earning potential, and reputation have been severely harmed.
He has sustained significant damages, including but not limited to, damages to physical well-being,
emotional and psychological damages, damages to reputation, past and future economic losses, loss of
educational and professional opportunities, loss of future career prospects, and other direct and
consequential damages.
526. John's damages were the direct and proximate cause of Defendants' actions.
527. As a result of the foregoing, John is entitled to recover damages in an amount to be determined at
trial, plus prejudgment interest and attorneys' fees and costs.

                                                 COUNT XV
                               Breach of Contract As to Defendant UMASSD
528. John incorporates the.allegations contained in the foregoing paragraphs as though fully set forth herein
in their entirety without duplication.
529. At all times relevant herein John developed and maintained a contract with UMASSD.
530. UMass Dartmouth's obligations are explicitly set forth in its contract with John, and are further
informed by Massachusetts case law infusing every contract with a "reasonable expectations" requirement
and mandating that college and university disciplinary proceedings cannot be "arbitrary or capricious."
531. For all the reasons set forth above, UMASSD has materially breached its contracts with John by
failing to comply with its obligations, standards, policies, and procedures set forth in the policies and


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procedures noted above in the course of the Special Examiner's Process against John, and by subjecting
him to a blatantly arbitrary and capricious disciplinary proceeding.
532. As a direct, proximate, and foreseeable consequence of UMASSD's numerous material breaches,
John's academic and career prospects, earning potential, and reputation have been severely harmed. He has
sustained significant damages, including but not limited to, damages to physical well-being, emotional and
psychological damages, damages to reputation, past and future economic losses, loss of educational and
professional opportunities, loss of future career prospects, and other direct and consequential damages.
533. As a result of the foregoing, John is entitled to recover damages in an amount to be determined at
trial, plus prejudgment interest and attorneys' fees and costs.

                                                     COUNT XVI
        Breach of the Implied Covenant of Good Faith and Fair Dealing As to Defendant UMASSD
534.       The foregoing allegations are incorporated herein by reference
535.       Implicit in the implied contract between a university and its student under Massachusetts law is the
requirement that the institution act in good faith in its dealing with its students; at the same time, the student
must fulfill his end of the bargain by satisfying the university's academic requirements and complying with
its procedures. 89
536.       In addition to these contractual breaches, the Special Examiner's Process lacks the most essential
elements of due process to safeguard the rights of the accused, and is systemically inequitable. Although
the accuser knows his or her story before the investigation even begins, the accused is left in the dark
concerning the facts, never knowing what the accuser and witnesses actually have said except as filtered
through the Special Examiner. The accused is subjected to a secret investigation process that in John's case
was handled by the Special Examiner like a police interrogation of a suspect rather than an independent,
impartial investigation. Despite the fact that John meticulously documented UMASSD officials these
contractual breaches, as well as the fundamental unfairness of the process and irrationality and
capriciousness of the decisions, inter alia to punish John with extreme interim sanctions, UMASSD did
nothing to correct this flawed and unfair process and outcome.
537.       Instead of proceeding to a hearing at which both sides hear all of the evidence and have an equal
opportunity to present their claims and defenses before an impartial tribunal, the Special Examiner's
Process effectively ends with the interrogation, completely short circuiting due process by allowing the
Interrogator to decide issues of credibility and serve as the de facto prosecutor,judge and jury.
538.       In John's case, the University compounded the systemic lack of due process by failing to follow its
own procedures, choosing which rights to deny John based on which procedure in either Handbook or


89   Doe v. Brandeis, 177 F. Supp. 3d 561 (D. Mass 2016)

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Protocol that officials chose at the moment. In the end UMASSD officials complied with the stated
procedures of neither.
539.    The confusion and gaps in the two disciplinary procedures allowed UMASSD officials to usurp
either, and in the end disciplined John despite the fact he was found "not responsible" for any misconduct
which goes against the basis of jurisprudence.
540.    UMASSD and Majewski based the improper sanctions on the credibility attributed to statements of
supposed complainants; hence John's inability to face his accusers to contest such credibility is unfair and
in bad faith.
541.    Since John's case, UMass Dartmouth has changed several (but not all) of its deeply flawed
procedures in the Special Examiner's Process.
542.    As a direct, proximate, and foreseeable consequence ofUMASSD's breach of the implied covenant
of good faith and fair dealing, John's academic and career prospects, earning potential, and reputation have
been severely harmed. He has sustained significant damages, including but not limited to, damages to
physical well-being, emotional and psychological damages, damages to reputation, past and future
economic losses, loss of educational and professional opportunities, loss of future career prospects, and
other direct and consequential damages.
543.    As a result of the foregoing, John is entitled to recover damages in an amount to be determined at
trial, plus prejudgment interest and attorneys' fees and costs.
                                               COUNTXVD

Promissory Estoppel as to Defendants UMASSD, Buck and Webster in their Individual and Official
                                 Capacities pursuant to Ex Parte Young


 544. Defendant Buck made a clear and unambiguous promise that he would serve as John's sponsor and
continue providing him guidance, corroboration and direction in completing his degree and pursuing his
research interest.
 545. Defendant Webster made a clear and unambiguous promise that the details of John's disclosure
statement would not be released, and neither the students, staff, nor faculty at SMAST would learn of the
contents or nature of the subject matter included in his disclosure statement.
 546. Both promisors made a promise which they individually should reasonably expect to induce action
or forbearance of a definite and substantial character on the part of John.
 547. Both promises individually and jointly did induce such action or forbearance, in that John sacrificed
all other options and chose to apply his VA scholarship and matriculate at UMass Dartmouth. But for the
promises John would have chosen an alternative educational program.


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 548.         Buck breached his promise when he abruptly terminated all communication with John and ceased
any action in assisting John pursue his career. As a proximate result John can no longer pursue his research
interests and the opportunity to apply his VA scholarship in this endeavor is destroyed.
 549.         Webster breached his promise when he either shared educational information of John, or allowed
Cummings to disseminate information without acting to protect John which has proximately caused John
damages.
 550.         Injustice can be avoided only by enforcement of the promise.
 551.         As a direct, proximate, and foreseeable consequence of Buck's and Webster's failure to honor their
promises, John's academic and career prospects, earning potential, and reputation have been severely
harmed. He has sustained significant damages, including but not limited to, damages to physical well-being,
emotional and psychological damages, damages to reputation, past and future economic losses, loss of
educational and professional opportunities, loss of future career prospects, and other direct and
consequential damages.
 552. As a result of the foregoing, John is entitled to recover damages in an amount to be determined at
trial, plus prejudgment interest and attorneys' fees and costs.

                                                    COUNT XVIII
                                     Intentional Infflction of Emotional Distress
   As to Defendants Majewski, Cummings, and Helm in their Individual and Official Capacities
                                            pursuant to Ex Parte Young

 553. John repeats and re-alleges each and every allegation hereinabove as if fully set forth herein.
 554. During the investigation and adjudication process, Defendants exhibited extreme and outrageous
conduct, beyond all possible bounds of decency, including but not limited to the following:
         i.      Defendants instituted bogus disciplinary proceedings and criminal investigations of John to
                 correct an "admissions error" and baselessly remove John from UMASSD because
                 Defendants contended his conviction disqualified his matriculation.
        ii.      Defendants criminally extorted John, threatening to accuse him of crimes and threatening to
                 destroy his reputation with colleagues, advisors, and faculty ifhe refused to withdraw from
                 UMASSD on May 4th or soon thereafter.
     iii.        Defendants repeatedly and maliciously defamed John accusing him of crimes and other
                 defamatory conduct within UMASSD and outside UMASSD with whom John had
                 advantageous relations in their successful effort to deny John's ability to pursue those
                 educational opportunities.
     iv.         UMASSD maliciously and repeatedly disseminated John's confidential educational and
                 disciplinary records related to Title IX in their effort to destroy John's pursuit of his graduate
                 academic program while protecting privacy of all others involved.



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      v.     Defendants imposed an interim suspension, without justification, banning him from campus,
             issuing him a DNC denying communication with anyone associated with UMASSD, and
             suspending him prior to meeting or speaking with John, which precluded him from attending
             classes during his summer semester at UMASSD, and prevented him from receiving
             rehabilitative care for his hip surgery.
     v1.     Defendants publicly escorted John off campus, prohibiting him from even clearing out his
             workspace or obtaining his property therein prior to any investigation being perfonned,
             despite the absence of any disciplinary history.
    vii.     Defendants treated John as an adversary and prosecuted him criminally and administratively
             under a presumption of guilt, based on innate biases against male students with a conviction.
   viii.     Defendants pursued an investigation against John despite the alleged ''victim's" repeated
             declarations that he had not engaged in any prohibited conduct.
     ix.     Defendants refused to conduct equitable criminal and administrative investigations into John's
             complaints while encouraging supposed victims and professors to file false reports.
      x.     Defendants utilized intimidation tactics and the threats of additional institutional action to
             prevent John from speaking with anyone thus depriving John of a full and fair opportunity to
             defend himself.
     xi.     The week ofMay 4th , Defendants directed SMAST staff to hold an all hands meetings and
             publicly disclose the nature and content of John's interim suspension and Title IX
             investigation.
    xii.     Defendants' investigation far exceeded the scope of the alleged violations when they sought to
             elicit information wholly irrelevant to the conduct at issue for the sole purpose of
             embarrassment and to impugn John character and reputation.
   xiii.     Defendants' failed to conduct a prompt and timely investigation, and the nature of the
             questions asked and their leading manner contributed to ongoing rumors, gossip, and ridicule
             directed at John.
    xiv.     Defendants intentionally leaked the contents of John's disclosure statement on his graduate
             school application.
    xv.      Defendants punished John despite finding him not responsible for the alleged conduct, and in
             implementing "'appropriate interventions,' censored John from speaking to other students,
             confined him to a workspace adjacent to the Dean's office, and kept John from his nonnal
             routine in benefitting from his educational experience.
   xvi.      Defendants initiated baseless and false criminal complaints knowing John was innocent.

555. Such extreme and outrageous conduct was either intentional or in reckless disregard that such
conduct would in fact cause emotional distress to John
556. As a direct result of the foregoing, John has in fact suffered severe emotional distress with physical
impact including panic attacks, headaches, insomnia, grinding of teeth and excessive wear that caused two
molars to crack in half requiring removal, insomnia, weight loss, loss of appetite, PTSD flashbacks and
symptomology from wrongfully being prosecuted, extreme depression, excessive alopecia, and his hair
turned pure white.



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557. Defendants' actions in attempting to compel John's withdrawal from UMASSD by investigating
and adjudicating the false allegations against John were the actual and proximate cause of such distress.
558. Based on the foregoing, John is entitled to damages in an amount to be determined at trial, plus
prejudgment interest.

                                                 COUNT XIX
 Negligent Infliction of Emotional Distress as to Defendants UMASSD, Majewski, Cummings, and
            Helm in their Individual and Official Capacities pursuant to Ex Parte Young
559.    John repeats and re-alleges each and every allegation hereinabove as if fully set forth herein.
560.    Based on the foregoing, Defendants have been liable of negligence toward John during the
initiation and prosecution of the disciplinary proceedings under Policies and Protocol as stated above.
561.    John has suffered severe emotional distress.
562.    Defendants negligence has been the proximate and direct cause of John's emotional distress.
563.    John has suffered physical harm manifested by objective symptomology for which he received
and continues receiving treatment.
564.    As a direct result of the foregoing, John has in fact suffered severe emotional distress with physical
impact including panic attacks, headaches, insomnia, grinding of teeth and excessive wear that caused two
molars to crack in half requiring removal, insomnia, weight loss, loss of appetite, PTSD flashbacks and
symptomology from wrongfully being prosecuted, extreme depression, excessive alopecia, and his hair
turned pure white.
565.    A reasonable person would have suffered emotional distress under the circumstances of the case.
566.    Defendants' actions in attempting to compel John's withdrawal from UMASSD by investigating
and adjudicating the false allegations against John were the actual and proximate cause of such distress.
567.    Based on the foregoing, John is entitled to damages in an amount to be determined at trial, plus
prejudgment interest.
                                             JURYDEMAND
               John herein demands a trial by jury of all triable issues in the present matter.


                                         PRAYER FOR RELIEF

      WHEREFORE, for the foregoing reasons, Plaintiff John Doe demands judgment against
Defendants, jointly and severally, as follows:

        John requests that this Court enter judgment against Defendants jointly and severally on all counts
of this complaint as described below in each count. John further requests that this Court:
A. Retain jurisdiction of this matter for the purpose of enforcing this Court's order.
B. Award to John compensatory damages in an amount to be determined at trial.

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C. Award John the reasonable costs and expenses of this action, including attorney's
fees, in accordance with 42 U.S.C. § 1988.
D. Grant such other and further relief as this Court deems equitable and just under the
circumstances.

   (i)       on the first cause of action, against UMASSD, for Violation of Title IX of the Education
             Amendments of 1972, awarding John damages in an amount to be determined at trial,
             including, without limitation, damages to physical well-being, emotional and psychological
             damages, damages to reputation, past and future economic losses, loss of educational
             opportunities, and loss of future career prospects, plus prejudgment interest, attorneys' fees,
             expenses, costs and disbursements and an injunction against UMASSD as a result of
             UMASSD's violation of Title IX, which resulted in an unduly severe and unwarranted sanction
             which continues to injure John's reputation and right to continue his education, an injunction
             should issue directing UMASSD to: (i) reverse the outcome and findings regarding unnamed
             complainant's complaint; (ii) expunge John's disciplinary record; (iii) remove any record of
             John's suspension from his education file; (iv) permanently destroy any record of any
             complaint; and (v) confer John's degree by applying existing credit to the six credit hours
             remaining for receiving his degree or, in the alternative, allow John to return to UMASSD at
             a time of his choosing in order to complete his degree without any conditions for readmission
             to the University;
   (ii)      on the second cause of action against all Defendants for Retaliation related to Title IX under
             under 42 U.S.C. § 1983, awarding John damages in an amount to be determined at trial,
             including, without limitation, damages to physical well-being, emotional and psychological
             damages, damages to reputation, past and future economic losses, loss of educational
             opportunities, and loss of future career prospects, plus prejudgment interest, attorneys' fees,
             expenses, costs and disbursements, and punitive damages against Defendants Majewski and
             Cummings.
   (iii)     on the third cause of action against all Defendants for Violation of Constitutional Due Process
             under 42 U.S.C. § 1983, awarding John damages in an amount to be determined at trial,
             including, without limitation, damages to physical well-being, emotional and psychological
             damages, damages to reputation, past and future economic losses, loss of educational
             opportunities, and loss of future career prospects, plus prejudgment interest, attorneys' fees,
             expenses, costs and disbursements and an injunction against UMASSD as a result of
             UMASSD's violation of Title IX, which resulted in an unduly severe and unwarranted sanction
             which continues to injure John's reputation and right to continue his education, an injunction
             should issue directing UMASSD to: (i) reverse the outcome and findings regarding unnamed
             complainant's complaint; (ii) expunge John's disciplinary record; (iii) remove any record of
             John's suspension from his education file; (iv) permanently destroy any record of any
             complaint; and (v) confer John's degree by applying existing credit to the six credit hours
             remaining for receiving his degree or, in the alternative, allow John to return to UMASSD at
             a time of his choosing in order to complete his degree without any conditions for readmission
             to the University; and punitive damages against Defendants Majewski and Cummings.


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(iv)     on the fourth cause of action against all Defendants for 42 U.S.C. § 1983 - Denial of First
         Amendment Rights/ First Amendment Free Speech Retaliation awarding John damages in
         an amount to be determined at trial, including, without limitation, damages to physical well-
         being, emotional and psychological damages, damages to reputation, past and future economic
         losses, loss of educational opportunities, and loss of future career prospects, plus prejudgment
         interest, attorneys' fees, expenses, costs and disbursements, and punitive damages against
         Defendants Majewski and Cummings.
(v)      on the fifth cause of action against UMASDD for Protocol 2015 and Policies that are
         Unconstitutionally Overbroad, a judgment declaring both policies unconstitutionally vague .
(vi)     on the sixth cause of action against Defendant Cummings for Defamation awarding John
         damages in an amount to be determined at trial, including, without limitation, damages to
         physical well-being, emotional and psychological damages, damages to reputation, past and
         future economic losses, loss of educational opportunities, and loss of future career prospects,
         plus prejudgment interest, attorneys' fees, expenses, costs and disbursements, and punitive
         damages against Defendant Cummings.
(vii)    on the seventh cause of action Defendant Cummings for Violation of Massachusetts Civil
         Rights Act (MCRA) awarding John damages in an amount to be determined at trial, including,
         without limitation, damages to physical well-being, emotional and psychological damages,
         damages to reputation, past and future economic losses, loss of educational opportunities, and
         loss of future career prospects, plus prejudgment interest, attorneys' fees, expenses, costs
         and disbursements, and punitive damages against Defendant Cummings.
(viii)   on the eighth cause of action against Defendant Majewski for aiding and abetting Violation
         of Massachusetts Civil Rights Act (MCRA) awarding John damages in an amount to be
         determined at trial, including, without limitation, damages to physical well-being, emotional
         and psychological damages, damages to reputation, past and future economic losses, loss of
         educational opportunities, and loss of future career prospects, plus prejudgment interest,
         attorneys' fees, expenses, costs and disbursements, and punitive damages against Defendant
         Majewski.
(ix)     on the ninth cause of action against Defendants Majewski and Cummings for Intentional
         Interference with Advantageous Relations awarding John damages in an amount to be
         determined at trial, including, without limitation, damages to physical well-being, emotional
         and psychological damages, damages to reputation, past and future economic losses, loss of
         educational opportunities, and loss of future career prospects, plus prejudgment interest,
         attorneys' fees, expenses, costs and disbursements, and punitive damages against Defendant
         Majewski and Cummings
(x)      on the tenth cause of action against Defendants UMASSD, Majewski and Cummings for
         Negligence In Disclosing Confidential Information awarding John damages in an amount to
         be determined at trial, including, without limitation, damages to physical well-being, emotional
         and psychological damages, damages to reputation, past and future economic losses, loss of
         educational opportunities, and loss of future career prospects, plus prejudgment interest,
         attorneys' fees, expenses, costs and disbursements


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(xi)      on the eleventh cause of action against UMASSD for Negligence as to Establishing
          Reasonable Disciplinary Policy, awarding John damages in an amount to be determined at
          trial, including, without limitation, damages to physical well-being, emotional and
          psychological damages, damages to reputation, past and future economic losses, loss of
          educational opportunities, and loss of future career prospects, plus prejudgment interest,
          attorneys' fees, expenses, costs and disbursements
(xii)     on the twelfth cause of action against Defendants UMASSD, Majewski and Cummings for
          Breach Of Fiduciary awarding John damages in an amount to be determined at trial, including,
          without limitation, damages to physical well-being, emotional and psychological damages,
          damages to reputation, past and future economic losses, loss of educational opportunities, and
          loss of future career prospects, plus prejudgment interest, attorneys' fees, expenses, costs
          and disbursements
(xiii)    on the thirteenth cause of action against Defendants UMASSD, Majewski and Cummings for
          Invasion of Privacy/Disclosure Of Private Facts awarding John damages in an amount to
          be determined at trial, including, without limitation, damages to physical well-being, emotional
          and psychological damages, damages to reputation, past and future economic losses, loss of
          educational opportunities, and loss of future career prospects, plus prejudgment interest,
          attorneys' fees, expenses, costs and disbursements
(xiv)     on the fourteenth cause of action against Defendants UMASSD, Majewski and Cummings for
          Malicious Prosecution And Abuse of Process awarding John damages in an amount to be
          determined at trial, including, without limitation, damages to physical well-being, emotional
          and psychological damages, damages to reputation, past and future economic losses, loss of
          educational opportunities, and loss of future career prospects, plus prejudgment interest,
          attorneys' fees, expenses, costs and disbursements.
(xv)      on the fifteenth cause of action against Defendants UMASSD, Majewski and Cummings for
          Breach of Contract awarding John damages in an amount to be determined at trial, including,
          without limitation, damages to physical well-being, emotional and psychological damages,
          damages to reputation, past and future economic losses, loss of educational opportunities, and
          loss of future career prospects, plus prejudgment interest, attorneys' fees, expenses, costs
          and disbursements.
(xvi)     on the sixteenth cause of action against UMASSD for Breach of the Implied Covenant of
          Good Faith and Fair Dealing awarding John damages in an amount to be determined at trial,
          including, without limitation, damages to physical well-being, emotional and psychological
          damages, damages to reputation, past and future economic losses, loss of educational
          opportunities, and loss of future career prospects, plus prejudgment interest, attorneys' fees,
          expenses, costs and disbursements.
(xvii) on the seventeenth cause of action against Defendants UMASSD, Buck and Webster for
       Promissory Estoppel awarding John damages in an amount to be determined at trial, including,
       without limitation, damages to physical well-being, emotional and psychological damages,
       damages to reputation, past and future economic losses, loss of educational opportunities, and
       loss of future career prospects, plus prejudgment interest, attorneys' fees, expenses, costs
       and disbursements.

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    (xviii) on the eighteenth cause of action against Defendants Majewski, Cummings, and Helm for
            Intentional Infliction of Emotional Distress, a judgment awarding Johns damages in the
            amount to be determined at trial, including without limitation, damages to physical well-being,
            emotional and psychological damage, plus prejudgment interest, attorneys' fees, expenses,
            costs, and disbursement;
    (xix)   on the nineteenth cause of action against Defendants UMASSD, Majewski, Cummings, and
            Helm for Negligent Inffiction of Emotional Distress, a judgment awarding Johns damages in
            the amount to be determined at trial, including without limitation, damages to physical well-
            being, emotional and psychological damage, plus prejudgment interest, attorneys' fees,
            expenses, costs, and disbursement.


                                        Certification and Closing
        Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy knowledge,
information, and belief that this complaint: (1) is not being presented for an improper purpose, such as to
harass, cause unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing
law or by a nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise
complies with the requirements of Rule 11.
       I agree to provide the Clerk's Office with any changes to my address where case-related papers may
be served. I understand that my failure to keep a current address on file with the Clerk's Office may result
in the dismissal of my case.



Date: April 11, 2019

Respectfully Submitted:        John Doe, Pro Se




                               By: Isl John Doe

                               53 Child Street, Unit 669
                               Warren, RI 02885
                               doe.john.123199@gmail.com




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